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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                 Plaintiffs,

v.                                   Civil Action No. 1:22-cv-0481 (CJN)

UNITEDHEALTH GROUP                   [REDACTED VERSION]
INCORPORATED, et al.,

                 Defendants.




PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW OF DEFENDANTS
 UNITEDHEALTH GROUP INCORPORATED AND CHANGE HEALTHCARE INC.
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                                     FINDINGS OF FACT

       1.      The healthcare ecosystem is complex and filled with many different players.

Prominent among these players are health insurers, known as “payers,” which pay and process

medical claims submitted by hospitals, clinicians, and other caregivers, known as “providers.”

8/1/22 AM Trial Tr. 116:15–24 (Garbee); 8/3/22 AM Trial Tr. 116:17–24 (Peresie).

       2.      A commercial health insurance medical “claim” is an invoice submitted by a

provider to a payer comprised of “the information that a provider submits to a payer to get

reimbursed for the service that they provide.” 8/5/22 AM Trial Tr. 34:5–8 (Yurjevich); see also

8/1/22 AM Trial Tr. 117:6–7 (Garbee) (“A claim is an invoice for [a provider’s] services.”).

       3.      On a surface level, the lifecycle of a claim is straightforward: a provider treats a

patient; the provider submits a claim for reimbursement to a payer; the payer evaluates whether it

should pay the claim and, if so, how much it should pay; the payer provides an explanation of the

result, known as a “remittance”; and the payer reimburses the provider, if appropriate. See, e.g.,

8/1/22 AM Trial Tr. 117:3–5, 118:21–25 (Garbee); 8/3/22 AM Trial Tr. 56:25–57:8 (Suther);

8/3/22 AM Trial Tr. 110:22–111:13 (Peresie); 8/5/22 AM Trial Tr. 18:11–25 (Yurjevich).

       4.      In practice, however, claims processing often involves multiple steps and far more

than a simple bilateral exchange of information between payers and providers. There are network

companies that provide the “pipes”—or Electronic Data Interchanges (“EDI”)––that allow payers

and providers to exchange claims and remittance information, 8/2/22 AM Trial Tr. 15:7–21, 26:4–

12 (de Crescenzo); technology companies that provide “payment integrity” or “payment accuracy”

solutions to help payers properly reimburse providers, 8/5/22 AM Trial Tr. 18:6–25 (Yurjevich);

care services companies that provide clinical and medical management services, 8/9/22 PM Trial

Tr. 90:19–91:8 (McMahon); 8/4/22 AM Trial Tr. 95:17–97:2 (Wichmann); 8/5/22 AM Trial Tr.

30:1–9 (Yurjevich); and pharmaceutical services companies, including pharmacy benefits


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managers (“PBMs”), which act as intermediaries to negotiate reimbursement rates for drugs,

8/1/22 PM Trial Tr. 95:15–22 (Garbee).

       5.     The healthcare sector is also marked by pervasive vertical integration. Most major

healthcare enterprises have formed “services” companies, distinct from their commercial insurance

businesses, to provide some combination of the products and services described above. 8/4/22 PM

Trial Tr. 7:15–8:1 (Wichmann); see also 8/12/22 Trial Tr. 13:10–14:14 (Tucker);

                    .

       6.     For instance, CVS Health owns both Aetna, a payer, and CVS Caremark, a PBM,

8/1/22 PM Trial Tr. 95:3–6 (Garbee), and HDMS, a data analytics group, 8/10/22 PM Trial Tr.

123:21–124:5 (Gehlbach). In fact, CVS acquired Aetna in 2019 in a transaction that was

investigated and approved by the Department of Justice in a formal consent decree. United States

v. CVS Health Corp., 407 F. Supp. 3d 45 (D.D.C. 2019) (granting the Department of Justice’s

motion to enter a proposed final judgment), judgment entered, 2019 WL 4793060 (D.D.C. Sept.

4, 2019). Cigna owns a commercial health insurance business; eviCore, a care management

company focused on radiology and cardiology services; and Express Scripts, the largest PBM in

the country. 8/9/22 PM Trial Tr. 90:19–91:8 (McMahon); 8/15/22 PM Trial Tr. 49:19–50:2

(Gowrisankaran).   Anthem owns a commercial insurance business and other non-insurance

analytics and care companies.                                                            . And a

collection of payers, including Anthem, Healthcare Services Corporation (“HCSC”), Humana, and

Blue Cross Blue Shield of Florida have ownership positions in Availity’s EDI clearinghouse

business. 8/3/22 AM Trial Tr. 129:10–25 (Peresie).



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       7.      UnitedHealth Group (“UHG”) also is a vertically integrated healthcare enterprise

with two principal, independent subsidiaries: Optum––which includes OptumInsight, its “full-

scale” data and technology services business, OptumHealth, which includes its provider business,

and OptumRx, its PBM business—and UnitedHealthcare (“UHC”), its benefits business. 8/4/22

AM Trial Tr. 95:14–97:5 (Wichmann); 8/10/22 PM Trial Tr. 21:7–23:2 (Witty).




See Defs.’ Opening Demonstrative at 9.

       A.      UHG

               1.     Corporate Background

       8.      UHG is a vertically integrated healthcare company with a mission “to help people

live healthier lives, help make the health system work better for everyone.” 8/4/22 AM Trial Tr.

93:6–94:8 (Wichmann). Through UHC and Optum, UHG seeks to improve access to healthcare

to “ensure that everybody has an opportunity to be covered in the United States,” “[a]ffordability”

of care, patients’ experiences, and “differential outcomes” and “care delivery operations” to

improve the health of underserved populations. Id.

       9.      UHC and Optum are structurally distinct, independent businesses that serve

different needs within the healthcare ecosystem. Id. (“Q. Does OptumInsight or any part of Optum


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report to UHC? A. No.”). Both businesses are “critically important” to the overall strategic and

growth priorities for UHG, and UHG does not seek to prioritize the growth of one of these business

units over the other. 8/10/22 AM Trial Tr. 69:12–22 (Schumacher); see also id. at 70:10–14

(“Q. As you think about growth strategies for UnitedHealth Group, are you looking to prioritize

the growth of one business over the other, whether it be Optum or UnitedHealthcare? A. No.”);

8/10/22 PM Trial Tr. 26:1–9 (Witty) (“Q. As the chief executive officer of UnitedHealth Group,

do you feel you have a fiduciary duty of some kind to make sure OptumInsight favors UHC to

help them gain share or profits because -- against their rivals because they’re a part of the same

corporate umbrella? A. No, I don’t. Q. Why not? A. Because I think the downside of that would

be a destruction of my whole fiduciary responsibility.”); see also id. at 26:10–28:24.

       10.     Optum and UHC contribute approximately equally to UHG’s overall earnings.

UHC’s earnings from operations in 2021 were $12 billion, 8/10/22 AM Trial Tr. 68:23–69:4

(Schumacher); see also PX830 at 33, which reflects a modest decrease in UHC’s earnings from

2020, 8/10/22 AM Trial Tr. 69:8–11 (Schumacher). Optum’s earnings were also $12 billion in

2021, which reflects year-over-year growth of approximately 19%. 8/10/22 AM Trial Tr. 69:5–

21 (Schumacher).

               2.     UHC

       11.     UHC is a health insurance business that serves 45 million patients in the United

States. 8/4/22 AM Trial Tr. 95:14–97:2 (Wichmann); 8/8/22 AM Trial Tr. 71:9–20 (Higday).

       12.     On the insured side, UHC offers health insurance plans for individuals, employers,

and small businesses through its commercial insurance business. 8/4/22 AM Trial Tr. 95:14–97:2

(Wichmann) (“Under that commercial, which is the employer and individual business, roughly

170 million member market funded by employers.”). On the uninsured side, UHC provides

Medicare and Medicaid services. Id. (“Inside there, on UnitedHealthcare, you’ve got Medicare,


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so serving people over the age of 65 which the company does very well. . . . And then Medicaid,

which is community and state.”).

       13.     UHC competes for commercial health insurance business with other major insurers,

including Anthem, Aetna, Cigna, and local Blue Cross Blue Shield affiliates across the country.

8/4/22 AM Trial Tr. 43:10–18 (Wichmann).

       14.     Most Americans receive health insurance through employer-sponsored health

plans. 8/10/22 AM Trial Tr. 105:16–19 (Schumacher); 8/1/22 AM Trial Tr. 119:10–14 (Garbee).

       15.     To develop these plans, payers generally categorize employer-customers based on

the number of employees and their geographic distribution. PX1013 at 131:17–132:21 (Golden).

These categories include national accounts and large group accounts, 8/4/22 AM Trial Tr. 46:11–

15 (Wichmann), the latter of which are called “key accounts” or “small business” within UHC,

depending upon the size of the employer customer, 8/10/22 AM Trial Tr. 113:16–19, 120:18–

122:4 (Schumacher).

       16.     National accounts are large employers with a multi-state geographic footprint and

headcount, which UHC (and other payers) generally define as multi-state employers covering over

5,000 lives. See, e.g., 8/4/22 AM Trial Tr. 42:24–43:1 (Wichmann); PX1013 at 71:25–73:03

(Golden). UHC’s primary competitors in the national accounts space are Anthem, Aetna, and

Cigna. 8/10/22 PM Trial Tr. 99:21–100:10 (Gehlbach).

       17.     Large group or key accounts refer to smaller groups of employers—those with more

than 50 employees in multiple states (or, in some jurisdictions, over 100 employees). See, e.g.,

8/4/22 AM Trial Tr. 46:16–20 (Wichmann). UHC also has a “small business” group that serves

employers with 2 to 100 employees, thus partially overlapping with Plaintiffs’ definition of “large

group employers.” See 8/10/22 AM Trial Tr. 120:18–122:4 (Schumacher). UHC’s primary




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competitors in this space are local Blue plans, Aetna, Cigna, and Anthem. 8/10/22 PM Trial Tr.

101:18–102:4 (Gehlbach).

       18.     Employer groups have the option to choose either a self-funded administrative-

service-only (“ASO”) plan or an insurer-funded, fully-insured plan. 8/4/22 AM Trial Tr. 42:13–

23 (Wichmann).

       19.     Under an ASO plan, an employer covers its members’ medical costs, but pays a fee

for administration of the plan and to access, among other things, a payer’s provider network.

PX1013 at 55:25–56:24 (Golden).

       20.     Under a fully insured plan, an employer pays a premium to a payer in exchange for

the payer covering member medical costs, providing benefits to plan members, and administering

the plan. See id.

       21.     National account customers very rarely choose fully insured plans. Id. at 131:17–

132:21 (“[N]ational accounts works almost exclusively in self-funding.”); 8/10/22 PM Trial Tr.

101:4–9 (Gehlbach) (“For national accounts, we only have one fully insured client. That’s the

Aon exchange, which represents about 5 percent of the membership. So 95 percent ASO, 5 percent

fully insured.”). ASO plans thus constitute the “vast majority” of plans for national account

customers.   See PX1013 at 144:12–15 (Golden); see also 8/4/22 AM Trial Tr. 42:19–23

(Wichmann); 8/10/22 PM Trial Tr. 101:10–17 (Gehlbach) (“The majority of national account

clients are of the size and have the reserves to be able to take the risk themselves, so with their

interest in having flexibility in benefits, flexibility in network design, potentially bringing point

solutions to the table, all of which really lend themselves to an ASO fee structure.”).

       22.     ASO plans also are increasing in prevalence for large group customers with even

relatively smaller employers—i.e., those with 50 eligible employees. 8/10/22 PM Trial Tr. 102:8–




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14 (Gehlbach) (“Q. Over time, have you observed any changes in the proportion of your large

group clients that are ASO versus fully insured? A. We’ve seen an increased interest in ASO

across the large group segment, and we’ve also seen the size of customer that’s willing to self-

insure go down-market. We have even [seen] what I would call small customers, 50 eligible

employees, for example, that are interested in self-funded solutions.”).

       23.     The commercial health insurance market for national accounts and key accounts is

highly competitive. See 8/9/22 PM Trial Tr. 85:21–86:3 (McMahon) (“I would say both key

accounts and national accounts are very competitive[,] . . . just strong competitors all around.”);

8/10/22 PM Trial Tr. 101:18–20 (Gehlbach) (“Q. Let’s talk about the large group market. How

competitive would you describe that market as? A. I would say it’s also very competitive.”).

       24.     Exact shares depend on the market segment, but UHC accounts for between 15.9%

and 21.4% of the commercial health insurance market; Anthem accounts for between 10.8% and

13.8%; Aetna accounts for between 10.3% and 16.8%; Cigna accounts for between 8.4% and

10.2%; and Health Care Service Corp (“HCSC”) accounts for between 7.7% and 10.5%. See DX-

0813 ¶¶ 78–79 & Ex. 5; PX820 ¶ 112 & Ex. 3.

       25.     Shares of large group accounts in local markets vary and are more difficult to

calculate, but generally speaking, a local Blue Cross Blue Shield affiliate frequently has the leading

share in a given state or metropolitan area, often by a considerable margin. See DX-0813 ¶ 80.

       26.     One factor driving competition in national and large accounts is the bidding

process. National account customers frequently hire consultants to run bid processes for their

insurance business. 8/10/22 PM Trial Tr. 102:15–22 (Gehlbach); see also 8/9/22 AM Trial Tr.

122:15–20 (Gowrisankaran). Large group customers, in contrast, typically hire brokers. 8/10/22

PM Trial Tr. 102:15–24 (Gehlbach).




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        27.     These intermediaries help employers determine which payer’s plan suits their

needs. 8/10/22 PM Trial Tr. 102:25–103:8 (Gehlbach). Brokers and consultants partner with

employers to write requests for proposals (“RFPs”), which include the specifications, benefit

design, service level, and network composition that employers are seeking in a bid. Id. at 102:18–

103:8. RFPs are then sent to multiple payers to help the employer determine which carrier is the

best fit for their benefits strategy. Id.

        28.     The typical bid cycle for a national account is once every three years, and UHC

participates in approximately 300-350 bids annually. Id. at 103:9–21. The turnaround time for

national account bids is around 20 business days, but may be longer if the request is for a “highly

customized arrangement.” Id. at 104:3–15.

        29.     For large-group accounts, the bid cycle is typically every year, and UHC

participates in approximately 48,000-49,000 bids annually. Id. at 103:13–15, 103:25–104:2. The

turnaround time is quick: for a fully insured large group bid, typically five working days, and for

an ASO client, typically ten days. Id. at 104:3–12.

        30.     RFPs often ask bidders to match an incumbent payer’s plan design. See id. at

104:24–105:4 (“In many instances, the customer will ask us to match their incumbent plan design,

if not match it exactly, match it as closely as we possibly can.”).

        31.     In addition to benefit design, bidders also receive extensive additional information

in the RFP process, including census information about the population to be covered, large claims

information, and “claims experience” information, which is total paid monthly claims for a

specified period. Id. at 106:6–10, 107:3–10.




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       32.     The result of this competition––and visibility into competitor plan offerings––has

created a lack of differentiation on key aspects of commercial market design in both the national

and large account markets. See, e.g., id. at 99:21–100:25, 101:18–102:4.

       33.     As to national accounts, “the spread on discounts has narrowed over time,” as has

network value. Id. at 99:21–100:10 (“[I]t’s hard to compete on discount.”). Differences also have

compressed in the “clinical model space,” such that utilization management, care management,

payment integrity, and disease management programs, have become “table stakes” across the

industry. Id. at 100:11–25 (Gehlbach). Altogether, it has become “very difficult” for payers “to

differentiate in the national account space.” Id.

       34.     Similar “compression is occurring in the large group market.” Id. at 101:18–102:4.

“Discount differential” is decreasing; “[c]linical models are very similar”; and “[b]enefit designs

are very similar.” Id. The upshot is “a very competitive marketplace” across carriers. Id.

       35.     This competitiveness is reflected in UHC’s financial results.




                                                                                              ; see

also 8/15/22 PM Trial Tr. 79:7–80:3 (Gowrisankaran).

       36.




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                              .

       37.



     . On a revenue basis, national accounts revenues were about 2% of total UHG revenue going

back to 2017, and key accounts were about 10% for that period. 8/9/22 PM Trial Tr. 86:4–14

(McMahon). In 2022, national accounts will be about 1% of total UHG revenue, and key accounts

will be 7%. Id.

       38.     Plaintiffs presented no evidence identifying the specific accounts, plans, or

networks from rival payers that UHC would target using the incremental claims data available

through Change’s EDI network, if any, or the innovations contemplated by UHG and Change. Nor

did Plaintiffs present any evidence of prior bids, bid competitors, or requests for proposal.

       39.     Plaintiffs likewise presented no evidence even identifying the specific national

account customers or large group employers UHC would win using the incremental claims data

available through Change’s EDI network, if any, or innovations contemplated by UHG and

Change.




                                                                   ; 8/1/22 PM Trial Tr. 93:2–5

(Lautzenhiser) (“Q. Sitting here today, you can’t tell us of a single national account customer that

Aetna conceivably could lose if this . . . transaction goes through, right? A. I would not be able




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to.”); id. at 93:6–9 (“Q. You can’t tell us of a single large group employer that Aetna conceivably

could lose if this transaction moves forward, right? A. No.”).

       40.     Plaintiffs failed to present any evidence that payers compete for large-group and

national-account customers on the basis of EDI-related functionality, Real-Time Settlement

capabilities, or Transparent Network abilities.

               3.      Optum

       41.     Optum is a family of three companies—OptumHealth, OptumRx, and

OptumInsight—that provide a broad range of healthcare-related services to payers, providers, state

governments, and life-science companies. 8/4/22 AM Trial Tr. 95:14–97:5 (Wichmann); 8/5/22

AM Trial Tr. 37:22–38:1 (Yurjevich).

       42.     OptumHealth offers care delivery, care management, wellness and consumer

engagement, and health financial services.         8/4/22 AM Trial Tr. 95:14–97:5 (Wichmann)

(“OptumHealth . . . provides care but also organizes the provision of certain types of care, very

high-end care, like transplantation.”).

       43.     OptumRx provides a diversified array of pharmacy care services. Id. (“OptumRx

. . . is a classic pharmacy benefit management business, [and] it does provide some at-home

services and some in facility-based services.”).

       44.     OptumInsight, the entity that will acquire Change, provides software solutions and

services for healthcare business needs, including revenue cycle management, solutions-based care

programs, and payment integrity services to payers, providers, and many others.                 Id.

(“OptumInsight . . . [is] a data and technology company and a technology-enabled services

business. . . . So it provides services on a multi-payer basis. It also provides services to care

providers and intermediaries in healthcare and data sciences companies.”).




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                       a.      Optum relentlessly pursues a multi-payer business strategy.

       45.     Optum’s business strategy is “fiercely multi-payer in [its] orientation.” 8/4/22 PM

Trial Tr. 23:5–25 (Wichmann) (“So we just need to remember that this company has a two-part

mission, and the second part of that mission is to serve all.”); see also id. at 3:11–21 (“[F]iercely

multipayer . . . mean[s] that [Optum’s] business is organized to serve all payers.”). This is a “key

feature of Optum,” and “therefore, of UnitedHealth Group” as an enterprise, with the “multi-payer

dimension keep[ing]” UHG “focused on . . . the leading edge of thinking in the marketplace.”

8/10/22 PM Trial Tr. 21:7–22:9 (Witty).

       46.     Optum sells to non-UHC payers in all three lines of its business. 8/9/22 PM Trial

Tr. 86:23–87:25 (McMahon) (“OptumInsight sells payment integrity services. OptumRx sells . . .

PBM services to other payers . . . . And Optum[Health] -- within Optum[Health], local care

delivery, physician offices, and the like. They have network contracts with all payers.”).

       47.     Although UHC is Optum’s biggest customer, “these two organizations are [at]

strictly [an] arm’s length relationship[].” 8/10/22 PM Trial Tr. 22:10–23:2 (Witty); 8/4/22 PM

Trial Tr. 3:22–4:6 (Wichmann). Optum works with UHC as a customer “very similar to the way”

Optum works with its other commercial customers. 8/5/22 AM Trial Tr. 22:9–16 (Yurjevich).

       48.     Optum “relentlessly” markets its products to all potential customers in the

marketplace. 8/10/22 PM Trial Tr. 24:11–25:8 (Witty); see also 8/5/22 AM Trial Tr. 22:17–23:1

(Yurjevich).

       49.     Sometimes Optum will work with UHC to test or pilot new products to ensure they

work properly before introducing them into the market.          8/5/22 AM Trial Tr. 22:17–23:1

(Yurjevich) (“So oftentimes, with UnitedHealthcare we will launch new products with them almost

as an alpha customer to make sure we get it right.”). UHC itself has even brought products to




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Optum for development, including, for example, the Group Risk Analytics (“GRA”) underwriting

tool that Optum sells externally. 8/10/22 PM Trial Tr. 116:9–23 (Gehlbach).

        50.     Other times, Optum will launch products in the marketplace before bringing them

to UHC. 8/5/22 AM Trial Tr. 22:17–23:1 (Yurjevich) (“[T]here ha[ve] been examples where we

actually launched in the commercial marketplace and then bring things to UnitedHealthcare.”);

8/10/22 PM Trial Tr. 94:20–95:5 (Witty) (“[Q.] [I]t is presently a normal business practice of

Optum and UHG for Optum sometimes at least to test products with UHC before offering the

product to other payers, even if that is the intended market for that product? [A.] Correct. And it

can work the other way as well. So there can be situations where Optum will work with a non-

UHC partner or through an acquisition, perhaps, and then develop a product for UHC, even though

another external party has been using it.”).

        51.     Plaintiffs failed to present any evidence that the pilot phase for certain Optum

products unfairly benefitted UHC as a market participant or lessened competition in any line of

business, including commercial health insurance sold to large group employers or national

accounts.

        52.     To the contrary, Optum’s innovation process benefits the market because it allows

Optum to “validat[e] that the thing we’ve developed is market tested, that we are pricing it fairly,

competitively, and we can stand behind it.” 8/10/22 PM Trial Tr. 24:11–25:8 (Witty); see also

8/15/22 AM Trial Tr. 13:17–14:9 (Murphy) (“You got to iron out the bugs and, you know, get rid

of the problems, and . . . it’s easier to do that often within the firm.”).

        53.     Plaintiffs also failed to present any evidence of an instance in which Optum has

withheld a product that it sells to UHC from other payers, and Plaintiffs’ shifting accounts of




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Optum’s products that are supposedly withheld from the market have been conclusively disproven.

See DX-0850.

        54.     At trial, Plaintiffs’ economist, Dr. Gowrisankaran, conceded that his prior

deposition testimony that Optum’s “Group Risk Analytics” or “GRA” product was not

commercially sold in the marketplace was incorrect, and that he learned during opening statements

that GRA is, in fact, sold to the market. 8/9/22 PM Trial Tr. 6:5–7:2 (Gowrisankaran) (“I saw later

evidence that they did sell it to some payers. That was in the opening statements for the defense,

that I saw later.”); see also 8/5/22 AM Trial Tr. 55:9–56:6 (Yurjevich) (“Q. Do you know if any

customers outside of UnitedHealthcare who have bought Group Risk Analytics? A. Yes. . . . I’m

aware of three.”); id. at 59:17–23; see also                               .

        55.     As Dr. Gowrisankaran acknowledged at trial, he formed no opinion as to whether

or how GRA would affect post-merger competition if Optum continued to make it available to all

payers. 8/9/22 PM Trial Tr. 13:1–6 (Gowrisankaran) (“Q. Doctor, I need you to answer the

question yes or no. If Optum did market GRA to all payers, then you don’t know what would

happen, true? A. I didn’t look at what would happen to competition if it were offered on an equal

footing to all payers for that particular [product], yes.”).

        56.     OptumInsight’s Chief Operating Officer testified that Optum has no plans to use

Change’s EDI data to improve GRA; that Optum does not even know whether Change’s data could

be used to improve GRA; and that, post-merger, Optum intends to continue selling identical

versions of GRA to both UHC and rival payers. 8/5/22 AM Trial Tr. 55:9–60:14 (Yurjevich).

        57.     UHC generally does not conduct risk analysis when bidding on ASO customers

because the customers are the ones taking on the risk. 8/10/22 PM Trial Tr. 106:11–22 (Gehlbach).

Almost all national accounts are ASO customers, and UHC has also “seen an increased interest in




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ASO across the large group segment.” Id. at 101:1–9, 102:5–14. An improved version of GRA

would therefore have little effect in the market for national accounts, and a diminishing effect in

the market for large-group employers.

       58.     GRA is currently used only in the underwriting process for large-group employers

with between 51 and 300 eligible employees. 8/10/22 PM Trial Tr. 115:22–24 (Gehlbach). There

is no evidence that any improved version of GRA could or would be used in any additional

markets, and thus there is no evidence that any improved version of GRA could plausibly affect

competition in the markets for fully insured national accounts or fully insured large-group

employers with more than 300 employees.

       59.     If UHC were to use an improved version of GRA post-merger, such use would have

clear pro-competitive effects. An improved version of GRA would allow UHC to identify

customers that were less risky than UHC previously thought, resulting in lower prices being

offered to those customers. 8/15/22 AM Trial Tr. 60:22–63:4 (Murphy). And because GRA is

used only in the underwriting process for customers that UHC is attempting to win from an

incumbent insurer, who has better information on the customer’s risk profile than UHC does, the

likely effect of GRA thus would be to drive that incumbent insurer’s pricing down to more closely

match actual risk. Id.

       60.     Dr. Gowrisankaran also incorrectly testified that Optum’s Portfolio Optimization

product is sold exclusively to UHC. See 8/9/22 PM Trial Tr. 13:7–22 (Gowrisankaran) (“Q. And

you’ve claimed that ‘recent testimony identified Portfolio Optimization as an example of . . .

Optum offering a tool exclusively to UHC to give UHC a competitive advantage.’ You’ve made

that claim, correct? A. That’s right.”).




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         61.   Again, Dr. Gowrisankaran acknowledged at trial that his prior deposition testimony

about Portfolio Optimization was incorrect because Portfolio Optimization is, in fact, marketed to

external payers. Id. at 14:5–7 (“Q. And you understand that Portfolio Optimization is marketed to

external payers? A. I understand it now is, yes.”), 14:8–10 (“Q. Did you learn that in my opening

statement, too, or in Mr. Yurjevich’s testimony?       A. No, I heard that from your opening

statement.”); see also 8/5/22 AM Trial Tr. 60:22–61:4 (Yurjevich) (“Q. Does OptumInsight

currently market this service [Portfolio Optimization] to external non-UHC payers? A. Yes, we

do.”).

         62.   Nor did Plaintiffs present any evidence that Optum has ever sold to an external

payer a degraded or lesser version of a product it sold to UHC. The evidence at trial uniformly

confirms that Optum has offered neither degraded products nor different products to UHC than

those sold to external payers. 8/4/22 PM Trial Tr. 3:22–24 (Wichmann) (“Q. Does OptumInsight

ever favor UHC by not selling products and services to rival payers or selling them a degraded

product? A. No.”); 8/5/22 AM Trial Tr. 61:2–14 (Yurjevich) (“Q. Do you have a degraded or

lesser version for people other than UnitedHealthcare of [P]ortfolio [O]ptimization? A. No, we

don’t.”), 61:15–22 (“[I]t would be ridiculous for us to offer a different product in the commercial

market than we do for United. We have no incentive as OptumInsight to offer a different

product.”), 59:24–60:3 (“Q. And if [the government’s expert] said that, if you did sell [GRA]

externally, you would sell external payers a worse product than you sell to United Healthcare.

Would that be true or false? A. That would be false.”).

         63.   Because UHC is “just one payer in a group of many, many payers across the

industry,” “[t]he total addressable market to be able to sell Optum’s health services is just much

bigger if you sell to all payers.” 8/9/22 PM Trial Tr. 86:23–87:25 (McMahon). Choosing to serve




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UHC exclusively would “leave[] the opportunity to serve the other 80, 85 percent of the market.”

8/10/22 AM Trial Tr. 71:19–72:25 (Schumacher); 8/4/22 AM Trial Tr. 97:9–25 (Wichmann) (“[I]t

is a significant stretch to assume that United would take all of these assets and all of the business

it has and diminish it so that it could simply serve, what, 15, maybe 17 percent of the market. You

would be foregoing the remaining 83 percent.”).

       64.     Of Optum’s total $155.6 billion in revenue, $63.2 billion—or 40%—comes from

“unaffiliated customers,” i.e., third parties, including providers, service organizations, and

payers—some of which are payers that compete with UHC. 8/10/22 AM Trial Tr. 71:19–25

(Schumacher); see also 8/5/22 AM Trial Tr. 31:6–16 (Yurjevich).




See DX-0848.

       65.     Optum’s external patient population also dwarfs that of UHC. 8/8/22 AM Trial Tr.

71:9–20 (Higday) (“OptumRx serves 65 million consumers in a multi-payer context today.

OptumHealth serves over 100 million consumers in a multi-payer context. And to put that in

perspective, UHC only serves 45 million patients in the United States.”).


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       66.       UHG’s future “revolves around [its] ability to continue to develop great services

and products, largely in the Optum side of the organization.” 8/10/22 PM Trial Tr. 26:1–20

(Witty). This opportunity “really comes from [Optum’s] . . . work with non-UHC partners,” and

“anything which unbalances that would literally . . . bring to an end the strategic direction of the

company.” Id.

       67.       Optum’s economic incentives thus lie in pursuing a multi-payer business strategy

as a “growth opportunity.” See 8/10/22 AM Trial Tr. 71:19–72:25 (Schumacher); 8/10/22 PM

Trial Tr. 26:1–20 (Witty) (“[Favoring UHC] would undermine the entire construct of the

company.”). This approach creates value not only for Optum as an individual business unit, but

also for UHG as an enterprise. 8/4/22 PM Trial Tr. 5:18–6:2 (Wichmann).

                        b.     OptumInsight relentlessly pursues a multi-payer business strategy.

       68.       OptumInsight is the division of Optum that will acquire Change following the

merger. 8/2/22 AM Trial Tr. 11:12–18 (de Crescenzo).

       69.       OptumInsight is a “technology company and a technology-enabled services

business” that provides support for clinical, administrative, and financial processes in the

healthcare system. 8/4/22 AM Trial Tr. 95:17–97:2 (Wichmann); DX-0782 at .0013. It serves

four key industry groups: payers, providers, state governments, and life sciences companies. DX-

0782 at .0013.

       70.       OptumInsight’s products include advisory services, which supply strategy and

planning through a subscription-based research business; technology solutions for improving

administrative processes, such as revenue cycle management, payment integrity, and risk and

quality services; and data exchange services to connect payers, providers, and consumers. Id.; see

also DX-0850.




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       71.     OptumInsight also has a legacy EDI network that processes up to 16 million claims

on a monthly basis, 10 million of which it receives from non-UHC payers. 8/15/22 AM Trial Tr.

25:17–26:5 (Murphy); DX-0813 Table 10; DX-0862 at .0014. OptumInsight’s EDI network,

however, is not marketed externally or offered on a standalone basis. DX-0813 ¶ 73.

       72.     OptumInsight is “perceived as one of the top payment integrity partners” and

“thought leader[s]” in the payment integrity space, with a suite of technology products aimed at

helping all payers “determine if the claim’s been paid correctly and/or billed correctly, typically

resulting in medical cost savings back to the payer.” 8/5/22 AM Trial Tr. 18:11–25 (Yurjevich).

       73.     OptumInsight’s payment integrity products include: claims editing; clinical review

and resolution services; contracts and duplicates services (i.e., post-payment review of a paid claim

to ensure it was paid according to the payer-provider contract); coordination of benefits, detection

of fraud, waste, abuse, and error; provider audits; and retrospective chart services. DX-0849;

8/5/22 AM Trial Tr. 41:12–19, 47:13–17 (Yurjevich).

       74.     With the exception of a fraud and abuse detection service, all of these products are

sold to UHC’s biggest rivals, which are some of the largest and most well-respected health insurers

in the country. 8/5/22 AM Trial Tr. 42:3–43:20 (Yurjevich). The fraud and abuse detection service

is sold only to UHC only because there is no external payer demand for that service. Id. at 54:9–

24, 62:23–63:3.

       75.     OptumInsight’s core “focus areas” as a company are “administrative efficiency,”

“clinical alignment,” and “payment simplification.”          8/5/22 AM Trial Tr. 34:25–35:12

(Yurjevich); see DX-0782 at .0013.

       76.     Administrative efficiency refers to ensuring that all the information that is needed

to pay a claim is contained when that claim is sent. 8/5/22 AM Trial Tr. 36:6–15 (Yurjevich).




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Clinical alignment refers to improving the communication between payers and providers to help

them align on service, or type of care, that needs to be provided to a patient. Id. at 36:18–37:10.

Payment simplification refers to improving the current manual nature of claims payments and

automating it through electronic transactions. Id. at 37:11–21.

       77.     Together, “[t]he net goal is to reduce the waste and error or the inefficiencies that

occur in healthcare causing increased expense and dissatisfaction across the board.” See id. at

37:17–21.

       78.     Of the approximately 230 payers in the country, OptumInsight provides at least one

type of product or service to approximately 220 of them. Id. at 19:6–12. This includes virtually

all of the largest payers in the United States, namely, Anthem, Cigna, Aetna, Humana, Horizon,

Florida Blue, Molina, and HCSC. Id. at 19:13-18.

       79.     Three of OptumInsight’s top five external clients by revenue and year-over-year

growth are                               ––some of UHC’s largest competitors. See DX-0656A at

.0004. OptumInsight also has

                            id., through which OptumInsight is integrated into payers’ planning

cycles to talk about savings, go-forward changes, and ways in which OptumInsight “can help meet

them where they’re going.” 8/5/22 AM Trial Tr. 29:4–18 (Yurjevich).

       80.     Like the rest of Optum, OptumInsight is a multi-payer business. Id. at 23:2–8; see

also id. at 24:19–25:11. This multi-payer approach is necessary for OptumInsight to hit its growth

targets. Id. at 26:6–14; DX-0656A at .0003. Also, like the rest of Optum, OptumInsight is

completely independent of UHC. 8/5/22 AM Trial Tr. 21:18–22:1 (Yurjevich).




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       81.     Non-UHC payer revenue made up approximately               of OptumInsight’s total

payer revenue. DX-0813 Ex. 2.

                               . DX-0656A at .0004.

                      c.      Optum already has extensive access to non-UHC payer data and
                              competitively sensitive information.

       82.     Many of OptumInsight’s products are driven by data and analytics that “help

derive” “best outcome[s]” from both an administrative and clinical perspective. 8/5/22 AM Trial

Tr. 38:2–7 (Yurjevich).

       83.     OptumInsight today has access to extensive de-identified clinical and claims data

covering 270 million lives. DX-0782 at .0013; 8/5/22 AM Trial Tr. 34:9–11 (Yurjevich). Under

its contracts, Optum separately receives non-claims-related proprietary information, including

payer-specific adjudication rules, payment policies, and contract information, in connection with

the services it renders to customers, including non-UHC payers. DX-0849; DX-0862 at .0015.

       84.     “On the clinical data side, [OptumInsight] would receive much of this from

providers that [OptumInsight] work[s] with where they give [OptumInsight] de-identified data

rights.” 8/5/22 AM Trial Tr. 34:12–19 (Yurjevich). OptumInsight also receives: (i) data from

commercially or publicly available sources and (ii) individualized claims data from external payer

customers. Id. at 34:12–19, 42:21–25.

       85.     In terms of commercially available data, OptumInsight licenses de-identified,

aggregated claims data from data aggregators or vendors. Id. at 34:12–19; 8/12/22 Trial Tr. 19:11–

22 (Tucker). There are multiple different aggregators or vendors that cover hundreds of millions

of lives. 8/12/22 Trial Tr. 19:11–22 (Tucker); see also DX-0814 Fig. 1. Plaintiffs’ claims data

expert, Dr. Handel, did not specifically quantify or value the delta between the information, or

insights from that information, that are commercially or publicly available to Optum today and the



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information on Change’s EDI network, nor did any other witness—leaving no evidence in the

record on the incremental amount of data or the value of that incremental data to UHG. See 8/8/22

PM Trial Tr. 6:25–7:18 (Handel) (“Q. And as you prepared your opinion in this case, you did not

have a detailed understanding of which non-UHC payers provide claims data or other

competitively sensitive information to Optum today in the course of a contractual relationship

between that payer and Optum; isn’t that correct? A. Yes. Q. As a part of your work in this case,

you also did not specifically quantify, by which I mean number of claims received over a period

of time, the claims data that Optum currently has provided to it by non-UHC payers; isn’t that

correct? A. Yes, that’s correct. Q. And so as a part of your expert work in this case, for example,

you did not quantify the volume of claims data that Optum Rx today receives from non-UHC

payers; correct? A. Correct. Q. You also did not specifically quantify the volume of claims data

that OptumHealth today receives from non-UHC payers; isn’t that correct? A. Yes, correct.”).

       86.     Perhaps most importantly, Optum already receives extensive claims data from

external payer customers. 8/15/22 AM Trial Tr. 24:20–25:17 (Murphy); DX-0859 at .0011. This

includes prospective claims data (i.e., data from before a claim is paid) and retrospective claims

data (i.e., data reflecting the final disposition of a claim). 8/5/22 AM Trial Tr. 43:1–11 (Yurjevich).

       87.     The claims data Optum receives today contains the very same information that

would be included in an EDI “remittance,” which is a payer’s response to a claim detailing how

the claim was billed and paid. Id. at 45:16–46:13, 48:5–9. “From a national account standpoint,

[Optum] ha[s] claims data for

                   .” 8/5/22 AM Trial Tr. 12:13–18 (Yurjevich).

       88.     OptumInsight also has access to additional competitor information over and above

the claims data it receives, including: medical records data; payer-specific adjudication rules (i.e.,




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a payer’s rules about what sorts of services are reimbursable); payer-specific payment policies

(i.e., specific rules about how a claim must be billed); contract information; employer group and

member eligibility information for national account customers; employee and member-specific

coverage and benefit information; and provider guides. Id. at 43:12–44:24. The data received by

OptumInsight today thus is “much more complete” and “much more data and information that’s

[sic] contained within an EDI file or a remittance.” Id. at 50:22–51:15.




DX-0849.

       89.     The amount and type of payer data OptumInsight receives depends upon the

products and services a payer is buying. 8/5/22 AM Trial Tr. 12:19–13:4 (Yurjevich).

       90.     For example, payers that buy OptumInsight’s “contracts and duplicates” product

entrust OptumInsight with “claims data, payer-specific adjudication rules, payer-specific payment

policy, contract information between the payer and provider, employer group and member

eligibility information, and specific coverage and benefit information, and the provider guide.” Id.

at 47:1–48:4; see id. at 48:5–8 (“Q. Do you receive, for contracts and duplicates, the data that

would be included in an EDI remittance? A. Yes, we do.”). Payers that purchase the “contract[s]




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and duplicates” product include

     .

          91.    OptumInsight’s contractual agreements also detail the types of data that payers are

obligated to provide. 8/8/22 PM Trial Tr. 9:16–19 (Handel) (“Q. And then in E, you see that this

payer has to provide Optum with a number of pieces of information. Do you see that? A. Yes.”);

DX-0016 at .0002.

          92.    For example, the contract between Ingenix, the predecessor to Optum, and




                                                                                            ; see also

8/8/22 PM Trial Tr. 9:11–15 (Handel).

          93.    To take another example, OptumInsight provides payment integrity services for

         . DX-0308 at .0001.        is required to provide: “the most current and available thirty-six

(36) months’ worth” of “[c]ustomer data files,” including “[c]ustomers’ paid claims, member,

provider, and reference data files,” updated on a monthly basis; data for “In-Scope Lines of

Business post-adjudicated, pre-payment claims on a daily basis”; and, to the extent required by

Optum to provide its services, “payment policies, reimbursement policies, benefit grids for

employer groups (if applicable), claims information, correct coding initiative (CCI) edits, percent

of fee schedules, [and] provider records,” among other items. Id. at .0005–6.

          94.    Optum also receives substantial amounts of claims data from         plans. See DX-

0472. Overall, Optum provides claims editing services for                     , pre-payment services




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for                , and post-payment services for                 . Id. at .0003–4. Combined, this

client base comprises “96.5M or 48% of their 200M members.” Id.

       95.       More specifically,                                provides “claims, member, and

provider data to Optum,” and has done so since 2015 for pre- and post-payment services. Id.

When consulted during an RFP process for another payer,                                    confirmed

that “the Business Associate Agreement and Master Service Agreement adequately protects them

from Optum sharing their data with any third party,” and that its audit of offshore sites “didn’t

identify any concerns related to data security.” Id. at .0004.                               also was

“highly confident and convinced that Optum will not risk their credibility or brand reputation

to share their Plan’s information with United Healthcare,” and “rate[d] Optum as ‘one of their

best vendors’ to work with.” Id. (emphasis added).

       96.       Similarly,                                      “has provided claims, member, and

provider data to Optum” in connection with the pre-payment, post-payment, second-pass claims

editing, data mining, coordination of benefits, and other editing they receive. Id.

                   “didn’t limit . . . the data elements requested by Optum” and “initially shared two

years of historic data during the implementation process.” Id. Although

             did not share its provider agreements, it did disclose to Optum “payment policies and

various methodologies.” Id. at .0005. In total,                                              “send[s]

approximately 250,000 claims daily to Optum.” Id.

       97.       Optum’s other business units—OptumRx and OptumHealth—also have access to

payer data. 8/8/22 AM Trial Tr. 90:11–24 (Higday) (“Q. Do you have a ballpark sense of, within

the data that OptumRx has, what percentage of those data are UHC claims versus everyone else?

A. That’s a really tough question . . . but I can point you back to the numbers I gave before . . .




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165 million patients between OptumHealth and OptumRx, only 45 million UHC. That likely is a

pretty equivalent evaluation of the systems of data we have access to.”).

       98.     OptumRx, for example, has access to data about how external payers treat

pharmacy claims. Id. at 88:21–89:3 (“Q. So does that mean, generally speaking, that Optum could,

presently, try to maybe -- well, Optum has the data available to it to, for example, figure out how

Payer X treats pharmacy claims of a particular type? A. Certainly, we have the data on what the

adjudication rules are, et cetera. That data is held very closely and not shared across the UHG

enterprise because it’s individual payer data covered by contract.”).

       99.     The data OptumInsight and other Optum entities receive from external payer

customers is considered competitively sensitive information by these customers. 8/5/22 AM Trial

Tr. 44:20–24 (Yurjevich). The data is also “much more complete” than the information contained

within an EDI remittance. Id. at 50:22–51:15. Indeed, when claims data is sent to OptumInsight,

it is not de-identified or masked in any way. Id. at 44:25–45:2.

       100.    Neither Dr. Handel nor any other witness provided “the total quantum of claims

data that Optum has presently.” 8/5/22 AM Trial Tr. 13:13–22 (Yurjevich); 8/8/22 PM Trial Tr.

7:6–10 (Handel) (“Q. As a part of your work in this case, you also did not specifically quantify,

by which I mean number of claims received over a period of time, the claims data that Optum

currently has provided to it by non-UHC payers; isn’t that correct? A. Yes, that’s correct.”); id. at

7:15–18 (“Q. You also did not specifically quantify the volume of claims data that OptumHealth

today receives from non-UHC payers, isn’t that correct? A. Yes, correct.”).

       101.    Plaintiffs similarly presented no evidence about whether the amount or kind of

information Optum already receives from payers would be sufficient to derive competitive insights

that could benefit UHC. See, e.g., 8/8/22 PM Trial Tr. 9:20–25 (Handel) (“Q. Dr. Handel, you




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don’t know whether the information that this payer provides to Optum today under this contract is

sufficient for Optum to analyze that information and derive the types of competitive insights that

you identified in your report; isn’t that correct? A. I believe so, yeah. I don’t know.”); id. at

17:24–18:4 (similar); id. at 18:12–23 (similar).

       102.    Although Dr. Handel discussed the differences between Change’s EDI data and

other commercially available data at the highest level of generality, what he “never really grappled

with is why these differences matter” or what incremental value would be provided. See 8/12/22

Trial Tr. 23:7–21 (Tucker) (“Sure, the data is different, but if we can still use it to get the same

kind of insights, that doesn’t really matter as a data scientist.”); see also id. at 22:5–10; See DX-

0472 at .0005 (“Based on evaluation, all requested data elements, including our Allowed Amount,

are available to Optum th[r]ough COB claims,                       claims,                     claims,

FOIFA, BHI or some other third party if they want to pursue obtaining them. With

market share and standard payment rates even de-identified data[] would give a third party

significant information if they wanted to compete with us.”).

                       d.      Optum has not misused external payer data for UHC’s benefit.

       103.    Plaintiffs did not introduce evidence of a single instance in which OptumInsight––

or OptumRx or OptumHealth––has misused external payer data for the benefit of UHC.

       104.    UHG’s witnesses universally testified that they are not aware of any instance in

which competitor claims data has been used for the benefit of UHC, and would never do so:

       •   Andrew Witty, CEO, UnitedHealth Group: “Q. [Plaintiffs’] expert also testified that
           because of your enterprise approach, that that would cause people at OptumInsight to
           give data concerning UHC’s rivals over to UHC so they could beat them in the
           marketplace. And what’s your response to that? A. So again, first of all, that would be
           against the tone, the culture, the rules, everything we stand for in the organization. . . .
           And so I would absolutely not expect that to happen. And again, I would say if it ever
           did, it would be hugely destructive, not just to our reputation but to our economic
           interest, because customers are not going to come back to an organization that abuses
           their data in that way.” 8/10/22 PM Trial Tr. 28:2–24 (Witty).


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•   David Wichmann, Former CEO, UnitedHealth Group: “[Q.] Was it ever a strategy of
    the group to use that [payer] data to help United compete against payer competitors?
    [A.] Never.” 8/4/22 PM Trial Tr. 31:4–7 (Wichmann).

•   Steve Yurjevich, COO, Optum Insight: “Q. Okay. So has Optum ever, to your
    knowledge, ever used . . . the claims data of competitor payers to UnitedHealth with
    respect to national accounts . . . [t]o help UnitedHealth figure out how to compete with
    payers in the national account market? A. Yeah. It’s a fair question, and the [answer]
    is unequivocally no. That would be -- it would be against our culture and the way we
    treat and handle data. It would be against our policy within OptumInsight and Optum
    and UnitedHealth Group and it would be -- go against the contract that we have with
    our payers that have very, very strict data use rights.” 8/5/22 AM Trial Tr. 13:23–14:16
    (Yurjevich).

•   Peter Dumont, Chief Privacy Officer, Optum Labs, Former Vice President of Data
    Governance, Optum: “Q. In this case, in the pretrial brief, the plaintiffs have said that
    United will, ‘use the exact data and data rights that United seeks to acquire from Change
    to gain a competitive edge for United’s own health insurance business.’ Do you agree
    with that statement, Mr. Dumont? A. I don’t. That’s just -- culturally, it’s antithetical
    to the way we work. We just wouldn’t be in business if we operated that way.
    Customers would not send us their data. We wouldn’t have products outward facing.”
    8/5/22 PM Trial Tr. 46:6–14 (Dumont).

•   Paul Higday, Senior Vice President of Strategy and Innovation, UnitedHealth Group:
    “Q. And so -- and your testimony today is that . . . OptumRx does not make available
    to UHC such the kinds of claims information we’re talking about, whether it’s the raw
    information or analysis to enable UHC to compete against other payers with respect to
    pharmacy benefits? A. No, not that I’m aware of. I can tell you in places where I have
    access to that data, at least in summary form. Neither I nor anyone on my team is
    allowed or will share that data across the firewall.” 8/8/22 AM Trial Tr. 89:25–90:10
    (Higday).

•   Dirk McMahon, President and COO, UnitedHealthcare: “[Q.] So, what would be your
    reaction if someone at UHG proposed to use data at Change about other payers for the
    purpose of allowing UHC to compete against other payers on whatever -- in whatever
    way? [A.] No. My reaction would be no. I mean, my reaction would be very visceral
    and very -- no, very quickly.” 8/9/22 PM Trial Tr. 101:11–17 (McMahon).

•   Daniel Schumacher, Chief Strategy and Growth Officer, UnitedHealth Group: “Q. Has
    it ever been part of UnitedHealth Group’s corporate strategy to take the non-UHC payer
    data to which Optum has access and use that data to provide competitive intelligence
    to UnitedHealthcare? A. No. Q. In your view, would such a strategy be consistent
    with Optum’s business model? A. Absolutely not. Q. Why not? A. It would be
    completely counter to it. It would kill us in the market . . . . Q. Mr. Schumacher, are
    you personally aware of any instance in which a rival payer -- in which rival payer
    claims data or other rivals’ CSI was passed from Optum to UnitedHealthcare? A. I am
    not. Q. Are you personally aware of any instance in which Optum analyzed rival payer


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           claims data and provided UnitedHealthcare with competitive insights about its rivals?
           A. I am not.” 8/10/22 AM Trial Tr. 73:14–74:16 (Schumacher).

       •   Thomas Gehlbach, Former Chief Underwriting Officer, UnitedHealthcare: “Q. In that
           time [at UHC], are you aware of any instance in which you or anyone else associated
           with UnitedHealthcare received from Optum competitively sensitive information about
           a rival payer? A. No. Q. What’s your understanding as to why that’s never happened?
           A. We take the firewalls that exist between Optum and UnitedHealthcare very
           seriously. And we also understand -- we have our own expectations about the handling
           of sensitive information when we disclose to third parties claim information, and we
           have very stringent NDAs in place on the UHC side of the house. And we respect the
           fact that Optum has that with any other carrier that’s entrusted them with sensitive
           information. And for UnitedHealthcare to have a breach across that wall, the detriment
           to our organization would be substantial. So we do not dance anywhere close to that
           line.” 8/10/22 PM Trial Tr. 119:22–120:11 (Gehlbach).

       105.    UHG’s testimony is confirmed by consistent and unequivocal trial and deposition

testimony from non-UHC payers and their employees, none of whom are aware of any instance in

which Optum misused their claims data. To take take a few examples:

       •   Larry Lautzenhiser, Executive Director of Medical Policy and Program Solutions,
           Aetna: “Q. You’re personally not aware of a single instance in which Optum has
           misused the claims data Aetna provides, are you? A. I’m not aware.” 8/1/22 PM Trial
           Tr. 77:14–16 (Lautzenhiser); see also id. at 77:2–5 (“Q. You’re not aware of a single
           instance in which Optum has analyzed Aetna’s claims data and passed off competitive
           insights to UHC, are you? A. I don’t know of any instance.”); id. at 77:6–9 (“Q. You’re
           not aware of a single instance in which Optum has conducted corporate surveillance on
           Aetna’s claims data for UHC’s benefit, are you? A. I don’t know of any.”).

       •




       106.    OptumInsight has not lost a customer because of actual or perceived misuse or theft

of data. 8/5/22 AM Trial Tr. 38:23–25 (Yurjevich).

       107.    Instead, the record conclusively showed that OptumInsight uses data consistent

with its contractual obligations, lawful purposes, and its multi-payer culture. Id. at 50:18–21; id.



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at 71:6–10 (“Q. Mr. Yurjevich, in all of your time working at OptumInsight, have you ever seen

or heard of any instance where data received from one of your payer customers has been

intentionally shared with UnitedHealthcare? A. No, I haven’t.”); id. at 74:3–13 (“We’ve never

been accused of providing data or information to UnitedHealthcare.”); see also 8/2/22 AM Trial

Tr. 127:8–21 (de Crescenzo).

       108.    OptumInsight’s commitment to protecting payer data is shown through the several

levels of protection it has around that data.

       109.    UHG’s Organizational Culture. Multiple witnesses testified that Optum––and

UHG as a whole––has a culture of trust and integrity around protecting customers’ sensitive

information. Dave Wichmann, former Chief Executive Officer of UHG, testified that the “first

cultural element of the company is integrity, which is, you know, ensuring that people build trust

within the marketplace.” 8/4/22 AM Trial Tr. 98:4–15 (Wichmann). Mr. Wichmann testified that,

“when you’re going to have your own payer and at the same time serve many others, this is a good

example of why, you know, it’s important to never violate that trust.” Id. In reference to data

security specifically, Mr. Wichmann testified that UHG “took very seriously” the idea of setting a

“tone at the top,” which laid “the foundation [upon] which then we protected data, you know,

through our technology teams and prioritized investments.” Id. at 99:1–19.

       110.    Steve Yurjevich, the Chief Operating Officer of OptumInsight, testified similarly,

explaining that OptumInsight’s “culture” is to “treat customers’ data as they would treat their data

themselves.” 8/5/22 AM Trial Tr. 64:11–14 (Yurjevich). Likewise, when asked by the Court,

“[w]hat if somebody said, [‘]We’re a single enterprise. We care about the single enterprise bottom

line and we’ll make more money on our ability to compete against other payers. And it will cost

you in reputation or loss of revenue or whatever on the Optum side. So, net, net, it’s a benefit[’],”




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UHG’s Chief Privacy Officer, Peter Dumont, responded: “I honestly think you would see a lot of

people quitting.” 8/5/22 PM Trial Tr. 75:7–16 (Dumont).

       111.    UHG witnesses testified that using other payers’ data to benefit UHC would be

flatly inconsistent with UHG’s culture. Andrew Witty, the current Chief Executive Officer of

UHG, stated that such data misuse “would be against the tone, the culture, the rules, everything

we stand for in the organization.” 8/10/22 PM Trial Tr. 28:2–24 (Witty). Similarly, when the

Court asked Mr. Yurjevich whether Optum had ever misused other payers’ data to benefit UHC,

Mr. Yurjevich answered: “It’s a fair question, and the [answer] is unequivocally no. That would

be -- it would be against our culture and the way we treat and handle data.” 8/5/22 AM Trial Tr.

13:23–14:16 (Yurjevich).

       112.    Contractual Restrictions. OptumInsight’s contracts also require the protection of

customer data. Id. at 65:4–7. OptumInsight’s contracts with its payer customers generally require

that OptumInsight use all “reasonable commercial means” to protect data and forbid the sharing

of data with UHC or any of its affiliates, with some even expressly referencing UHC. Id. at 65:13–

23; see, e.g., DX-0314 § 2.3 (“Optum and its Affiliates in the health services line of business shall

prevent and maintain commercially reasonable safeguards to prevent the disclosure of [c]ustomer

[d]ata to, and access or use of [c]ustomer’s [d]ata by, United Healthcare and/or any of its

[a]ffiliates.”); DX-0468 § 5.1 (“During the [t]erm of this [a]greement, each [p]arty shall protect

the other [p]arty’s [c]onfidential [i]nformation using the same degree of care as it uses to protect

its own [c]onfidential [i]nformation of like nature, but no less than a reasonable degree of care and

no less than the standard of care required by [a]pplicable [l]aws for the respective categories of

[c]onfidential [i]nformation which are delivered by one [p]arty to another for the performance of

the [s]ervices.”); see also DX-0370; DX-0385; 8/5/22 PM Trial Tr. 23:4–13 (Dumont) (“Q. Are




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there contractual limitations on Optum’s ability to use this payer claims data that originates outside

of United? A. Yes, there are. Q. And what types of contractual restrictions? A. Well, assuming

the data is protected health information, there is, of course, a business associate agreement as part

of that contract, and that limits how we can use their PHI. There’s also -- as part of that document,

those agreements, there’s a master of services agreement, typically, that limits how we can use all

of their data, not just the PHI.”).

        113.    Using rival payers’ data to benefit UHC thus would be inconsistent with

OptumInsight’s legal and contractual obligations to its payer customers. 8/4/22 PM Trial Tr.

31:23–32:7 (Wichmann).

        114.    Even when Optum receives payer data from sources other than the payer itself, it

treats that data as if it was provided directly by the payer, and Optum does not share it with UHC.

8/5/22 AM Trial Tr. 15:4–22 (Yurjevich) (“Q. [S]o if Optum receives . . . claims data of

relating to         national accounts, but it doesn’t get that claims data from       , it gets it from

some other source, does Optum view its commitments to               in its contracts as covering that

data or those data? A. Yes, absolutely. And an example of that might be in our credit balance

business where we’re working on behalf of the payer but we get the information from the provider.

And let’s use          as an example where we don’t get national account data but, in our credit

balance business, we might get that information performing that different service provided by the

provider, but we would treat that data just like we would if it was given to us by the payer. Q. You

would treat that, in effect, as data provided to you by       ? A. That’s correct, yes.”).

        115.    Plaintiffs offered no evidence that OptumInsight has ever breached, or would ever

breach, those contracts. See 8/5/22 PM Trial Tr. 35:4–15 (Dumont) (“Q. . . . [B]ut if a customer

prohibits Optum from using de-identified claims data in a contract, does Optum abide by the




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contract? A. Yes, we do. Q. And is Optum’s practice of adhering to those contracts going to

change as a result of this transaction with Change Healthcare? A. No, it is not. Q. And this is

important: If Change’s current contracts prohibit sharing claims data with UnitedHealthcare, will

Optum abide by those contractual restrictions following the merger? A. Absolutely.”).

       116.    OptumInsight’s     contracts   ordinarily   permit   payer   customers     to   audit

OptumInsight’s data protection measures. 8/5/22 AM Trial Tr. 71:15–72:4 (Yurjevich). The

results of those audits, including audits by major UHC rivals, confirm that Optum has not misused

competitor data, see UHG’s Opening Deck at 49 (citing DX-0755):




       117.    Optum takes these audits “[v]ery seriously” and “invest[s] a lot of capital and staff

into making sure that [it] run[s] and manage[s] [its] internal controls correctly and to [its]

customers’ requirements.” 8/5/22 PM Trial Tr. 21:13–18, 22:15–19 (Dumont); see also DX-0761

at .0007 (customer audit summary noting that “[n]ineteen controls were reviewed and tested to

determine the information system safeguards of assets, maintaining data integrity and operating

efficiency” and “[t]here were no risks identified”).



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       118.    Optum also views audits as a “a window into what [their] customers want, [and]

what they feel is important from [Optum’s] internal controls.” 8/5/22 PM Trial Tr. 21:13–18

(Dumont). Optum’s audits therefore are part of the fabric of its business relationships with

customers: “These [audits] are incredibly valuable to maintain that relationship [with a customer]

and deliver the services that [they] need to in a safe, secure manner.” Id.

       119.    Plaintiffs have not identified a single instance of a customer audit revealing that

OptumInsight was giving customer data to UHC or sharing insights from customer data with UHC

in breach of its contractual obligations. Id. at 18:5–19:8, 19:19–20, 22:11–19; see also DX-0755;

DX-0761; DX-0472 at .0004 (“Overall, they rate Optum as ‘one of their best vendors’ to work

with, that is data-driven, well-prepared, professional and delivers on the results projected.”).

       120.    Firewall Policies and Procedures.        OptumInsight also has industry standard

firewalls in place that prevent competitively sensitive information from being shared between

Optum and UHC. 8/5/22 AM Trial Tr. 63:20–64:10 (Yurjevich).

       121.    Contrary to Plaintiffs’ repeated suggestion that UHG first created a firewall policy

restricting information sharing in May 2022, UHG has maintained a corporate antitrust policy

since 2007 that directly addresses the sharing of information between business units. DX-0529A;

8/4/22 AM Trial Tr. 102:4–7 (Wichmann).

       122.    This corporate antitrust policy has been in place since Optum’s creation, 8/5/22 PM

Trial Tr. 38:14–17 (Dumont), and it applies to all business units, including OptumInsight and

UHC, 8/4/22 AM Trial Tr. 102:14–19 (Wichmann); 8/5/22 PM Trial Tr. 38:14–19 (Dumont).

       123.    UHG’s antitrust policy expressly prohibits the following:

       •   “You must not participate in or facilitate communications that may reduce or eliminate
           competition between another Business Unit and its competitor(s). You may only
           discuss [rates, pricing, customers, providers, refusals to deal, and competitively
           sensitive information] with suppliers and customers who are competitors of another



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               UHG Business Unit when you have a legitimate business reason to do so . . . .” DX-
               0529A at .0002.

          •    “Exercise caution when communicating with a customer or supplier who is a
               competitor of another UHG Business Unit (or with a different group within the same
               Business Unit). Avoid serving as a conduit of information or an intermediary between
               that ‘competitor’ and the other Business Unit.” Id. at .0003.

          •    “Exercise caution when communicating with another Business Unit (or with a different
               group within the same Business Unit) where the Business Unit (or group) is a
               competitor of a customer or supplier of your Business Unit. Avoid serving as a conduit
               of information or an intermediary between the ‘competitor’ and the other business
               unit.” Id.

This policy applies to all Optum customers, regardless of whether they have negotiated heightened

contractual protections for their competitively sensitive information. 8/4/22 AM Trial Tr. 105:20–

24 (Wichmann).

          124.     UHG’s policies are supported and implemented by technical restrictions on data

access.       OptumInsight uses specific software that restricts employee access to confidential

customer information based on their business unit. 8/5/22 AM Trial Tr. 64:20–65:3 (Yurjevich).

          125.     This software, which is OptumInsight’s “primary access management system,”

8/5/22 PM Trial Tr. 31:19–21 (Dumont), is called the “Secure System.” 8/5/22 AM Trial Tr.

64:20–65:3 (Yurjevich) (“Q. Now you mentioned some technical firewalls and approvals that are

needed. Are you familiar with something called the Secure System? A. Yes, I am. Q. What is

Secure? A. Secure is, I would call it, a software product that we use internally. And that product

is used to give our employees access to specific confidential customer information based on their

business unit.”).

          126.     The Secure System and other data access management systems strictly

circumscribe employees’ enterprise access to OptumInight’s data; “[u]sers have to submit an

access request” and “those situations are evaluated carefully.” 8/5/22 PM Trial Tr. 30:20–25




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(Dumont). OptumInsight’s access management systems are “quite robust” and “tested all the time

by customers and regulators.” Id. at 31:19–32:4.

       127.    Plaintiffs have not identified a single instance in which UHG’s firewalls were

breached. Id. at 42:24–43:2; see also 8/4/22 AM Trial Tr. 101:6–10 (Wichmann) (“Q. Were you

aware of any employees of United across the business segments using competitively-sensitive

information learned from one business segment and applying it to another? A. No.”).

       128.    Although Plaintiffs point to a single request and subsequent email exchange to

suggest that certain UHC employees had the technical ability to access non-UHC OptumRx

pharmacy claims data, see PX060, Mr. Dumont explained, “[t]here was no incident with this issue”

as it stemmed from a delay in updating an Optum employee’s email domain, 8/5/22 AM Trial Tr.

145:13–146:9 (Dumont) (“That was an employee who had a legacy email domain. So she was

part of OptumLabs, but she hadn’t updated her email to say ‘@optum.’ It still said ‘@UHC.’”).

In addition, UHG has determined that no UHC employee in fact accessed non-UHC OptumRx

pharmacy claims data in this way.

       129.    In connection with this litigation, UHG also performed a forensic review of access

to all systems that contained external customer claims, and based on that review, identified “barely

a dozen” out of 350,000 UHC employees who even had technical privileges to access external

customer data. 8/5/22 PM Trial Tr. 43:3–9 (Dumont). None of those employees had ever used,

viewed, or accessed that data, id. at 43:3–9, 43:15–19, and those employees’ technical privileges

have been revoked, id. at 43:3–9, 44:10–15; PX962.

       130.    In May 2022, UHG issued additional guidance to address the specific context of

the Change transaction and the data sharing principles that will apply post-merger. See DX-0654;

8/5/22 PM Trial Tr. 40:1–4 (Dumont). This policy did not alter UHG’s longstanding approach to




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information sharing between business units, but proactively “memorialize[d]” the enterprise’s

position on the transaction. 8/5/22 PM Trial Tr. 40:11–19 (Dumont) (“[W]e felt this was a good

way to memorialize our position and help address the issue that we may have to deal with with

regards to OptumInsight and Change.”); see also DX-0654 at .0001 (“This Policy sets forth

specific guidelines consistent with the UHG antitrust compliance policy with respect to the use

and disclosure of competitively sensitive information obtained from customers of Optum Insight

or Change.”).

       131.     UHG’s transaction-specific policy defines competitively sensitive information as

“any non-public information that could be used to obtain a commercial advantage over a

competitor, customer or supplier,” including, among other things, “[p]rovider reimbursement

rates, fee schedules, discounts, billed amounts, allowed amounts, paid amounts, or reimbursement

methodologies,” “[s]ubscriber, member, or health plan premiums, prices, administrative fees,

discounts, cost share amounts, or plan or benefit design,” “[d]ata, including claims data, financial

data . . . , utilization data, discharge data, or subscriber or member data,” “[b]ids or proposals for

new accounts or customers,” and “[p]roprietary medical, clinical, or coverage guidelines or

policies that impact benefit design, insurance coverage, or reimbursement eligibility or amount.”

See DX-0654 at .0001–2.

       132.     UHG’s May 2022 policy specifically provides:

       •   “Covered employees may not use or disclose External Customer data for any purpose
           that is not permitted in [agreements between OptumInsight and Change and their
           customers] or required by law.”

       •   “The disclosure of External Customer CSI to UHG business units that are competitors
           of such External Customers is strictly prohibited.”

       •   “The use of External CSI to benefit UHG business units that are competitors of such
           External Customers is strictly prohibited.”




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       •   “UHG employees may not access External CSI unless such access is necessary to
           perform their job responsibilities.”

Id. at .0002. These principles prevent the use or disclosure of external customer data by any

means—telephone or otherwise, compare 8/1/22 AM Trial Tr. 15:4–7 (Pls.’ Opening), with 8/5/22

PM Trial Tr. 41:11–42:11 (Dumont)—and imposes specific requirements for where such data can

be maintained, see DX-0654 at .0002–3. In fact, the text of the policy prevents the improper

disclosure of competitively sensitive information by any medium: “UHG employees are strictly

prohibited from saving, printing, sending, faxing, scanning, transmitting, forwarding, mailing,

emailing, or otherwise extracting External Customer CSI from Electronic Data Sites for purposes

of disclosing such information beyond those authorized to receive it, including but not limited to

employees of other UHG business units that are competitors with such External Customer.” DX-

0654 at .0002.

       133.      Plaintiffs’ assertions notwithstanding, UHG’s May 2022 policy prohibits use or

disclosure of a payer’s data even if Optum received that data from a provider or intermediary. The

policy defines “External Customers” to include all “Optum Insight or Change customers who are

not a UHG business unit.” Id. at .0002. That covers virtually all payers in the United States.

8/5/22 AM Trial Tr. 19:6–12 (Yurjevich) (explaining that approximately 220 of the 230 payers in

the country are OptumInsight customers, including Aetna, Anthem, Cigna, Florida Blue, HCSC,

Horizon, Humana, and Molina). As noted, the policy then provides that “External Customer CSI”

shall not be disclosed to, or used to benefit, “UHG business units that are competitors of such

External Customers,” and makes no exception for situations in which Optum received the

“External Customer CSI” from a provider or intermediary rather than directly from the “External

Customer” itself. DX-0654 at .0002.




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        134.    Multiple UHG witnesses testified that Optum’s contracts and firewall policies

prohibit use or disclosure of a payer’s data regardless of whether Optum received that data from a

provider or intermediary. E.g., 8/5/22 PM Trial Tr. 42:12–18 (Dumont) (“Q. So, just to walk that

through with an example, if Optum receives data about a UnitedHealthcare competitor from a

healthcare provider, could Optum share that data with UnitedHealthcare since it’s not coming from

a competitor directly? A. It could not. That would be against a number of our policies; this policy

[the May 2022 policy] in particular.”); see also supra UHG and Change’s Findings of Fact (“FOF”)

¶¶ 104, 114.

        135.    UHG’s firewall policies restrict its ability to use data in the way envisioned by

Plaintiffs post-merger, and Plaintiffs presented no evidence that UHG intends to alter those

firewall policies.

        136.    Plaintiffs have discounted these policies, asserting that UHG can rescind or modify

these firewall policies whenever it wishes. 8/1/22 AM Trial Tr. 50:6–8 (Pls.’ Opening) (“And I

think you have to ask yourself, though, when the spotlight is gone, what will United do with this

[firewall] policy? Would it revise it? Would it eliminate it?”); PX820 ¶ 223 (“To the extent that

any [firewall] protocols currently in place have proved effective, it does not mean that they are

robust to this change in incentives.”). Plaintiffs insinuated the same during the questioning of

UHG’s CEO, 8/10/22 PM Trial Tr. 64:23–65:13 (Witty), implying that a hypothetical, future

leadership team could facilitate this effort, id. at 68:8–69:4.

        137.    But no matter the time or the leadership team, there was unequivocal testimony that

rescinding firewall policies to gain competitively sensitive information regarding rivals is “just

bad business” for UHG. 8/9/22 PM Trial Tr. 89:3–15 (McMahon). As UHG’s former CEO




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explained, if UHG misused Change’s data after the acquisition all of Optum’s external revenue

“would be immediately at risk.” 8/5/22 AM Trial Tr. 31:13–32:11 (Yurjevich).

       138.    As another UHG executive testified, misusing data to benefit UHC at the expense

of its rivals “would be completely counter” to UHG’s strategy and “would kill [UHG] in the

market,” 8/10/22 AM Trial Tr. 73:14–74:3 (Schumacher), and Plaintiffs offered no evidence about

the legal and reputational implications for Optum more broadly.

       139.    These market realities are recognized by Optum’s customers, as any specter of

misuse would severely damage Optum’s reputation and reverberate across the market. See DX-

0472 at .0004 (“               is highly confident and convinced that Optum will not risk their

credibility or brand reputation to share their Plan’s information with United Healthcare.”).

       140.    UHG thus has significant incentives to adhere to these firewalls and other

contractual restrictions that protect competitively sensitive data. OptumInsight’s “multi-payer

business is predicated on payers and providers trusting that its firewalls will protect their data[.]”

DX-0813 ¶ 147; see also supra FOF ¶¶ 68–81. As Professor Tucker explained, “healthcare is a

world, especially healthcare analytics[,] is a world where we’ve got these long-run relationships.

Customers are expensive to acquire. Each customer is worth a great deal of revenue. So you don’t

really want to risk that loss of revenue. And brand and reputation is incredibly important.” 8/12/22

Trial Tr. 11:3–19 (Tucker). Dr. Kevin Murphy likewise explained, “[e]conomics implies that

UHG must believe that the gains in OI profits from having effective firewalls are greater than the

increase in UHC profits from using rival payers’ data to benefit UHC.” DX-0813 ¶ 147.

       141.    Plaintiffs have offered no evidence—fact or expert—to explain how access to data

or the value of that data will change Optum’s incentives and cause it to abandon these consistent

and comprehensive protections across the enterprise. See, e.g., 8/12/22 Trial Tr. 96:21–97:7




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(Tucker) (“THE COURT: . . . [Y]ou think that Professor Handel’s report is lacking because it fails

to recognize the importance of firewalls in the incentive structure; correct? THE WITNESS: Yes.

So, my point isn’t legalistic, but as an economist, all we do is we think about incentives. That’s

really sort of the major underpinning of a lot of the economics. And so, for me, it’s very strange

to not as an economist think about the incentives of complying with firewalls and saying you can

disregard them.”). Again, as Dr. Murphy has explained, “[t]he same economic incentives that

induce UHG not to use the data from rival payers that it currently has in ways that would

disadvantage them will induce UHG to protect rival payers’ data from being used to harm them

after the merger.” DX-0813 ¶ 19.

                      e.      Other vertically integrated healthcare businesses maintain industry
                              standard firewalls.

       142.    Firewalls are an industry standard means of protecting competitively sensitive

information in the vertically integrated healthcare space. 8/15/22 AM Trial Tr. 38:14–24 (Murphy)

(“Firewalls in this industry for protecting CSI have been deemed to be effective.”);

                                                                               .

       143.    For example, CVS Health—which owns Aetna, a major payer, and CVS Caremark,

a PBM—has a corporate firewall policy that prohibits sensitive information from one line of

business from being shared with another line of business. 8/1/22 PM Trial Tr. 95:5–25, 96:3–18

(Lautzenhiser).

       144.    Plaintiffs presented no evidence of any instance in which CVS Health’s corporate

firewall policies were violated to benefit the enterprise’s commercial health insurance business.

See id. at 97:16–19 (“Q. You’re not aware of anyone at Aetna who has asked any CVS Health

company for rivals’ competitively sensitive information, right? A. Correct.”); id. at 97:24–98:2

(“Q. You’re not aware of anyone at Aetna conducting corporate surveillance on rivals using data



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those rivals may give to other [CVS] Health companies, right? A. I’m not aware of any.”); id. at

98:6–8 (“Sitting here today, you’re not aware of anyone at Aetna who has ever broken corporate

firewall policies, right? A. Nobody that I know of.”).

       145.    Anthem, a major commercial insurer, also operates non-health plan businesses that

sell products and services to other payers.

           ; DX-0860 at 10:8–10:10 (Anthem 30(b)(6)). Those non-health plan businesses

receive external payers’ medical claims data, which Anthem protects using firewall policies nearly

identical to UHG’s.                                                        ; DX-0860 at 11:21–24,

13:5–8 (Anthem 30(b)(6)); compare DX-0529A and DX-0654, with DX-0022 to DX-0025, DX-

0026, and DX-0028 to DX-0030.

       146.    The record contains no evidence of any instance in which Anthem’s firewall

policies were violated to benefit the enterprise’s commercial health insurance business. DX-0860

at 13:20–25 (Anthem 30(b)(6)) (“Q. For the nonhealth plan businesses that you have knowledge

of, is Anthem aware of any instance in which an Anthem employee has accessed medical claims

data of other payers that are held by those nonhealth plan businesses? A. Yeah. To the best of my

knowledge, no.”); id. at 14:8–12 (“[Q.] Has Anthem ever received, to your knowledge, any

medical claims data of other payers held by Anthem’s nonhealth plan businesses? A. No.”); id. at

14:17–21 (“Q. Are you aware of any instance in which Anthem has used medical claims data of

other payers held by Anthem’s nonhealth plan businesses to compete for commercial health

insurance? A. Not I’m -- no, not that I’m aware of.”).

       147.    Cigna, a payer, operates subsidiaries that provide services to other payers,




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        148.




        149.    UHC also entrusts competitively sensitive information to enterprises that operate

rival health insurers. 8/9/22 PM Trial Tr. 90:19–21 (McMahon) (“Q. Are you aware of any

instances in which UHC discloses its confidential data to an entity owned by a rival payer? A. Yes,

we do.”).

        150.    For example, UHC shares clinical rules and medical management protocols with

eviCore, a subsidiary of UHC’s payer rival, Cigna. Id. at 90:22–91:8. UHC is comfortable sharing

this data because it expects, and contractually requires, that eviCore and Cigna have effective

firewalls, and no evidence exists that they have ever been breached. Id. at 91:18–23; see id. at

97:16–98:6 (“Q. So, just to break that down, United makes a contract with eviCore, and that

contract allows eviCore to use those data for certain things but not for other things; isn’t that right?

A. Yes, that would be a logical assumption. Q. And whenever United discloses data outside of the

enterprise, United makes some sort of contract or license that defines what the -- how the data can

be used; isn’t that right? A. Yeah, that goes back to what I was talking about before. Regardless

of -- when we have data go outside of our walls, there’s restrictions on how that data can be used.




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Generally, it’s in the -- it’s in the realm of having somebody administer their medical plan for a

group of employees. Generally, that’s the case. And in our case, what we’re giving eviCore, we’re

-- for our book of business, we’re enabling them to help us manage the medical expenses in

radiology and cardiology.”).

       151.    Legal Restrictions.     Optum must comply with the federal Health Insurance

Portability and Accountability Act of 1996 (“HIPAA”), 42 U.S.C. § 1320d et seq., which requires

that certain health information be de-identified using either the safe harbor method or the expert

determination method. DX-0814 ¶ 29.

       152.    Under the safe harbor method, the following patient-level and employer-, group-,

and plan-level identifying information is removed: (i) names; (ii) “all geographic subdivisions

smaller than a State including street address, city, county, precinct, zip code, and their equivalent

geocodes” (with certain exceptions allowing for the initial three digits of a zip code to be

disclosed); (iii) “all elements of dates (except year) for dates directly related to an individual,

including birth date, admission date, discharge date, date of death” (with certain exceptions for

those over 89 years of age); (iv) telephone numbers; (v) fax numbers; (vi) email addresses;

(vii) social security numbers; (viii) medical record numbers; (ix) health plan beneficiary numbers;

(x) account numbers; (xi) certificate/license numbers; (xii) vehicle identifiers and serial numbers

(including license plate numbers); (xiii) device identifiers and serial numbers; (xiv) universal

resource locators (“URLs”); (xv) IP addresses; (xvi) biometric identifiers, including finger and

voice prints; (xvii) full face photographic images and any comparable images; and (xviii) “[a]ny

other unique identifying number, characteristic, or code, except as permitted.”           45 C.F.R.

§ 164.514(b)(2)(i); DX-0814 ¶ 29 & n.54.




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       153.    Under the expert determination method, an expert—defined as “[a] person with

appropriate knowledge and experience with generally accepted statistical and scientific principles

and methods for referring information not individually identifiable”—analyzes identified data and

determines whether “the risk is very small that the information could be used, alone or in

combination with other reasonably available information, by an anticipated recipient to identify an

individual who is a subject of the information.” 45 C.F.R. § 164.514(b)(1). The expert may then

conclude that certain fields need not be de-identified, so long as he or she “[d]ocuments the

methods and results of the analysis that justify such determination[.]” Id.; see DX-0814 ¶ 29 (“The

‘Expert Determination’ method is a nuanced and sophisticated method based on the statistical

properties of the data and expert judgement.”). But the expert determination method must “make

sure that re-identification can’t happen through a combination of the different data fields,”

meaning that there may be “fewer data fields” after the de-identification process to remove any

“risk of re-identification.” 8/12/22 AM Trial Tr. 64:16–65:3, 65:17–66:5 (Tucker).

       154.    To comply with HIPAA, Optum removes payer ID, provider ID, employer or

customer ID, as well as “other sensitive financial information like the negotiated reimbursement

rate.” 8/5/22 PM Trial Tr. 30:3–25 (Dumont); see also id. at 35:19–36:7.

       155.    Plaintiffs presented no evidence that there is any way to comply with HIPAA

without removing employer information.

       B.      Change

       156.    Change Healthcare is a healthcare technology company that provides data solutions

aimed at improving clinical decision-making and simplifying payment processes across the

healthcare system. PX195 at 31.




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       157.   Founded in 1996, Change merged with McKesson Corp.’s Technology Solutions

division in 2017 to create the healthcare technology company that exists today. Id.; 8/2/22 AM

Trial Tr. 92:20–94:7 (de Crescenzo).

       158.   Change historically has operated through three main business units: (i) Software

and Analytics; (ii) Network Solutions; and (iii) Technology Enabled Services. PX195 at 33–34;

8/2/22 AM Trial Tr. 14:23–15:9 (de Crescenzo).

       159.   Change’s Software and Analytics business provides solutions aimed at

“improv[ing] financial performance, payment accuracy, clinical decisions, revenue cycle

management (‘RCM’) and value-based payment, as well as provider / consumer engagement,

imaging, and clinical workflows.” PX195 at 33. Such solutions include coordination of benefits,

audit and recovery, first-pass claims editing (ClaimsXten), technology solutions, risk adjustment

and quality, clinical decision support (Interqual), RCM technology, imaging and clinical workflow

solutions, and consumer engagement. Id.

       160.   Change’s Network Solutions business centers on facilitating “financial,

administrative, and clinical transactions, electronic business-to-business and consumer-to-

business payments,” as well as aggregation and analytical data services. Id. at 34. Change

performs these services through its EDI clearinghouse, and its Electronic Payments, and Data

Solutions businesses. Id.; 8/2/22 AM Trial Tr. 15:10–21 (de Crescenzo).

       161.   Change’s Technology Enabled Services business delivers “RCM services, value-

based care, consumer engagement, payment services, pharmacy benefits administration, third-

party administration services and healthcare consulting.” PX195 at 34.




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               1.      ClaimsXten & First-Pass Claims Editing

       162.    One of Change’s products, offered through its Software and Analytics business, is

its first-pass claims-editing solution, ClaimsXten. 8/11/22 AM Trial Tr. 13:7–17 (Wukitch); DX-

0616A at .0023.

       163.    ClaimsXten “review[s] a health claim that comes into the payer, identifies which

codes should be paid,” and “help[s] payers pay claims more accurately and guard against fraud,

waste and abuse.” 8/11/22 AM Trial Tr. 15:1–12 (Wukitch); 8/2/22 AM Trial Tr. 97:4–22 (de

Crescenzo). ClaimsXten sits within a category of products often referred to as Payment Accuracy,

which generally focus on ensuring claims have been paid correctly. See PX195 at 33 (“ClaimsXten

is a clinically-based claims payment software solution for payers that deploys automated rulesets

to improve payment accuracy, reduce appeals and drive administrative savings.”).

                       a.     ClaimsXten historically has thrived as a functionally independent,
                              standalone product.

       164.    McKesson released ClaimsXten in 2006, 8/11/22 AM Trial Tr. 8:1–5 (Wukitch),

after which ClaimsXten enjoyed “significant growth,” and became “the market leader” in first-

pass claims editing before the combination with Change in 2017, id. at 17:8–18.

       165.    ClaimsXten’s success as a standalone product at McKesson stemmed from

investments in the solution’s functionality, as well as the strength of the dedicated team that

supported the business. 8/11/22 AM Trial Tr. 17:19–18:5 (Wukitch).

       166.    ClaimsXten continued its success following the combination of Change and

McKesson in 2017, owing in large part to its “stellar reputation among its customers in the

industry,” 8/2/22 AM Trial Tr. 97:4–22 (de Crescenzo), and status as the “gold standard” in clinical

claims management, DX-0616A at .0018.




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       167.    Functionally, ClaimsXten is used by a payer’s claims adjudication system. Change

does not offer claims adjudications systems. Rather, ClaimsXten contributes to the overall claims

adjudication process by providing “payment recommendation[s] to the payer” “in less than a

quarter of a second.” 8/2/22 AM Trial Tr. 97:4–22, 99:16–18 (de Crescenzo); 8/2/22 PM Trial Tr.

44:2–4 (Turner) (“Q. And the primary editor usually responds in a matter of seconds or even less?

A. 100 to 200 milliseconds.”).

       168.    To facilitate these recommendations, Change develops “edits” and “rules”

governing when claim codes should be recommended for rejection, which payers then implement

in their adjudication systems. 8/2/22 PM Trial Tr. 41:2–20 (Turner). These edits and rules often

are grouped together in “knowledge packs,” which “[t]ailor[] clinical content to address policy

management needs in rules.” DX-0616A at .0030; see 8/2/22 PM Trial Tr. 41:24–42:11 (Turner).

       169.    ClaimsXten knowledge packs reflect “clinical rationale[s]” derived from “a clinical

authority,” such as the Centers for Medicare & Medicaid Services and the American Medical

Association. 8/2/22 PM Trial Tr. 88:9–21 (Turner). Change therefore “go[es] right to the source”

in developing editing rules for ClaimsXten and does not draw clinical content from other products

or utilize machine learning in doing so. Id. at 89:2–90:4.

       170.    Certain payer customers work with Change to offer customized edits and rules

based on payer-specific coverage rules and policies. 8/1/22 AM Trial Tr. 123:21–124:9 (Garbee).

                      b.      ClaimsXten is purchased as an independent standalone product,
                              unbundled from Change’s other suite of offerings.

       171.    ClaimsXten is a “standalone solution” offered by Change that is not technologically

integrated with any other Change payment accuracy offerings and is sold separately from those

offerings. 8/11/22 AM Trial Tr. 18:9–18:22 (Wukitch). ClaimsXten is an entirely self-sufficient

first-pass claims editing tool that is not dependent in any way on Change’s other products. See,



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e.g., 8/2/22 PM Trial Tr. 90:5–8 (Turner) (“Q. Does a payer need any other products from Change

Healthcare to operate ClaimsXten? A. No, just ClaimsXten, an instance of Oracle, and a claims

processing system.”); 8/2/22 AM Trial Tr. 102:17–19 (de Crescenzo) (“Q. Does ClaimsXten rely

on any other products that Change sells in order to function? A. No, not that I am aware of.”);

8/11/22 AM Trial Tr. 38:12–14 (Wukitch) (“[Q.] Does ClaimsXten rely in any way on any other

Change products or services to operate? A. It does not.”).

       172.    Although Change has tried to sell ClaimsXten as part of an “end-to-end” “payment

accuracy suite” since its combination with McKesson in 2017, customers have continued to

purchase ClaimsXten “alone without necessarily any other products being purchased at the same

time.” 8/2/22 AM Trial Tr. 101:18–1027, 102:20–103:9 (de Crescenzo) (“[N]o matter how many

times you put on a PowerPoint slide that you’d like people to buy a number of things all at once,

you can’t really control, you know, how or what or why people buy products, and what the facts

show is that ClaimsXten has been purchased as a stand-alone point solution over the years.”);

8/2/22 PM Trial Tr. 95:22–25 (Turner) (“Q. Are you aware of any instances where Change won

primary claims editing business from a customer because ClaimsXten was a part of an end-to-end

suite? A. No.”); 8/11/22 AM Trial Tr. 18:20–22 (Wukitch) (“Q. Customers are able to license and

call the software without having any other Change products; do I have that right? A. Correct.”).

       173.    For example, Change has offered ClaimsXten alongside another payment accuracy

product called Coding Advisor—a “presubmission messageing [sic]” tool, PX414 at CHNG-

004262351—as part of a payment accuracy “end-to-end solution,” but customers have not bought

the products together. See, e.g., 8/11/22 AM Trial Tr. 136:14–16 (Wukitch) (“Q. All right. So,

like the other examples that we talked about before, did they buy these products together? A. They

did not buy ClaimsXten and Coding Advisor together.”); see also 8/2/22 AM Trial Tr. 102:8–16




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(de Crescenzo) (testifying that a Blue Cross Blue Shield plan recently considered Change’s full

suite of payment accuracy products, “[b]ut in the end, they decided to just purchase ClaimsXten”).

       174.    To take another example, Change customers, including Aetna, agree that

ClaimsXten operates separate and apart from other Change payment accuracy products like Insight

Record Review, an automated solution designed to capture “outlier and complex scenarios” for

claims payment. 8/1/22 PM Trial Tr. 51:23–52:9 (Lautzenhiser); 8/11/22 AM Trial Tr. 36:9–11

(Wukitch) (noting that ClaimsXten and Insight Record Review are “separate and distinct”

products).




       175.    Change estimates that “[p]robably 90 percent” of its current customers were

McKesson customers before 2017, including major payers such as Cigna, Anthem, and Aetna.

8/11/22 AM Trial Tr. 130:21–132:6, 141:22–142:25 (Wukitch).

       176.    Plaintiffs failed to present any evidence that payers, including Cigna, Anthem, and

Aetna consider the availability of other payment accuracy products when they first purchased

ClaimsXten or that they do so now. Plaintiffs likewise failed to present any evidence that it is

important to payer customers for payment accuracy products to be sold together.

                      c.      ClaimsXten is a market leader that generates substantial revenue
                              through its independent and loyal customer base.

       177.    ClaimsXten’s share of the market for first-pass claims editing solutions is in the

range of 60% to 70%. 8/2/22 PM Trial Tr. 85:14–18 (Turner).

       178.    ClaimsXten today has “a little over 100” customers, 8/11/22 AM Trial Tr. 18:23–

24 (Wukitch), including Anthem, HCSC, Humana, Aetna and Cigna, among others, DX-0616A at



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.0006. These customers—and customers of Change’s adjacent claims editing products—are part

of Change’s “blue chip customer base,” which includes nearly all of the top commercial health

insurance payers and 71% of Blue Cross Blue Shield plans. DX-0616A at .0009.

       179.    Customers also tend to stick with ClaimsXten as a first-pass claims editing solution:

owing to the value it drives for customers and the “low appeal rates” associated with its edits,

ClaimsXten’s customer retention rate is “well in excess of 95 percent.” 8/2/22 PM Trial Tr. 88:4–

8 (Turner); DX-0616A at .0006 (noting “99% Customer Retention”).

       180.    As noted above, when asked by the Court for a sense of how many of Change’s

current customers were McKesson customers before 2017, Ms. Carolyn Wukitch, the Change

executive in charge of ClaimsXten, answered “[p]robably 90 percent.” 8/11/22 AM Trial Tr.

141:22–25 (Wukitch). This includes Aetna, which served as a McKesson beta partner for

ClaimsXten by evaluating, testing, and providing McKesson a financial investment to assist with

ClaimsXten’s development. 8/1/22 PM Trial Tr. 47:17–48:18 (Lautzenhiser). Anthem and Cigna

also began purchasing ClaimsXten before the product was acquired by Change. 8/11/22 AM Trial

Tr. 32:8–13, 131:11–22 (Wukitch).

       181.    Change’s other claims editing products, each of which are part of the divestiture to

TPG, include: (i) ClaimCheck, a legacy solution that Change will sunset in 2023, id. at 13:22–

14:6; DX-0616A at .0025; (ii) ClaimsXten Select, a version of ClaimsXten targeted towards

smaller payers and without “as much clinical content and less service offerings,” 8/11/22 AM Trial

Tr. 15:15–16, 15:20–16:1 (Wukitch); and (iii) ClaimsXten Cloud, Change’s newest product, which

was released in 2019, and which provides second-pass claims editing for payers that occurs post-

claims adjudication, 8/11/22 AM Trial Tr. 16:2–8 (Wukitch); DX-0616A at .0023.




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       182.   Sales of Change’s claims editing products account for over                in annual

revenue and generated billions of dollars in annual customer savings, relative to not using any

payment accuracy product. DX-0616A at .0006. This revenue comes from annual license fees

based on the number of plan members, as well as associated service revenues, with contracts

usually lasting three to five years. 8/11/22 AM Trial Tr. 14:7–13 (Wukitch).

              2.      EDI Clearinghouse Network

       183.   Another of Change’s products, offered through its Network Solutions business unit,

is Change’s “medical network” EDI clearinghouse. PX195 at 34; 8/3/22 AM Trial Tr. 111:14–24

(Peresie).

       184.   Change’s EDI clearinghouse “facilitate[s] electronic communication between

providers and payers in health insurance companies for the purposes of predominantly the revenue

cycle, which generally involves the transmission of electronic claims and, ultimately, the

remittance advice or the kind of explanation of the payer’s payment back to the provider.” 8/3/22

AM Trial Tr. 111:5–13 (Peresie).

       185.   EDI transactions are submitted in uniform, standardized transaction formats, so that

clearinghouses and payers and providers can all interoperate with one another, follow the same

standards and make sure that electronic transactions are consistent and easy to adopt across the

industry. Id. at 113:17–25.

       186.   These standards—specifically, the “fields and the codes and the specifications of

exactly how you have to format that transaction,” as well as other operating rules—are set by

several third-party organizations, such as X12 and CAQH Core. Id. at 114:1–23.

       187.   Different transaction types are numerically denominated based upon whether they

originate from a payer or a provider: a reimbursement request from a provider, or “claim,” is




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known as an 837 transaction; a remittance from a payer to a provider in response to a provider’s

request for reimbursement is known as an 835 transaction. Id. at 53:2–19.

        188.   A provider’s 837 reimbursement request generally contains “information on,

among other things, the healthcare providers that delivered the medical services, the patient that

received the services, the insurance company that covers the patient, the service facility, the

services provided, a payer estimated amount due, and a patient estimated amount due.” DX-0813

¶ 57.

        189.   A payer’s 835 remittance generally contains “information on, among other things,

the insurance company or payer, the patient or subscriber, the monetary amount charged, the

monetary amount paid, and various codes related to adjustments made (i.e., contractual

obligations, payer-initiated reductions, and amounts for which the patient is responsible).” Id.

        190.   “From a clearinghouse perspective, there’s nothing unique about Change

Healthcare’s clearinghouse,” as it “do[es] the same thing everyone else does.” 8/3/22 PM Tr.

6:18–24 (Joshi).

        191.   Not all medical claims transmitted between payers and providers in the United

States flow through Change’s EDI network. UHG’s and Change’s expert, Dr. Kevin Murphy

estimated Change’s EDI market share to be between 18.3% and 22.0% of medical claims for large

payers with direct connections in 2020. See DX-0813 Ex. 16. Dr. Murphy likewise estimated that

Change had between 17.8% and 33.8% of medical claims share for providers with direct

connections. DX-0813 Ex. 17. Plaintiffs’ expert, Dr. Gowrisankaran, does not calculate Change’s

market share of EDI clearinghouse services on either the payer or provider side of the market. See

PX820 Ex. 08. Instead, Dr. Gowrisankaran asserts that Change transmitted approximately 51% of

all commercial medical claims, a figure which extrapolates multiple assumptions from data related




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to just 6 payers and which accounts for “hops” or instances in which a claim touches Change’s

network after traveling on another EDI network. PX820 ¶¶ 185, 199. This figure includes claims

for which Change does not have secondary use rights.

       192.       In order to send or receive EDI transactions, providers and payers must connect to

an EDI clearinghouse, whether directly or indirectly. See 8/3/22 AM Trial Tr. 54:7–55:20

(Peresie). Direct connections involve a direct integration with an EDI clearinghouse. Id. Indirect

connections establish EDI connectivity through a third-party vendor or intermediary. Id.

       193.       On the provider side, indirect connections can be obtained through an electronic

health record (“EHR”) or revenue cycle management (“RCM”) vendor, sometimes referred to as

a channel partner. Id. at 58:2–59:25. Examples include AthenaHealth, Allscripts, and eClinical

Works. PX273 at CHNG-007270760.

       194.       Channel partners are sophisticated companies that frequently “multi-home” or

connect to more than one EDI clearinghouse, which gives them the ability to easily choose and

quickly alter how to allocate transactional volumes among the clearinghouses to which they

connect. 8/3/22 AM Trial Tr. 118:3–9, 121:3–20 (Peresie). In order to “switch” EDI vendors, a

provider simply could swap one EDI clearinghouse for another within the EHR or RCM system

or, in more extreme cases, could switch the entire back-end RCM system into which the EDI

clearinghouse integrates. See, e.g., id. at 140:15–143:19 (discussing switching by switching EDI

vendors); id. at 144:22–145:21 (discussing switching RCM).

       195.       On the payer side, indirect connections frequently take the form of an “EDI

gateway.” Id. at 118:21–119:11. EDI gateway vendors consolidate inbound claims feeds from

multiple clearinghouses into a single stream that feeds into the payer’s claims adjudication system.

Id. at 56:7–11.




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       196.    Nearly all large payers either do not use Change as their EDI clearinghouse or do

not do so exclusively. UHC, Anthem, HCSC, Florida Blue, and Blue Cross Blue Shield of

Michigan do not connect to Change’s EDI network at all. Id. at 125:22–25 (“Q. And which of

these 10 large payers do not connect to Change’s EDI network? A. United, Anthem, Healthcare

Services Company, Florida Blue and Blue Cross Blue Shield of Michigan.”). Other large payers,

including Aetna, Cigna, Kaiser Permanente, and Blue Shield of California use multiple

clearinghouses to process medical claims, only one of which is Change. DX-0813 Table 11; 8/3/22

AM Trial Tr. 126:1–9 (Peresie).

       197.    Plaintiffs have dismissed Change’s low market share and lack of direct

relationships with large payers because claims may “hop” from one clearinghouse to another,

meaning that certain claims may touch Change’s EDI clearinghouse even when a payer does not

connect to it. 8/3/22 AM Trial Tr. 60:10–23, 113:1–2 (Peresie); DX-0813 at .0027, .0030–31. But

“hops” are not ubiquitious and only occur when a provider’s clearinghouse does not also connect

to the receiving payer. 8/3/22 AM Trial Tr. 60:10–23 (Peresie). In the case of UHC’s largest

competitors, they either do not connect to Change at all or use Change as one of many connections,

making the incidence of hops to Change’s networks less frequent. Id. at 119:12–15.

                      a.      EDI clearinghouse services are highly competitive and
                              commoditized.

       198.    The EDI clearinghouse market is “extremely competitive.” Id. at 128:23–129:9;

see also DX-0092 at .0003 (noting “[c]ompetitive payer market / pricing pressures persist in payer

market”).

       199.    Ability, Availity, nThrive, Experian, TransUnion, Waystar, SSI Claims Net, and

Quadax, among others, compete with Change in the EDI space, and Change has lost business to

each of these companies. 8/3/22 AM Trial Tr. 129:10–19 (Peresie); see also DX-0813 Ex. 4;



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PX857. One of these competitors—Availity—is also owned by payers, including Anthem, HCSC,

Humana, and GuideWell (a subsidiary of Blue Cross Blue Shield of Florida). 8/3/22 AM Trial Tr.

129:20–25 (Peresie).

        200.    Driving the intense competition between EDI vendors is the continued

commoditization of EDI services. Id. at 128:23–129:9; 8/5/22 PM Trial Tr. 118:17–24 (Schmuker)

(“So EDI, in and of itself, you know, is a commodity that allows for claims to be transferred back

and forth.”); see also 8/3/22 PM Trial Tr. 14:18–15:4 (Joshi) (“The connectivity [of Change’s EDI

network] is not differentiating. Today, everybody can connect to everybody and there are multiple

ways to get to any of these payers. So, the differentiation isn’t so much the connectivity as much

as it is the relationships.”).

        201.    One key indicia of this commoditization is the “extreme[] price sensitiv[ity]” and

declining prices for EDI services. 8/3/22 AM Trial Tr. 128:23–129:9 (Peresie). Average revenue

per EDI transaction is declining for Change, DX-0813 Ex. 15, and several payers have even

stopped paying for EDI entirely, DX-0813 ¶¶ 163, 171. Today, Change on average receives “just

around 6 cents of revenue per EDI transaction” because “[i]n many cases, the degree of

competition just necessities that.” 8/3/22 AM Trial Tr. 130:1–16 (Peresie).

        202.    Change “constantly” is “being asked to reduce [its] price” for EDI and must “be

very aggressive in keeping our price low” so as “to maintain [its] position, maintain [its] business

that [it] ha[s], and [to] try to win deals.” Id. at 130:9–10, 13–15.

        203.    Change thus often experiences volume attrition (i.e., “customers that have decided

to move their volume to another clearinghouse or network service provider”), rate attrition (i.e.,

customers that have received “price cuts or price reductions”), and client attrition (i.e., “customers




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that had terminated and switched service providers”) for EDI services from both payers and

providers. DX-0092 at .0008–9; 8/3/22 AM Trial Tr. 136:21–139:23 (Peresie).

       204.    This attrition is facilitated by the ease with which customers can switch between

and disintermediate EDI vendors. 8/3/22 PM Trial Tr. 22:11–19 (Joshi) (“It is quite easy to get

around Change, and we have to bend over backwards with rebates to make sure we are providing

adequate financial incentives to these channel partners and trading partners for them to send us

more volume. And they switch volume away from us all the time to get better economics from

other clearinghouses. It’s a constant battle in a very, very competitive space.”).

       205.    On the provider side, even Plaintiffs’ expert, Dr. Gautam Gowrisankaran, concedes

that between 2018 and 2020, 30.2% of Change’s provider customers dropped at least 50% of their

claims volume. PX947 Ex. 5.

       206.    On the payer side, Dr. Gowrisankaran likewise testified that “[i]t’s typically less

hard” for payers to switch because payers usually “multi-home” their claims amongst different

clearinghouses, with the lone exception being payers that use Change as a managed gateway.

8/9/22 AM Trial Tr. 53:2–12 (Gowrisankaran). UHG’s and Change’s expert economist, Dr.

Murphy, largely agreed with Dr. Gowrisankaran on this score, noting that “for most payers, they

multi-home, which means they could switch [EDI clearinghouses] pretty easily[,]” and that the

most difficult switching would come from managed gateway customers, of which there are “not

many.” 8/15/22 AM Trial Tr. 52:8–23 (Murphy) (explaining that managed gateway switching is

“less applicable in this case because Change just doesn’t have a lot of those customers”).

Moreover, Change’s managed gateway customers “tend to be small payers” and “[c]ombined, they

represent about 3 percent of all claims submitted in the U.S. in 2020.” DX-0813 ¶ 69; see also id.

at Table 9 (listing Change’s managed gateway customers).




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       207.    Payers not only can easily establish new connections and switch their own EDI

clearinghouse vendors, they also can effectuate a complete disintermediation even of EDI vendors

to which they do not directly connect, such as by stopping acceptance of claims from a specific

vendor, by influencing providers to avoid a vendor, or by forming direct connections between

themselves with large providers or channel partners. For example, one of Change’s payer

customers—        —recently established a direct connection with one of Change’s channel

partners,       , bypassing Change entirely for        claims. See DX-0813 ¶ 165; see also 8/3/22

AM Trial Tr. 117:12–20 (Peresie) (explaining that providers can also direct connect “out of their

electronic medical record system or practice management system” to an EDI network and “others

may actually bypass a clearinghouse altogether and go directly to a payer”).

       208.    Payers can even disintermediate EDI clearinghouse vendors like Change when they

are only involved through claim “hops,” which would occur only when the payer and provider are

not connected to the same network. 8/3/22 AM Trial Tr. 60:17–20 (Peresie).

       209.    Payers can effectuate a switch in EDI vendors in multiple ways, whether by

stopping acceptance of claims from a specific vendor or influencing providers to avoid a vendor.

For example, one of Change’s payer customers—           —recently established a direct connection

with one of Change’s channel partners,         , bypassing Change entirely for       claims. See

DX-0813 ¶ 165; see also 8/3/22 AM Trial Tr. 117:12–20 (Peresie) (explaining that providers can

also direct connect “out of their electronic medical record system or practice management system”

to an EDI network and “others may actually bypass a clearinghouse altogether and go directly to

a payer”).




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       210.   There are many examples of payers and providers switching away from Change’s

EDI clearinghouse. 8/3/22 AM Trial Tr. 142:22–143:19 (Peresie) (for payers, listing Centene,

Meridian, Medica, TMG, and Affinity, and for providers, listing the Mayo Clinic and LabCorp).

       211.   EDI switching can take as little as 60 to 90 days when a new connection is required,

or shorter when the new connection is made by API—an “application programming interface”

offered by major Change competitors like Availity and Waystar—or when an alternative

connection already exists. Id. at 140:15–142:21; 8/3/22 PM Trial Tr. 23:1–3 (Joshi) (“It is not

about whether [customers] can switch away or not. They can very easily switch away, and they

do all the time.”). When the Mayo Clinic switched from Change to Availity, for instance, “they

were able to execute that change in less than a week.” 8/3/22 AM Trial Tr. 141:18–19 (Peresie).

       212.   Employees from two of Change’s provider customers, Texas Health Resources

(“THR”) and Erlanger Health System (“Erlanger”), testified at trial—one live, one by video. See

generally PX1008 (Mincher); 8/8/22 AM Trial Tr. 20:8–44:13 (Spady).

       213.   The experience of these two companies, which described a more difficult switching

process, is not representative: combined, the claims submitted by THR and Erlanger add up to

“less than one-tenth of 1 percent” of Change’s total volume of claims transmitted. 8/3/22 AM

Trial Tr. 145:22–146:14, 146:15–147:7, 147:8–12 (Peresie) (explaining that Change transmits

“about 90,000 [claims] a month” for THR and “roughly 125,000 [claims] a month” for Erlanger).

       214.   Plaintiffs’ economist did not identify a representative sample of Change’s payer

and provider customers for purposes of estimating switching time or switching costs.

       215.   Unlike most Change customers, which use RCM vendors that are not exclusive to

any one EDI network, THR and Erlanger receive EDI connectivity from Change by purchasing

RCM software, which differentiates those customers’ switching experience from those Change




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customers solely switching EDI suppliers. PX1008 at 143:15–20 (Mincher) (“Is it the case that

Texas Health Resources does not purchase an EDI clearinghouse on a standalone basis but rather

as a part of back-end RCM product? A. I agree. I think there’s a number of factors that go into

that decision-making process.”); 8/8/22 AM Trial Tr. 41:23–42:11 (Spady) (“Q. And that your

estimates do not involve a change solely away from the EDI clearinghouse. Correct? A. That’s

correct.”); see also 8/3/22 AM Trial Tr. 166:17–167:17 (Peresie) (“[I]f it’s purely an EDI

connection, it’s relatively straightforward, because think of it as a plug. All you’re doing is

plugging into the clearinghouse. . . . If you have the software and you’re just using the software

and you’re not trying to do a lot of customized integration with your electronic medical records

system, that’s fairly straightforward as well. Some of our larger hospital system clients that have

big centralized billing offices, they may want to have customized workflow in the software that

we have to set up so that they can manage their large workforce. And so in those instances, that’s

where the implementation time can take longer because they have a lot more -- it’s not so much

the network itself. It’s actually the software configuration, if you will, where we’ve customized it

for them, tailored it for their needs. And then you have to train your staff, and the more staff you

have, the longer it can take to train. So those are the variables.”); 8/8/22 AM Trial Tr. 26:3–15

(Spady).

       216.    A relatively small fraction of the claims transmitted on Change’s EDI network

originate from Change’s own back-end RCM product, where competition with other RCM vendors

is vigorous, as opposed to traffic from other submitters, such as channel partners and trading

partners. See 8/3/22 AM Trial Tr. 144:6–145:15 (Peresie); DX-0813 at .0074.

       217.    Moreover, notwithstanding the purported difficulties in switching, switching costs

are not prohibitive even for uniquely situated providers like THR and Erlanger, both of whom




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testified that they would switch or would consider switching if the transaction is consummated.

See PX1008 at 182:4–7.

       218.    Given the ease and frequency of switching and low price point for EDI services,

Change’s ability and incentive—and by extension the post-merger entity’s ability and incentive—

to engage in the anticompetitive conduct hypothesized by Plaintiffs is limited. See supra FOF

¶¶ 203–11.

       219.    For example, Change has never “dropped a payer to paper,” 8/3/22 AM Trial Tr.

97:19–25, 98:1–4 (Peresie), a term used in the industry that refers to terminating access to an EDI

network. Plaintiffs presented no evidence that Change has ever done this, including when

migrated from Change to           for its managed gateway services. 8/3/22 AM Trial Tr. 109:23–

110:8 (Peresie). That is because “threatening a customer with something like that would . . . be

damaging to [Change’s] brand reputation” and “would hurt [its] ability to sell future products.”

Id. at 150:9–12.

       220.    Plaintiffs likewise presented no evidence supporting the suggestion that, post-

merger, OptumInsight would drop customers to paper or otherwise use Change’s EDI

clearinghouse to raise rivals’ costs. 8/9/22 PM Trial Tr. 24:23–25 (Gowrisankaran) (“Q. You don’t

offer an opinion about whether Optum would raise pricing on Change’s current EDI clearinghouse

network, correct? A. That’s correct.”).

                      b.      Change is restricted in how it can use data transmitted through its
                              EDI clearinghouse network.

       221.    Change receives access to customer data through its EDI clearinghouse from both

payers and providers. 8/2/22 PM Trial Tr. 101:5–15 (Suther).

       222.    Change’s rights to access customer data come in two forms: “primary use” rights,

which permit the transmission of data through Change’s EDI clearinghouse, and “secondary use”



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rights, which permit the de-identification of data and use of that de-identified data for other

purposes. 8/2/22 PM Trial Tr. 101:12–102:13 (Suther).

       223.    Change’s use of de-identified data is broadly “controlled by three things”:

(i) “applicable law”; (ii) “contract”; and (iii) “whether or not it comports with [Change’s] data

values.” 8/3/22 AM Trial Tr. 17:23–18:5 (Suther); see also 8/2/22 AM Trial Tr. 123:19–124:17

(de Crescenzo); PX174 at CHNG-011002805-06 (“We have very high constraints for use” and

“[w]e take our trusted role seriously, [w]e have high barriers/constraints to use of data . . . . No

PHI. No harm. Must benefit the healthcare ecosystem. We never sell data. It’s licensed for a

specific use. Restrictions are substantial. Contractual remedies are significant. All agreements

have audit rights.”).

       224.    First, as for “applicable law,” Change, like Optum, must comply with HIPAA.

DX-0814 ¶ 29. Change utilizes the expert determination method and removes certain fields from

medical claims data during the de-identification process, including “anything that can identify the

patient” under HIPAA, such as “name and address,” as well as “plan ID and group ID, which are

affiliated with health insurers and their customers.” 8/3/22 AM Trial Tr. 14:2–3, 14:9–13 (Suther).

       225.    A plan ID “signif[ies] the actual coverage of a member” from a health plan

perspective and “is not included” after Change de-identifies its data. Id. at 14:17–21. “A group

ID is an identifier associated with the employer.” Id. at 14:25–15:4. Thus, “there’s no ability to

isolate information any individual health sponsor” in Change’s de-identified data because

employer identification is removed. Id.

       226.    Regardless of the scope of secondary use rights granted to Change, de-identified

data in Change’s possession does not identify the employer or plan associated with a particular

medical claim. Id. at 14:9–13. Plaintiffs presented no evidence that Change intends to alter its de-




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identification protocols post-transaction or that UHG does either. See id. at 48:3–8 (“Q. Again,

this is a hypothetical to some extent. But do you anticipate that the same approach will apply after

the closing, if there is one? A. I assume so. And if I am not mistaken, United has made a public

proclamation that they were going to continue supporting [Change’s] data solutions business.”);

8/5/22 PM Trial Tr. 35:4–11 (Dumont).

       227.    Plaintiffs likewise presented no evidence that there is any way to comply with

HIPAA without removing employer information.

       228.    Second, the contractual permissions and limitations governing Change’s secondary

use rights flow from a series of interlocking provisions in Change’s business associate agreements

and master relationship agreements with customers. 8/2/22 PM Trial Tr. 104:13–17 (Suther);

8/3/22 AM Trial Tr. 20:6–18 (Suther); see, e.g., DX-0843.

       229.    Change’s default business associate agreement (“BAA”) provides: “In exchange

for the rights and access granted hereunder to the Services and notwithstanding anything in any

other agreement between Customer and [Change] to the contrary, the Protected Health Information

(as defined under HIPAA) contained in any data received by [Change] directly from Customer or

from any third-party customer under this or other agreements between Customer and [Change]

may be de[-]identified in accordance with 45 C.F.R. § 164.514(b). [Change] may use or disclose

such de[-]identified data unless prohibited by applicable law.” PX165 at CHNG-011136501.

       230.    Contrary to Plaintiffs’ suggestion, the unequivocal and unrebutted testimony maks

clear that this is not the only contractual limitation on Change’s use of a customer’s confidential,

de-identified information, nor can Change do whatever it wishes with a customer’s data so long as

the data use at issue does not violate a specific provision of law. Change’s default master

relationship agreement (“MRA”) also imposes specific restrictions:




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       Use and Disclosure of Confidential Information. Each party will protect and
       safeguard the other party’s Confidential Information with at least the same care
       used for its own Confidential Information of a similar nature, but no less than
       reasonable care. Except as expressly permitted by this MRA, neither party may:

       (a) disclose the other party’s Confidential Information except (i) to its employees
       or contractors who have a need to know and are bound by confidentiality terms at
       least as restrictive as those contained in this section, or (ii) to the extent required by
       law, after giving prompt notice of the required disclosure to the other party; nor

       (b) use the other party’s Confidential Information for any purpose other than (i) to
       perform its obligations or exercise its rights under this MRA, (ii) in the case of
       Customer as the receiving party, Customer’s evaluation of CHC Solutions, or (iii)
       in the case of CHC as the receiving party, CHC’s development of new and existing
       products and services.

DX-0843 at .0004.

       231.    This provision imposes on Change a contractual obligation to “protect and

safeguard the other party’s Confidential Information with at least the same care used for its own

Confidential Information of a similar nature, but no less than reasonable care.” Id. Using Change’s

EDI claims data in the way Plaintiffs envision would expose UHG to litigation risk under this

provision. 8/3/22 AM Trial Tr. 22:22–23:4 (Suther).

       232.    It also would be contrary to Change’s current practices and procedures. Change

operates under its customer agreements to disallow potential corporate surveillance by one payer

of another’s medical claims data. Tim Suther, Senior Vice President and General Manager of

Change’s Data Solutions business, unequivocally testified: if a “payer wanted specific information

about one of its competitors” from Change, then the company “would view that as a violation of

[its] confidentiality obligations and . . . would turn that down.” Id. at 46:13–24 (Suther). In other

words, if Change “felt that a[n] interested health insurer were trying to . . . reverse engineer the

business practices of one of their competitors, that . . . would be a violation of [Change’s]

confidentiality obligations under [its] agreement and [Change] wouldn’t permit it.” Id. at 47:14–

24.


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       233.    Consistent with Change’s understanding of its contracts, Change does not sell one

payer’s medical claims data to another payer. 8/2/22 PM Trial Tr. 119:25–120:1 (Suther); see also

8/3/22 AM Trial Tr. 10:15–11:5 (Suther).

       234.    Change also ensures that its licensees maintain strict data protections. When

Change licenses de-identified data to third parties, its customer agreements often “enumerate[]”

“substantial” restrictions, along with “significant contractual remedies,” and even audit rights to

ensure that third parties comply with Change’s contractual restrictions. See, e.g., 8/3/22 AM Trial

Tr. 33:21–34:4 (Suther); PX174 at CHNG-011002805-06 (“We have very high constraints for use”

and “[w]e take our trusted role seriously[,] [w]e have high barriers/constraints to use of data.”).

       235.    Plaintiffs offered no persuasive evidence to the contrary.          Plaintiffs’ expert

witnesses assume that claims data could be used for any lawful purpose post-transaction. But this

assumption is contrary to the language of Change’s contracts and unrebutted testimony about

Change’s ordinary course of conduct under those contracts—both of which prohibit licensing de-

identified data to payers or providers for the purpose of conducting competitive intelligence.

       236.    Plaintiffs’ claims data expert, Dr. Handel, is not a lawyer, and did not offer (nor

could he offer) any legal opinion on the meaning of Change’s contracts. See 8/8/22 PM Trial Tr.

29:5–14 (Handel). Nor did Dr. Handel offer an opinion on how those contracts are implemented

in practice. In fact, Professor Handel did not review a single payer, provider, or template contract

from Change in full, relying instead on two limited screenshots of incomplete language from

Change’s default BAA. See 8/8/22 PM Trial Tr. 29:24–30:5, 30:24–32:18 (Handel).

       237.    If Change misused customer data or otherwise breached its contractual obligations,

Change could face legal action for breach of contract or suffer financial loss from a customer

taking its business elsewhere. 8/3/22 AM Trial Tr. 22:22–23:4 (Suther).




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       238.    Ensuring confidentiality is “oxygen to [Change’s] business,” 8/3/22 AM Trial Tr.

44:2 (Suther), and “the consequences” of betraying the trust of its customers or breaching its legal

agreements “would be catastrophic,” id. at 22:16–23:4.

       239.    Third, Change’s “data values” require that any data use be “aligned on [its] mission,

which is to improve healthcare at large in this country, [and] also to honor the trust that [its]

customers have placed in [it].” Id. at 22:16–21.

       240.    Change’s “law,” “contract,” and “data values” framework for secondary use rights

limits Change’s ability, pre- and post-merger, to engage in anticompetitive conduct. Indeed,

undisputed testimony confirms that Change will take the same approach to data rights after the

transaction that it takes today. Id. at 48:3–8; see also 8/2/22 AM Trial Tr. 138:21–139:11 (de

Crescenzo).

                       c.      Change lacks secondary use rights in the vast majority of payer
                               commercial claims data.

       241.    In any event, Plaintiffs exaggerate the breadth of data to which Change has

secondary use rights in the medical claims data transmitted by its EDI clearinghouse.

       242.    Notwithstanding the 60% figure sometimes cited by Plaintiffs and their experts,

see, e.g., PX1015 at 54, based on the testimony of both sides’ experts, Change likely has secondary

use rights for between 50% and 54% of the medical claims that pass through its EDI clearinghouse.

See DX-0813 ¶ 193 (estimating use rights in 50% of medical claims); 8/15/22 AM Trial Tr. 98:9–

16 (Murphy) (same); PX947 ¶ 69 (estimating use rights in 54% of medical claims); 8/9/22 AM

Trial Tr. 87:22–88:7 (Gowrisankaran) (“What I found is that Change actually has secondary use

rights for 54 percent of claims.”).




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       243.    But even these figures significantly overstate the total percentage of payer and

provider medical claims for which Change has use rights, as only some claims ever touch Change’s

EDI clearinghouse at all.

       244.    Plaintiffs’ expert, Dr. Gowrisankaran, asserts that 51% of commercial medical

claims touch Change’s EDI network—i.e., just over half of all commercial medical claims. See

PX820 ¶ 185.

       245.    Assuming that is true, by Dr. Gowrisankaran’s own analysis, Change would only

have use rights in between 25.5% and 27.4% of commercial medical claims transmitted between

payers and providers (51% claims volume x 50% use rights = 25.5% of claims with use rights;

51% claims volume x 54% use rights = 27.4% of claims with use rights). This is because Change

does not have use rights in all of the medical claims transmitted through its EDI network.

       246.    The percentage of commercial claims in which Change has use rights is even lower

for UHC’s major competitors (the entities Plaintiffs contend would be the targets of post-merger

corporate surveillance).    Again, using Dr. Gowrisankaran’s own figures, Change only had

secondary use rights in only:

       •   12% of            2019 claims (31% claims volume, only 39% of which convey use
           rights);

       •   12% of               2019 claims (18% claims volume, only 65% of which convey use
           rights);

       •   13% of                2020 claims (24% claims volume, only 54% of which convey use
           rights); and

       •   21% of           2019 medical claims (46% claims volume, only 45% of which convey
           use rights).

See DX-0862 at .0027; 8/15/22 PM Trial Tr. 89:9–17 (Gowrisankaran).




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       247.    In sum, Change can de-identify and use only a small percentage of the claims for

the entities Plaintiffs contend would be the targeted for post-merger corporate surveillance. See

PX168 (listing payers that do not currently give Change data rights).

               3.      Real-Time Settlement

       248.    Change also has an R&D project known internally as Real-Time Settlement. 8/3/22

PM Trial Tr. 31:22–24 (Joshi).

       249.    Real-Time Settlement is a “concept” designed “to speed up the payment to a

provider.” Id. at 57:1–7 (Joshi). It is an attempt “to build a solution that allows providers to get

paid in real-time when the claims being settled in real-time versus having to take 30 to 60 days

between providers and payers.” PX1007 at 33:25–34:10 (Gopalkrishnan); see also 8/2/22 AM

Trial Tr. 107:1–10 (de Crescenzo).

       250.    In its current form, Real-Time Settlement is a solution that is “really focused

entirely on providers,” as “there’s no payer-facing component to the solution at this point.” 8/3/22

PM Trial Tr. 43:23–24 (Joshi); see also 8/2/22 AM Trial Tr. 109:8–10 (de Crescenzo) (“Q. If this

came to market, who would the customers be? A. They would be providers.”).

       251.    The solution is still in development and Change does not offer it today. 8/11/22

AM Trial Tr. 34:2–5 (Wukitch) (“Q. First of all, does change Healthcare have an existing offering

called Real-Time Settlement? A. No. It is a concept that’s in development.”); 8/3/22 PM Trial

Tr. 57:1–10 (Joshi) (“So, Real-Time Settlement is a concept. It is not a product today. It is not

close to being a product.”).

       252.    Change’s Real-Time Settlement concept involves the development of three primary

capabilities: (i) Change would “estimate the claim that would be paid by the payer with adequate

accuracy,” (ii) Change would contract with a financial institution that would front the payment to

the provider, and (iii) Change would develop software to true up its payments to the provider


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because they likely would not match payer’s reimbursement with 100% accuracy. See 8/2/22 AM

Trial Tr. 107:11–108:4 (de Crescenzo).

       253.    To achieve this goal, Real-Time Settlement “does not process the EDI transactions

through a clearinghouse” and is “a completely separate process parallel to the EDI process.” 8/3/22

PM Trial Tr. 43:11–13 (Joshi). As Change envisions it, Real-Time Settlement does not affect the

payer claims adjudication process. 8/2/22 AM Trial Tr. 109:17–110:6 (de Crescenzo). A claim

processed through Real-Time Settlement “doesn’t hit the payer” and thus “gets settled completely

separately.” 8/3/22 PM Trial Tr. 43:14–16 (Joshi).

       254.    Change’s Real-Time Settlement concept also is “a completely separate process

parallel to the EDI process” and “does not process the EDI transactions through a clearinghouse.”

8/3/22 PM Trial Tr. 43:11–13 (Joshi).

       255.    ClaimsXten also is not an integral part of any conceived Real-Time Settlement

solution. Id. at 38:19–24 (“The clinical edits we have never taken from ClaimsXten and we have

never run any clinical edits on Real-Time Settlement . . . . We have not looked at anything on the

clinical side.”); 8/2/22 PM Trial Tr. 93:18–19 (Turner) (“[Real-Time Settlement is] not a product

as far as I know, and I can tell you, ClaimsXten is not being used.”); 8/11/22 AM Trial Tr. 34:6–

12 (Wukitch) (“Q. Is there any integration between ClaimsXten and the Real-Time Settlement

development project that’s going on at Change Healthcare? A. No, there is not. Q. Has

ClaimsXten ever been integrated into something called Real-Time Settlement? A. No, it has not

been.”).

       256.    Real-Time Settlement “does not require clinical edits,” like those applied by

ClaimsXten, “to be settled.” 8/3/22 PM Trial Tr. 38:3–15 (Joshi).




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       257.    Real-Time Settlement remains in an “embryonic” stage. Id. at 38:22–24. Change

has allocated only $5.9 million of R&D funding to the project for FY 2022, which is around 1%

of Change’s total R&D budget. Id. at 57:13–22, 58:17–19; see also 8/2/22 AM Trial Tr. 110:14–

22 (de Crescenzo).

       258.    Over the course of its development, Real-Time Settlement has undergone several

conceptual iterations, and is not conceived today as a possible end-to-end solution for both payers

and providers. 8/3/22 PM Trial Tr. 59:1–4 (Joshi) (“Q. And you’ve been mentioning provider

benefit. Is Real-Time Settlement envisioned also as a solution for payers as of today? A. No, it is

not a solution for payers as of today.”); 8/2/22 AM Trial Tr. 109:8–10 (de Crescenzo) (“Q. If [Real-

Time Settlement] came to market, who would the customers be? A. They would be providers.”).

       259.    Change’s provider-focused Real-Time Settlement project is therefore entirely

different in kind from UHG’s more holistic Transparent Network initiative. 8/15/22 AM Trial Tr.

83:18–84:8 (Murphy) (“My understanding of the Transparent Network is a little more grand [than

Real-Time Settlement].”); 8/5/22 PM Trial Tr. 116:10–117:2 (Schmuker) (“Q. . . . Ms. Schmuker,

are you aware of efforts in the industry aimed at settling or paying providers’ claims earlier, in

realtime? A. Yes. I’m familiar with the concept of that Real-Time Settlement. Q. And you

understand that that’s something that Change is working towards? A. Yes. Q. And is that, sort of,

instantaneous payment of claims the same thing as what the Transparent Network is aimed at

doing? A. No. So, that is the idea that you would immediately, or instantaneously, pay a claim

prior to the claim being adjudicated. The Transparent Network is trying to take claims edits and

infusing them into the provider workflow. Q. So, those are two different things? A. Those are

two different things.”).




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       260.    In addition, Plaintiffs presented no evidence that the proposed transaction has

affected the progression of Real-Time Settlement within Change. 8/3/22 PM Trial Tr. 60:5–12

(Joshi) (“Q. Has the merger with Optum affected the level of investment in Real-Time Settlement?

A. No, it has not. We have proceeded down the same path we would ordinarily proceed with

experimentation and investment, and try to do as much as we can. Q. Has the merger with Optum

affected the timing of investment in Real-Time Settlement? A. No, it has not.”).

       261.    Change is not the only market player pursuing development projects that would

accelerate payments to providers. For example, Blue Cross of California and Google, Avaneer

Health, Olive AI, Oracle Insurance, VBA and Repay, and Conexia are each developing solutions.

DX-0212 at .0002; 8/3/22 PM Trial Tr. 67:13–67:23 (Joshi); see also 8/2/22 AM Trial Tr. 112:9–

113:13 (de Crescenzo). Avaneer Health’s partners include Aetna, Anthem, HCSC, Cleveland

Clinic, and PNC Bank. Id.

       262.    Blue Shield of California and Google’s strategic partnership in particular has been

described internally within Change as “lethal,” DX-0212 at .0002, and a “formidable competitor”

based on the coupling of Blue Shield of California’s “market presence” and payer contracts with

Google’s natural language processing capabilities, 8/3/22 PM Trial Tr. 67:24–69:3 (Joshi).

       263.    Change does not have advantages relative to other firms developing solutions to

accelerate payments to providers and, actually, has some disadvantages relative to them. See

8/3/22 PM Trial Tr. 70:14–71:5 (Joshi) (“Q. Does Change have any type of comparative advantage

in developing Real-Time Settlement versus others working on similar solutions? A. No, we don’t.

If you look at the architecture of Real-Time Settlement, it is a box that basically calls out to various

services and tries to improve on and speed up the process. The major capabilities that are needed

to do that we don’t possess in-house. The natural language processing capabilities we don’t




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possess, we haven’t figured out how to do the contract modeling which Apex has, but we don’t

have and we don’t know how to scale that. And the payment capabilities we don’t have in-house,

we would need a banking or financial partner to do those. So it’s really about orchestrating all

these different capabilities, many of them we don’t have in-house at all. And that’s one of the

reasons you find start-up companies getting into the space, because they have a run at this as much

as we do.”).

       C.      The Transaction

               1.     Transaction rationale.

       264.    On January 6, 2021, UHG announced its agreement to acquire Change for $25.75

per share. DX-0838 at .0003.

       265.    Following the merger, OptumInsight will combine with Change “to help make

health care work better for everyone” by “provid[ing] software and data analytics, technology-

enabled services and research, advisory and revenue cycle management offerings.” DX-0838 at

.0001; 8/4/22 PM Trial Tr. 10:21–11:9 (Wichmann).

       266.    The primary purpose of the Change transaction is straightforward: “[t]o minimize

the amount of friction between payers and providers.”         8/9/22 PM Trial Tr. 92:11–93:25

(McMahon); DX-0452A at .0006.

       267.    Driven by that rationale, UHG viewed “this transaction as a critical component of

United contributing to the development of the next generation health system.” 8/4/22 PM Trial

Tr. 10:21–11:9 (Wichmann).

       268.    “Pretty much all constituents”—payers, providers, and patients—of the American

healthcare system would benefit from the reduction of friction and lower administrative waste

resulting from the Change acquisition. Id. at 11:10–12:2. “Payers would benefit from lower costs,

streamlined administration, and better outcomes for their patients”; providers “would benefit from


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both better clinical insights, as well as streamlined administration”; and patients would have lower

costs and improved experiences “through better administration, faster, more streamlined

administration, and hopefully better outcomes as well.” Id.

       269.    More specifically, combining the capabilities of Optum and Change will create

transformative synergies across the American healthcare system and generate significant benefits

for payers, providers, and patients through: (i) clinical alignment; (ii) claims accuracy; and

(iii) payment simplification. PX195 at 1; DX-0748 at .0005. Plaintiffs do not challenge any aspect

of the transaction related to clinical alignment and payment simplification.

                       a.     The transaction will advance clinical alignment.

       270.    Clinical alignment refers to improving the degree of communication and

coordination between payers and providers in the “clinical” aspects of their business—i.e., the

decisions to administer medical care and the approval of those decisions from a utilization

management perspective. 8/5/22 AM Trial Tr. 36:18–25 (Yurjevich) (“Q. All right. ‘Clinical

alignment’ is next. What does that bullet describe? A. Clinical alignment describes the process

by where payers and providers need to be aligned on the service, type of service, that needs to be

provided to a patient. And the example I’ll use here is with a routine colonoscopy taking place at

an outpatient surgery center, that’s automatically approved. Payer and provider are aligned on that

claim.”).

       271.    The clinical alignment flowing from the transaction will “[i]mprove the quality of

health care delivery by offering critical point of care insights aligned to best evidence-based

medical standards within the workflow of physicians.” PX195 at 1.

       272.    The depth and breadth of Change’s clinical connections formed an integral part of

the transaction’s thesis.   To illustrate, Change brings to the table over 50 million lives in

interoperability and 700 vendor partnerships, in total, touching one in three patient records in the


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United States and helping to facilitate over 2.8 billion clinical transactions. DX-0748 at .0006.

These are unrelated to Change’s EDI network and result from other Change touch-points with

payers and providers, such as through its “CommonWell” clinical information network. PX004 at

UHG-2R-0003249663.

       273.    “[R]eal-time approval decisions,” “[c]lear and shared policy,” and “[i]ntegrated

record retrieval”—pivotal parts of any forward-looking clinical alignment—thus will each be

furthered by Change’s “[k]ey role in clinical messaging, industry interoperability.” DX-0748 at

.0005–6.

       274.    Change also brings with it “key clinical assets” such as InterQual, DX-0748 at

.0006, a clinical decision support product which is “the most widely adopted clinical guidelines

[used] by clinicians,” PX195 at 1. InterQual’s “set of promulgated clinical guidelines that

physicians supported” are a key way to “reduce friction” within the healthcare system. 8/4/22 PM

Trial Tr. 14:24–15:19 (Wichmann). For example, if a payer and provider are connected through

InterQual, approval for a procedure (e.g., an inpatient colonoscopy) can “happen[] upfront” thus

“avoiding the denial, avoiding the rebill and the back-and-forth that creates the waste in the system

today.” 8/5/22 AM Trial Tr. 88:2–12 (Yurjevich).

       275.    In addition, Change’s “direct integration into the EMR workflow . . . will extend

care provider reach and improve the quality of clinical care delivery.” PX195 at 1. Separate and

apart from its EDI network, Change maintains a “[n]etwork of bi-directional EMR integrations to

support clinical data exchange,” thus allowing payers and providers “to determine reimbursement

levels, identify real-time treatment options at the point of care and automate utilization

management workflows.” PX195 at 20, 33.




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       276.    Payers, providers, and patients thus will benefit from the clinical value proposition

spurred on by the transaction. See PX004 at UHG-2R-0003249660.

       277.    For payers, combining Change’s and Optum’s capabilities into an integrated

platform will decrease administrative costs through decreased number and duration of clinical

reviews and clinical processes, total cost of care through the prevention of unnecessary procedures

and “[e]xpand[ed] adherence” to clinical guidelines, and provider abrasion through a

“[m]igrat[ion] to [a] trust-but-verify-model” for providers. Id.

       278.    For providers, administrative costs will likewise be reduced in the much the same

way it will for payers, while “[a]ccess [to] trusted content sources” will ensure increased

transparency for payer reimbursement. Id.

       279.    And for patients, they will enjoy the follow-on benefit of increased satisfaction

from the streamlining of treatment and information between payers and providers. Id.

                       b.      The transaction will enhance claims accuracy.

       280.    The transaction is aimed at addressing the over $100 billion in administrative waste

currently plaguing the U.S. healthcare system due to inaccuracies in the claims payment system.

DX-0748 at .0004.

       281.    Optum’s vision for tackling administrative waste requires “[r]adically reduced

claims flow,” “[c]lear and shared decision rules,” “[c]ontracts that allow for ‘trusted’ status,” and

a “[l]ink to ‘long tail’ of providers.” DX-0748 at .0005.

       282.    Change and its capabilities will help achieve that vision. Although Optum will not

pursue in-stream EDI editing as part of its post-acquisition integration of Change, 8/5/22 AM Trial

Tr. 86:7–16 (Yurjevich), Change’s connectivity to and relationships with payers and providers

complement Optum’s payer integrity analytics and content, see PX195 at 1 (“[Change] brings a

scaled transaction network built on extensive payer and provider connections, which complements


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Optum’s advanced payment integrity analytics and content, as well as Optum’s revenue cycle

management solutions.”).

       283.    More specifically, Change’s “[c]omprehensive suite of pre- and post-pay payment

integrity offerings,” “[b]road portfolio of risk and quality solutions[,]” and “[e]nd-to-end collection

of revenue cycle technology and services” complement Optum’s current offerings and enable the

transformation envisioned as a result of the transaction. PX195 at 20.

       284.    As with clinical alignment, benefits from payment accuracy will flow to payers,

providers, and patients.

       285.    Payers will enjoy lower administrative costs from fewer errant claims and increased

payment accuracy and resulting costs savings “by pursuing edits not previously deployed”;

reduced provider abrasion will follow. PX004 at UHG-2R-0003249659.

       286.    Providers will see fewer denials and “[i]ncreased revenue yield on commercial

claims” and “accelerated cash flow from avoided denials,” as well as “[r]educed administrative

cost” as a result. Id. From “[i]ncreased transparency and confidence of revenue performance[,]”

providers will realize more predetermined revenue projections. Id.

       287.    For patients, “improved claims accuracy will enhance the patient experience

through clear communication of benefits, deductible status and payer network economics at point

of referral.” PX195 at 1.

                       c.      The transaction will simplify the claims payment process.

       288.    Payment simplification also will follow from the combination of Change’s and

Optum’s capabilities. PX195 at 1. Acquiring Change will help Optum “[p]rovide patient payment

obligations at the point of service and accelerate provider billing and payment, in part enabled by

advances in upstream clinical and claims processes.” Id.




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       289.    Payments are an important aspect of any effort to reduce administrative waste, and

Optum has conceived of “[a]ll-electronic provider payments,” “[p]rice transparency for patients,”

and “[f]inancing to help bridge costs” accordingly. DX-0748 at .0005.

       290.    Change “will provide opportunities for simplified patient payment when leveraged

with deposits at OptumBank” after acquisition by “[a]dminister[ing] significant payment volumes

which can be transitioned to digital payments.” PX195 at 1.

       291.    In particular, combining the payment portfolios of Change and Optum will allow

for “the ability to enable the patient at the point of service to be able to know what their obligation

is right at the doctor’s office, and to do that relatively quickly.” 8/9/22 PM Trial Tr. 92:11–93:25

(McMahon).

       292.    Payment simplification will drive efficiencies for payers, providers, and patients,

PX004 at UHG-2R-0003249661, by “simply taking a process that’s very much manual and paper-

based today and automating it through electronic transactions,” 8/5/22 AM Trial Tr. 37:11–16

(Yurjevich).

       293.    Payers will enjoy lowered administrative costs from scaled consolidation of

payment channels and a reduction in provider abrasion “through reduced payment-related

conflicts.” PX004 at UHG-2R-0003249661. And patients will enjoy an enhanced payment

experience “through consumer-convenient options (HSA, credit cards)” and “tailored financing

options,” to say nothing of the “[m]ore consolidated visibility into services and obligations via

improved patient estimates, EOBs.” Id.

                       d.      The transaction will help facilitate Optum’s nascent Transparent
                               Network project.

       294.    UHG also hopes that integrating Change’s and Optum’s capabilities will help the

development of the Transparent Network—a nascent “next generation platform” that seeks “to



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take a number of individual point solutions” and “bring them together in a more unified way to

align interests and accuracy amongst payers and doctors.” 8/4/22 PM Trial Tr. 73:18–74:4

(Hasslinger). This is “consistent with [Optum’s] vision to try to make the healthcare system work

better, [to] try to bring payers and providers closer together.” 8/5/22 PM Trial Tr. 109:22–110:7

(Schmuker).

       295.    Although transformational in concept, the Transparent Network today is a pilot

project in its infancy and is not commercially available for purchase. 8/5/22 AM Trial Tr. 92:2–6

(Yurjevich); DX-0813 ¶ 212 (“As a preliminary matter, it is important to note that both the

Transparent Network and RTS are products in development.” (footnote omitted)); 8/5/22 PM Trial

Tr. 122:6–11 (Schmuker) (“Well, I mean, I can’t sit here today and say definitively that we can

[bring the Transparent Network to market], but I am really hopeful.”).

       296.    In order to be successful, however, the Transparent Network will require broad

multi-payer and multi-provider adoption and support: “It’s important that the Transparent Network

be system agnostic” because the “industry transformation” at its core requires “enough market

demand, and in order to do that you have to have enough providers interested and enough payers

interested and enough content.” 8/5/22 PM Trial Tr. 112:3–18 (Schmuker).

       297.    The Transparent Network “wouldn’t work if it were one payer and one provider.”

8/5/22 AM Trial Tr. 83:18–25 (Yurjevich). This is because “[i]f you have one payer and one

provider, you might address 5 percent of that payer’s gross, provider’s gross patient billings. So

to really make this a standard process for the provider, you need to address 40 to 50 percent of

their gross patient billings, which requires multiple payers interacting with the provider.” Id. at

83:21–84:6; see also 8/5/22 PM Trial Tr. 114:5–16 (Schmuker) (“Well, again, you know, you

wouldn’t -- with one payer you wouldn’t drive enough provider participation. The providers don’t




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want something that’s just for one payer. So, we wouldn’t have a viable business opportunity, if

we targeted to one payer.”).

       298.    The overarching purpose of the Transparent Network, therefore, is “to develop

something that will work for everybody”; Optum does not “want a process that works only for

payer A, something different for payer B[,]” and for payers, “[t]hey don’t want something . . .

varied per -- by provider.” 8/5/22 PM Trial Tr. 113:15–23 (Schmuker); 8/5/22 AM Trial Tr.

82:16–22 (Yurjevich) (“At a high level, the way [the Transparent Network] works is it, multi-

payer and multiple-provider, it connects payers and providers and ultimately consumers around

the care that they’re giving and the payer rules, payer requirements and clinical information needed

to deliver the appropriate care at the right time for the patient.” (emphases added)).

       299.    By definition, the Transparent Network must be offered to the market for it to be

financially viable because “with one payer you don’t drive enough provider participation[,]” and

“[s]o, [Optum] wouldn’t have a viable business opportunity, if [Optum] targeted [it] to one payer.”

8/5/22 PM Trial Tr. 114:5–16 (Schmuker).

       300.    Transaction synergy models bear out this multi-payer, multi-provider focus.

UHG’s January 2021 synergy model, financial projections contemplated significant multi-payer

and multi-provider buy-in for the Transparent Network. PX195 at 5 (“Based on expected

transparent network coverage, ~2.5% or $3.8 billion of addressable administrative waste is

forecasted to be eliminated by 2030 for payers and providers.”).

       301.    UHG’s latest synergy model from June 2022 largely anticipates the same. DX-

0840 at .0002 (“Based on expected transparent network coverage, ~2.4% or ~$3.1 billion of

addressable administrative waste is forecasted to be eliminated by 2030 for payers and

providers.”). Earnings from the Change acquisition “have a slower ramp in the first several years”




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after closing, but increase over time because “it’s going to take a little bit of time to get to the point

where we’ve got participation from payers and providers driving the benefits to the consumers”

from the Transparent Network. 8/5/22 AM Trial Tr. 96:18–97:5 (Yurjevich).

        302.    Optum thus is “projecting that [it is] in building up this multi-payer, multi-provider

network,” id. at 97:5–10, which is necessary to hit the company’s financial targets for the

Transparent Network, 8/5/22 PM Trial Tr. 112:10–18 (Schmuker) (“And if you limit yourself to

only one, you know, product or one editor application, you just won’t get enough traction and we

wouldn’t be able to achieve our financial targets . . . do this industry transformation.”).

        303.    Other transaction documents confirm the Transparent Network’s multi-payer,

multi-provider emphasis. For example, “Establish Broad Market Buy-in” is listed as one of

“[s]everal steps [that] are required for success post-acquisition,” along with the statement that the

“[p]latform will be multi-payer, multi-provider.” DX-0748 at .0014; see also DX-0557 at .0009,

.0014, .0016 (including in UHG’s synergy model significant revenues from sales of the

Transparent Network to non-UHC payers).

        304.    This multi-payer, multi-provider strategy for the Transparent Network is entirely

consistent with (and advances) Optum’s broader business model. E.g., 8/5/22 AM Trial Tr. 24:19–

25 (Yurjevich) (“[M]ost of our products really benefit from being a multi-payer, multi-provider

product. And it benefits not us, as OptumInsight, it benefits the payer and it benefits the

provider.”); 8/8/22 AM Trial Tr. 69:21–70:3 (Higday) (“[W]e design, the [innovation] team at

least, all of our products for a large multi-provider, multi-payer market.”).

        305.    UHG’s pilot programs confirm that the Transparent Network is a multi-payer,

multi-provider endeavor.




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         306.   UHG currently is piloting a component of the Transparent Network—the Provider

Communication Gateway (“PCG”)—with internal (UHC) and external (Wellmark Blue Cross

Blue Shield of Iowa) payers, as well as an external provider (the University of Iowa Health

System). 8/5/22 PM Trial Tr. 94:16–95:5 (Schmuker).

         307.   UHC, Wellmark Blue Cross Blue Shield of Iowa and the University of Iowa Health

System were well positioned as pilot candidates because they possessed “some real friction

points”—namely, “some types of claims that were needing to be reworked over and over and over

again.” Id. at 111:2–13.

         308.   The results of the pilot project to date indicate “that when you provide access to

that information to the provider and their workflow, that they do take action on it, . . . it does

eliminate that back and forth.” Id. at 113:6–14.

         309.   “[P]ayers of all sizes” have expressed interest in the PCG, and Optum plans to pilot

it “in the next couple months with a provider that’s not using” Optum’s claims manager product;

Optum also “ha[s] payers in [its] pipeline that are not using CES,” its claims-editing solution. Id.

at 112:3–9, 112:25–113:5.

         310.   Optum’s decision to pilot aspects of the Transparent Network with non-UHG

entities today undercuts any suggestion that Optum intends to withhold the Transparent Network

from the market. Id. at 115:1–4 (“Q. Does Optum have any plans today to withhold innovations

that it might achieve through the Transparent Network from UnitedHealthcare’s competitors? A.

No.”).

         311.   Plaintiffs presented no evidence that UHG intends to withhold the Transparent

Network from the market, which was the sole basis for the “vertical math” calculations offered by

Plaintiffs’ expert, Dr. Gowrisankaran. See PX820 ¶¶ 242–251 (claiming that Optum would forego




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$75 million in profits in 2026 by withholding the Transparent Network).

       312.    To the contrary, the unrebutted testimony shows by making the Transparent

Network available “to the entirety of the marketplace,” [i]f you sell your product to multiple buyers

and customers, you will make more money than if you sell it to” UHC alone. 8/4/22 PM Trial Tr.

76:2–12 (Hasslinger).

       313.    Perhaps recognizing the complete absence of evidence that Optum has any

incentive or intention to withhold the Transparent Network from rival payers, Dr. Gowrisankaran

pivoted to the claim that Optum will market a degraded version of the network to rivals, rather

than withhold the product altogether. See 8/11/22 AM Trial Tr. 17:5-23 (Gowrisankaran) (“United

is not likely to completely withhold transparent network from rivals. That’s not my contention.

Rather, United is likely to keep the latest and best version of transparent network away from its

main rivals.”); see also PX947 ¶ 111.

       314.    No evidence supports the theory that Optum would market a cut-rate version of the

Transparent Network to UHC’s rivals, nor did Dr. Gowrisankaran quantify the supposed harm to

competition flowing from this theory, identifying it only “[a]s one possibility.” PX947 ¶ 111. Dr.

Gowrisankaran also failed to provide any methodology on which to base his conclusion that

offering of a degraded version of the Transparent Network will likely lessen competition in a

substantial way in the markets for commercial insurance sold to national accounts or large group

employers, the only relevant markets alleged by Plaintiffs in connection with this vertical theory.

       315.    Contrary to Plaintiffs’ speculation, the trial testimony conclusively showed that

Optum has not favored UHC by offering a degraded product to UHC’s rivals. See, e.g., 8/4/22

PM Trial Tr. 3:22–24 (Wichmann) (“Q. Does OptumInsight ever favor UHC by not selling

products and services to rival payers or selling them a degraded product? A. No.”); 8/5/22 AM




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Trial Tr. 57:4-7 (Yurjevich) (“Q. Mr. Yurjevich, when OptumInsight provides these customers

with group risk analytics, is that product limited or degraded in any way? A. No. Absolutely

not.”); 8/5/22 AM Trial Tr. 61:11–14 (Yurjevich) (“Q. Do you have a degraded or lesser version

for people other than UnitedHealthcare of portfolio optimization? A. No, we don’t.”).

       316.    Plaintiffs also provided no evidence that competition would be substantially

lessened during any “pilot” period for the Transparent Network or other EDI-related innovations.

       317.    UHG’s CEO expects “it would be unlikely for [the Transparent Network] to be in

a pilot mode within UHG for more than a year,” 8/10/22 PM Trial Tr. 46:16–47:3 (Witty), and that

“tak[ing] more than a year to test before going [to market] would be a missed opportunity,” id. at

93:22–94:19.

       318.    “[O]ther potential users of that network” still will “have the benefit of UHC de-

risking the product or the service” through the pilot. Id. at 47:21–48:2.

       319.    This is consistent with standard market practice. “[H]aving a period where you use

it internally before you make it available externally . . . is very consistent with the economics of

vertical integration” because “it provides you an opportunity to develop things in-house, get it

working, make it work in the way you think is useful, and then making it more broadly available

in the marketplace.” 8/15/22 AM Trial Tr. 66:15–67:7 (Murphy).

       320.    Moreover, other companies are currently innovating in the same friction-reducing

space as the Transparent Network.

       321.    Epic, for example, has “recently gotten into the payer space, like linking payer and

provider together.” 8/5/22 PM Trial Tr. 121:6–24 (Schmuker); DX-0813 ¶ 219 (“Epic, a medical

technology company, already markets a product called the Payer Platform, which focuses on

getting access to medical records directly as part of resolving preauthorization issues and reducing




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claims denials.” (footnote omitted)).

        322.    EDI vendor, Waystar, also “ha[s] those connections into the provider workflow,”

and so does Cedar. 8/5/22 PM Trial Tr. 121:6–24 (Schmuker); see also 8/2/22 AM Trial Tr. 113:5–

13 (de Crescenzo) (identifying Cognizant, Oracle, and Cerner as companies seeking “to improve

the efficiency, and especially in payments in healthcare”); DX-0813 ¶ 219 (“Humana in

partnership with Oracle Health Insurance is currently exploring opportunities for real time claims

adjudication, which ‘can enable providers to immediately calculate the total responsibility of the

patient and collect payment at the time of service.’” (footnote omitted)).

        323.    EDI vendor, Availity, may also be innovating in the same friction-reducing space

as the Transparent Network. DX-0862 at .0059; 8/15/22 AM Trial Tr. 85:22–86:7 (Murphy).

        324.    Plaintiffs’ expert, Dr. Gowrisankaran, made no efforts to define the innovation

market at issue in this case, despite alleging harm to certain EDI-related innovations. When

directly asked by the Court, Dr. Gowrisankaran conceded: “I have not defined that market.” 8/9/22

PM Trial Tr. 52:21–53:7 (Gowrisankaran); see also 8/11/22 AM Trial Tr. 64:2–65:10 (Murphy)

(“[Dr. Gowrisankaran] doesn’t define a market for EDI-related innovations and, therefore, fails to

account for the fact that there are lots of -- potential competition for other products in this space.”).

        325.    This failure to define an innovation market is fatal to Plaintiffs’ withholding theory.

Dr. Gowrisankaran testified that UHG’s ability and incentive to withhold innovations from UHC’s

rivals “depend[s] on there being market power in these innovations that result from EDI

clearinghouses in these integrated platforms.” 8/9/22 PM Trial Tr. 51:15–52:17 (Gowrisankaran).

As a matter of basic logic, Plaintiffs cannot establish UHG’s power in a market that has been

wholly undefined. Id. at 51:15–53:7 (“THE COURT: So is it your testimony that the combined

entity will have market power in that [innovation] market? THE WITNESS: Yes. THE COURT:




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Have we defined that market? THE WITNESS: I have not defined that market. . . .”).

       326.    Plaintiffs presented no evidence of the contours of any innovation market, and the

record shows that Real-Time Settlement and the Transparent Network are complementary

products, not substitutes, and thus should not be included in the same product market even if such

a market was defined. See 8/5/22 PM Trial Tr. 116:12–117:2 (Schmuker). The proposed merger

therefore would not increase market power in any innovation market or increase the likelihood of

harm to competition from these procompetitive innovations.

       327.    Ultimately, any Transparent Network that is developed will face extensive

competition. See, e.g., id. at 114:17–25 (“Q. So, if the Transparent Network is successful in

signing up multiple payers and multiple providers, does that mean that other competing solutions

will be unable to sign up enough payers and providers to compete with the Transparent Network?

A. No. I mean, you know, today, payers and providers use multiple partners for cost containment

or, you know, for various programs, so it would be my expectation that that would continue. We

are not the only people, you know, in this space today. So I think it will remain a competitive

market.”).

                      e.      The transaction was not motivated by Change’s EDI data.

       328.    As a data analytics company, part of Optum’s due diligence focused on the data

and data rights Change had in the medical claims flowing through its EDI network.

       329.    This data was expected to provide “[o]pportunities . . . to further enrich bi-

directional clinical information flow and expand[ed] data use to improve patient health and health

system performance, as well as support[ing] new health care discovery.” PX195 at 18; 8/4/22 PM

Trial Tr. 21:15–22:12 (Wichmann); 8/4/22 PM Trial Tr. 12:7–22 (Wichmann) (“So data is, in

many respects, kind of the oil that will make healthcare work better. But right now, it’s clearly

not optimized.”).


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       330.    “[F]rom an OptumInsight perspective,” the role of data within the transaction

rationale “was always to take data [from Change] and use it to help make the process more

efficient.” 8/5/22 AM Trial Tr. 121:14–122:2 (Musslewhite).

       331.    Data did not, however, drive the transaction. Optum’s final synergy model did not

even include a valuation of Change’s data or data rights.          8/5/22 AM Trial Tr. 98:23–25

(Yurjevich) (“Q. Is there any valuation of Change’s data rights or assets in this model? A. No.

there’s not.”); DX-0840. And the UHG board approval package from January 2021, PX195 at 1,

makes no mention of Change’s data rights, 8/4/22 PM Trial Tr. 17:18–20 (Wichmann).

       332.    Certain UHG and Optum executives did express interest in learning about Change’s

data and data rights in due diligence, identifying data-related issues as a “gap in the analysis that

the team at first offered.” See, e.g., 8/4/22 PM Trial Tr. 13:19–14:2 (Wichmann); see also PX119.

UHG and Optum therefore inquired into Change’s data rights and potential use cases for Change’s

data. See PX027; PX944 at UHG-2R-0003671293–96; PX945.

       333.    Certain documents estimated that Change had use rights in approximately 60% of

the medical claims flowing through Change’s EDI network, PX027 at UHG-2R-0006509715,

although UHG or Optum have never verified the actual extent of Change’s secondary use rights.

       334.    The 60% figure in some of the deal documents is inaccurate. Based on the

testimony of both sides’ experts, Change’s use rights in their medical claims data ranges from 50%

to 54%, with an even much smaller percentage of use rights in the claims data of UHC’s major

competitors, which do not transmit all, or even a majority, of their medical claims through

Change’s network. See supra FOF ¶¶ 241–47.

       335.    Even at the end of the due diligence process, UHG and Optum “never knew

conclusively what [Change’s] secondary-use rights were,” 8/10/22 AM Trial Tr. 96:21–97:1




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(Schumacher), nor was there clarity on how much incremental data UHG and Optum would obtain.

See 8/5/22 AM Trial Tr. 123:4–11 (Musslewhite) (“Q. And did you get an ultimate answer to

Mr. Wichmann’s questions about the data rights? A. Not really because, at the end of the day, as

I recall, data rights depended heavily on Change’s client contracts. Of course, we couldn’t review

those contracts at that time, so it was never really clear what data rights, if any, would accrue from

-- what Change had and therefore would come to us.”).

       336.    In a January 2021 memorandum, Optum’s due diligence team explained that “[d]ue

to potential data overlaps between Optum primary data sets (NHI/dNHI and Optum Labs Data

Warehouse (OLDW), which leverages NHI data plus external sources) and Cambridge data,

estimating how much additional data will be added to Optum’s pool is very difficult.” PX027 at

UHG-2R-0006509717. After estimating that Change “may have data rights for as many as 90M

lives annually,” the memorandum concluded that “[t]he incremental additional [sic] to Optum’s

data sets will likely be significantly lower” given the “likely significant overlap with existing

Optum data.” Id. at UHG-2R-0006509718.

       337.    During due diligence, OptumInsight also developed a series of potential use cases

for Change’s data following the merger. PX054; DX-0851 (demonstrative depicting these use

cases); 8/8/22 AM Trial Tr. 49:17–20 (Higday).

       338.    These potential uses cases spanned across payer, provider, and life sciences

businesses, including: “Next Best Action/CDS [Clinical Decision Support]”; “Enrich IHR

[Individual Health Record] with multipayer data”; “Disease tracking (infectious and pop health)”;

“Certified claims”; “Improved medical policy and benefit design”; “Clinical data for risk and

quality”; “Price transparency”; “Insurance Underwriting: Life and Group Health”; “Patient finding

for DRN (Digital Research Network)”; “Value Based Contracting United”; “Symmetry Groupers”;




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and “Optum Performance Analytics / Care Preformance [sic]Solutions.” PX054 at 2.

       339.    None of these potential use cases were designed for UHC’s exclusive benefit, and

OptumInsight does not plan to provide UHC with an enhanced version of any of the products or

offerings than what would be supplied externally. 8/5/22 PM Trial Tr. 47:4–50:14 (Dumont);

8/8/22 AM Trial Tr. 49:13–69:7 (Higday); 8/4/22 PM Trial Tr. 81:1–86:9 (Hasslinger).

       340.    Each of the potential use cases derives from products or offerings that UHG already

offers or intends to offer, that are currently (or will be) sold externally, and that do not involve

sharing rival payers’ competitively sensitive or confidential data with UHC. 8/8/22 AM Trial Tr.

52:2–14, 53:14–24, 54:19–55:5, 55:19–56:2, 58:5–16, 59:17–60:2, 60:19–61:5, 62:13–25, 64:25–

65:11, 66:8–67:1, 67:16–65, 68:15–69:2 (Higday).

       341.    None of OptumInsight’s hypothetical use cases state that data will be used solely

to benefit UHC, see, e.g., PX054, and the trial testimony uniformly rejected the suggestion that

the purpose of the transaction was to provide UHC with competitive intelligence about its rivals,

see, e.g., 8/5/22 AM Trial Tr. 124:1–10 (Musslewhite) (“Q. Mr. Musslewhite, I just have a few

more questions. We’ve heard a lot in this case about the deal rationale for the Change transaction

is to gain access to Change’s data and their data rights and use that to benefit UHC. As the

executive sponsor for this deal, what’s your reaction to that? A. We would never do that. We

never talked about it. It would never be something that OptumInsight could do as a functioning

business entity. It just is not the way we function.”); 8/4/22 PM Trial Tr. 79:9–16 (Hasslinger)

(“Q. And when the executives asked you to look more into Change’s data rights or data assets, did

you understand that they were interested in acquiring Change’s data or data rights so that they

could share that with UHC? A. No. Q. And did you understand that those executives wanted to

use Change’s data for competitive intelligence for UHC? A. No.”).




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       342.    Moreover, with respect to HIPAA, both Change and Optum perform a thorough de-

identification process. Change uses the expert determination method under HIPAA, removing

among other things the plan ID and group ID for insurers and their customers. 8/3/22 AM Trial

Tr. 13:16–15:4 (Suther); 8/5/22 PM Trial Tr. 30:3–10 (Dumont). Optum also removes payer ID,

provider ID, employer or customer ID, as well as “other sensitive financial information like the

negotiated reimbursement rate.” 8/5/22 PM Trial Tr. 30:3–25 (Dumont); see also id. at 35:19–

36:7. Neither Optum nor Change thus have usable access to all fields in external claims data,

which complicate any post-merger ability to execute on Plaintiffs’ hypothesized use cases.

       343.    Specifically, the removal of the data fields discussed above would significantly

complicate, if not completely eliminate, Plaintiffs’ underwriting use case, meaning that there is no

substantial likelihood that the post-merger company could use Change’s EDI data in the alleged

markets for large employers and national accounts. See 8/12/22 Trial Tr. 28:17–29:10 (Tucker)

(“Q. So the next use case is underwriting. Is Dr. Handel correct that one could glean unique

insights from Change’s EDI data related to underwriting? A. No, he’s not. Q. Why not? A. Well,

two things to emphasize here. First of all, I think the lack of employer ID and the problems it

causes for his use cases is maybe the most glaring thing, because, of course, the speculation is that

you can somehow find out about a particular employer’s risk profile. But without an employer

ID, you’re not going to be able to do that. So that’s sort of the practicality element of how this

will work.”). Thus, the evidence suggests that Change’s data could not be used to improve GRA.

                       f.      Commercial and public data sources contain significant amounts of
                               UHC claims data and other information.

       344.    Much of the external claims data that Plaintiffs allege Optum would receive (and

misuse) after the transaction is also already available through (i) third-party data aggregators or

vendors; (ii) the newly issued Transparency Rules; and (iii) the RFP process for bidding on



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business from large-group employers and national accounts.

       345.    Third-party data aggregators or vendors form the core of “an industry which builds

on the non-rivalry of EDI data”—meaning that the data “can be provided to multiple parties”—

“to create data sets that it then resells.” DX-0814 ¶¶ 33, 38.

       346.    As Professor Tucker explained, “many goods are rivalrous. . . . [I]f I have an ice

cream and I eat the ice cream, then there’s no ice cream for anyone else.” 8/12/22 Trial Tr. 17:11–

20 (Tucker). But “the wonderful thing about digital data is that it is nonrivalrous. I can use a data

set. Another party can use a data set, and we’re not going to deplete either one’s ability to use that

data set. And that’s a really important property as an economist when you’re thinking about digital

data.” Id.

       347.    For example, one such data aggregator is IBM MarketScan, which uses a database

of deidentified claims data from



                          . IBM MarketScan then



       348.    IBM MarketScan thus




       349.    All told, IBM MarketScan contains data from roughly




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       350.    Other data aggregators beyond IBM MarketScan have access to large quantities of

claims data, including Avalere (338 million patients for claims data), HealthVerity (over

330 million patients for claims data), Komodo Health (over 330 million patients for claims data),

Stratasan (over 2 billion claims per year), and Blue Health Intelligence (over 234 million patients

for medical and pharmacy claims data). DX-0814 Fig. 1.

       351.    The claims fields to which these kinds of aggregators have access ranges in scope,

but involve some combination of provider ID, payer ID, procedure, total charge, total allowed,

patient cost share, in-network/out-of-network, and claim denial:




DX-0814 Fig. 2.

       352.    In addition, other companies analyze “claims and other healthcare data” so as “to

derive and sell insight relating to benefit design, provider network optimization, and utilization

management[.]”    DX-0814 ¶ 41.      Avalare, for instance, “provides optimization of provider

networks utilizing their MORE Registry claims database,” and Lumiata “provides solutions to




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payers, providers, and software as a service companies[sic]” by “using AI, drawn from healthcare

data including over 100 million patient records.” DX-0814 ¶ 41b & e (footnotes omitted).

         353.   Besides third-party data aggregators or vendors, the Federal Transparency Rules

serve as another key source of publicly available claims data by requiring payers to post machine-

readable files, free of charge, of in-network and out-of-network information. 8/8/22 PM Trial Tr.

22:18–23:13 (Handel); 8/8/22 AM Trial Tr. 60:6–18 (Higday); see also DX-0734.

         354.   Payers’ in-network files must disclose, among other things, health plan identifier

information; billing codes; negotiated rates; underlying fee schedule rates; derived amounts;

bundled rates; place of service codes; and national provider identifiers. 8/8/22 PM Trial Tr. 24:9–

26:16 (Handel); DX-0734. This information must be provided on a plan-by-plan, provider-by-

provider, service-by-service basis. See 8/8/22 PM Trial Tr. 24:9–26:16 (Handel); DX-0734 at

.0151.

         355.   Payers’ out-of-network files must disclose similar information, including: health

plan identifier information; billing codes; unique out-of-network allowed amounts and billed

charges; place of service codes; and national provider identifiers. 8/8/22 PM Trial Tr. 26:17–27:13

(Handel); DX-0734 at .0151–52. Again, this information must be provided on a plan-by-plan,

provider-by-provider, service-by-service basis. 8/8/22 PM Trial Tr. 26:17–27:13 (Handel); DX-

0734 at .0151–52.

         356.   Nearly every national and regional payer has published this information, with

approximately half a petabyte of pricing and network information being disclosed, an amount

equal to “three and a half times a couple distances the moon.” See 8/8/22 AM Trial Tr. 61:11–22

(Higday). UHC alone published between 50,000 and 60,000 files. Id.




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       357.     This information reveals what payers’ networks look like, what providers are in and

out of network, and pricing information. Dr. Handel specifically concedes that the Transparency

Rules disclose “[n]egotiated rates for many services” and a “[l]ist of providers by plan.” See

PX1012 at 49.

       358.     Even assuming that UHC could even access rival payers’ competitively sensitive

plan information after the transaction (it will not), any data Change brings to the table would be

unlikely to significantly improve UHC’s success in the commercial health insurance bidding

process.

       359.     Payers like UHC engage in a competitive bidding process resulting from RFPs, in

which employers—through their brokers or consultants—reveal an incumbent payer’s plan design

by asking the new bidder to match that design. See supra FOF ¶¶ 26–30. More specifically, payers

like UHC therefore receive access to a rival payer’s (i) census information, (ii) large claims

information, and (iii) claims experience. See supra FOF ¶ 31. Each of these three pieces of

information provides critical insight necessary to form a competitive new bid.

       360.     Census information refers to the “demographic information on the population [that

an employer] want[s] covered,” including “employee and dependent, age, gender, location, so that

[UHC] can do a demographic adjustment to a base rate.” 8/10/22 PM Trial Tr. 105:5–106:5

(Gehlbach). “Each rating area, each city, if you will, has a base rate for every network that [UHC]

offer[s] and for every plan design that [UHC] offer[s][,]” and UHC “use[s] the demographic

information, the age and location, to determine area factors to adjust that manual rate to be specific

for the population that [the employer] want[s] to cover.” Id. at 107:11–108:17.




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        361.    Large claims information means “the claimant, the dollars that were paid, usually

the diagnosis associated with the large claim,” and perhaps “whether it’s an ongoing or a closed

claim as well.” Id. at 105:5–106:5.

        362.    And claims experience is the “total amount of paid claims for the population

covered month by month” for either 12-, 24-, or 36-month periods, “subdivided between medical

claims, pharmacy claims, and sometimes behavioral health[.]” Id. at 107:3–10. From this claims

experience, UHC “know[s] who the incumbent is[,]” and “know[s] how [its] network position is

compared to the incumbent.” Id. at 107:11–108:17.

        363.    Based on all of this RFP information, payers, including UHC, conduct various

analyses, including projecting the premium it can offer a customer as compared to the premium

offered by the incumbent. Id.

        364.    In creating these projections, payers also rely on the data from the Unified Data

Submission (“UDS”). Id. at 111:5–112:18.

        365.    The UDS is an annual process through which all major payers submit a

standardized, anonymized data set of their entire claims history for a certain period of time. Id. at

111:5–25. This information allows brokers and consultants to calculate the respective discount

positions of all payers who participate in the UDS, which can be communicated to employer

customers or payers themselves. Id. (“What the consultants do with that is then analyze what our

discount position is relative to all other carriers.”).

        366.    Payers also use the UDS to glean valuable competitive insights. Id. at 112:1–18

(“We then use that information, that relative position, to calculate what we call a network

efficiency factor. . . . I use that factor, once I know who the incumbent is, to convert the claims to

my economic model, how I think my discounts compare to the incumbent carrier.”). Although the




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data in the UDS is anonymized, payers can use data that they have from other sources to identify

their competitors. Id. (“[W]e can then bounce that against our coordination of benefits data . . . .

That helps us identify who the other carriers are.”).

       367.    Payers can then use that information to determine how their plans and discounts

compare to their competitors, i.e., their relative “network position.” Id.; see also id. at 114:1–13

(“The Unified Data Submission process already really identifies at the macro level how our

discounts align with all the other carriers at an individual market level. So we have a frame of

reference there.”).

               2.      Plaintiffs failed to show incremental value from Change’s EDI data that
                       would alter UHG’s incentives post-merger.

       368.    In light of all the information and insight that UHC and all other payers already

receives as part of the bidding process, access to incremental individual-level competitor claims

data from Change’s EDI would be unlikely to increase UHC’s success over those competitors. See

8/10/22 PM Trial Tr. 109:12–111:4 (Gehlbach). “It’s not really practical, and it’s not really

necessary[,]” as UHC’s Former Chief Underwriting Officer Mr. Gehlbach explained, because “[i]f

you think about a large employer with several thousand employees, you may be talking about a

million individual claim lines, if you think about their entire data set of claims” and “there’s a lot

of variability at a member level on what the combination of a procedure code and a diagnosis code,

how that might translate into future expense.” Id. at 109:16–110:3.

       369.    By contrast, aggregated claims data, which is readily available from a variety of

sources, see supra FOF ¶ 85, avoids that problem: “When you’re talking about large blocks of

data where you might overshoot or undershoot, it tends to normalize itself out.” 8/10/22 PM Trial

Tr. 109:18–110:3 (Gehlbach). Thus, when asked directly whether he believed EDI claims data

would help UHC in its bidding for large group and national accounts, Mr. Gehlbach was



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unequivocal: “I don’t.” Id. at 110:18–111:4 (“Q. Do you believe that EDI claims data would be

beneficial to UnitedHealthcare in developing bids for large group and national account RFPs? A.

I don’t. Q. Why not? A. Going back to the answer I just gave, to try to utilize the individual claim-

level detail to do future projections gets really cumbersome and has some inaccuracies built into

it because you’re trying to estimate, for every combination of a diagnosis and procedure, what the

next year’s claims cost is going to be, and there’s wide variability at the member level on how that

might turn out.”).

       370.    Despite the fact (or perhaps because of the fact) that much of Change’s claims data

is either already obtained by Optum, otherwise publicly available, or largely unhelpful to the

commercial bidding process, Plaintiffs’ claims data expert, Dr. Handel, failed to quantify how

much additional data, on a claims or covered lives basis, Optum would obtain as a result of the

transaction, nor did he compare the information Optum currently has to what Optum would receive

as a result of the merger. See, e.g., 8/8/22 PM Trial Tr. 6:25–7:5 (Handel) (“Q. And as you

prepared your opinion in this case, you did not have a detailed understanding of which non-UHC

payers provide claims data or other competitively sensitive information to Optum today in the

course of a contractual relationship between that payer and Optum; isn’t that correct? A. Yes.”);

id. at 7:6–10 (“Q. As a part of your work in this case, you also did not specifically quantify, by

which I mean number of claims received over a period of time, the claims data that Optum

currently has provided to it by non-UHC payers; isn’t that correct? A. Yes, that’s correct.”).

       371.    Plaintiffs and their expert also failed to identify a single instance in which

OptumInsight used the data in its possession to derive “a specific rival’s negotiated rates,” “a

specific rival’s product network design,” or “a specific rival’s claims edits” and provide that

information to UHC based on the multi-payer claims data already in its possession. Id. at 19:6–




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18.

       372.    Dr. Handel, nevertheless, asserts that Change’s data potentially could be used by

UHG to “conduct surveillance on its rival insurers by extracting significant insights about the

insurance products they offer to large group customers,” likewise identifying potential use cases

for UHG based on that data: (i) utilization management tools and design; (ii) negotiations of

reimbursement rates with providers; (iii) provider network design; (iv) claims edits; and

(v) underwriting. PX821 ¶¶ 104–05; PX946 ¶ 66.

       373.    But Dr. Handel did not even conduct an analysis of the data that UHG would

allegedly receive—and benefit from—as a result of the transaction: he did not look at Change’s

raw claims data; he did not take a sample of that data; and he did not use artificial intelligence or

machine learning to derive any specific insight about any of UHC’s rivals using that data. See,

e.g., 8/8/22 PM Trial Tr. 35:13–39:9 (Handel); see also PX1012 at 24 (“Illustrative examples” of

summary statistics and regression analyses “based on hypothetical data.”).

       374.    Dr. Handel’s self-described “blueprint” for his use cases does not provide “the

series of instructions, series of . . . iterations of variables, consideration of what machine

algorithms you might use, none of the things you need for a blueprint.” 8/12/22 Trial Tr. 34:11–

35:2 (Tucker). To use Dr. Handel’s architecture analogy, “you don’t have any instructions about

how to build a building. You’re just told it’s possible.” Id.

       375.    In Dr. Handel’s words, “[a]ctually conducting a data analysis with the raw claims

data, that’s something that would take a team of analytics professionals some months or some

meaningful amount of time to implement.” 8/8/22 PM Trial Tr. 38:16–39:3 (Handel).

       376.    Dr. Handel did not measure, in concrete terms, the difference, if any, between the

use cases OptumInsight could develop using commercially available information from data




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aggregators, the claims data or other competitively sensitive information already in its possession,

and the pricing and network information made public through the Transparency Rules, on the one

hand, and the use cases OptumInsight could develop using Change’s incremental data.

       377.    Nor did Dr. Handel quantify or support through analysis his assertion that Change’s

data contains additional, and more useful, data than the information publicly available through the

Transparency Rules. See 8/8/22 PM Trial Tr. 56:25–59:14 (Handel).

       378.    In other words, Dr. Handel offered no opinion about how UHG’s ability and

incentive to use data would change, if at all, based on the incremental data that UHG would obtain

through the transaction. See 8/12/22 Trial Tr. 94:17–24 (Tucker) (“[The Court:] Do I have it right

that in thinking about the question of whether United, UHG post-merger or post-acquisition would

be likely to permit Change data to be used by UHC, you first have to identify what incremental

data not available from any other source would be coming to the acquired -- or to the merged entity

as a result of the Change acquisition? . . . [A.] Yes.”).

       379.    More specifically, Dr. Handel offered no opinion whatsoever on whether UHG

could use data in this fashion consistent with its corporate firewall policies. See 8/8/22 PM Trial

Tr. 49:5–11 (Handel); id. at 49:24–50:4 (“Q. Just to be completely clear, you’re not offering an

opinion in this case about whether UnitedHealth Group’s firewalls would or would not permit

sensitive information contained in claims data to be transferred from Optum to UnitedHealthcare;

isn’t that correct? A. That is correct.”).

       380.    Unrebutted testimony from UHG’s Chief Privacy Officer confirms that using

Change’s data to provide UHC with competitive insights about rivals’ utilization management

tools, co-pays, benefit maximums, prior authorizations, medical necessity policies, provider

reimbursement rates, provider networks, claims edits, or to improve UHC’s underwriting would




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violate UHG’s firewall policies. See 8/5/22 PM Trial Tr. 52:14–54:2 (Dumont).

                3.      UHG’s has strong post-merger legal, reputational, and financial
                        incentives not to engage in anticompetitive conduct.

        381.    The financial and reputational costs of breaching or altering firewall policies factor

into UHG’s incentive to use data in the ways Plaintiffs theorize. See 8/12/22 Trial Tr. 95:13–22

(Tucker) (“[The Court:] But then, and I think this is an important part of your report, you also have

to think about the other incentives that would be pushing in the other direction, to include the

firewall policies, reputational risk, and the like. Correct? [A.] Yes, that’s precisely correct. And

the way I might characterize it is to understand the dynamics of the incentives in this situation and

the extent to which United and Optum can anticipate the very negative consequence of a breach of

firewalls, for example.”); see id. at 96:21–97:7.

        382.    UHG’s own due diligence documents recognize the “risk of customer abrasion and

a potential for [Change] to lose some of its customer base if there is a perception that certain

competitively sensitive data can be used by other businesses within UHG or that Optum will add

existing de-identified data to [Change’s] data products.” PX945 at UHG-2R-0018222214.

        383.    Moreover, the market, which includes rivals of UHC, trusts OptumInsight with its

data precisely because UHG understands, and takes seriously, reputational risks surrounding data

use. See DX-0472 at .0004 (“This Plan is highly confident and convinced that Optum will not risk

their credibility or brand reputation to share their Plan’s information with United Healthcare.”).

Not a single rival payer testified otherwise at trial.

        384.    Post-merger, UHG would continue to have strong reputational and financial

incentives to protect other payers’ data.         Last year, non-UHG customers accounted for

approximately $4.1 billion in OptumInsight revenue and approximately $63 billion in total Optum

revenue. 8/10/22 AM Trial Tr. 71:9–22 (Schumacher); PX830 at USDOJ-008-000001519. Optum



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would put all of that $63 billion “immediately at risk” if, after the merger, it removed or modified

its firewalls and began providing other payers’ data to UHC. 8/5/22 AM Trial Tr. 31:17–32:4

(Yurjevich).

           385.   Plaintiffs have suggested that not all of that revenue would be at risk because

OptumRx and OptumHealth account for some of the $63 billion. As Mr. Yurjevich explained,

however, “OptumRx and OptumHealth serve the same customers that we serve within

OptumInsight. So our customers don’t think of us as OptumInsight, OptumHealth or OptumRx.

Our customers think of us as Optum.” Id. at 31:24–32:11. And if those customers cannot trust

one Optum business unit with their data, they will not trust any Optum business unit with their

data. See id. Thus, if OptumInsight misused rival payers’ data, that would “put our entire book

of external business at risk, that $63 billion that we talked about earlier.” Id. at 71:6–14.

           386.   Contrary to Plaintiffs’ suggestion, Optum would actually have greater incentive to

protect other payers’ data post-merger. For one thing, Change generated about $3 billion in

revenue in fiscal year 2021. PX823 at US-DOJ-008-000000712;

                  . Less than       of that revenue comes from ClaimsXten, so as Dr. Murphy

explained, Optum would put the remaining Change revenue at risk if it began misusing rival

payers’ data post-merger. 8/15/22 AM Trial Tr. 39:24–41:17 (Murphy) (“But the other side of the

equation is the cost of misusing data goes up, too, because you’re not now just putting the existing

Optum business at risk by misusing data, you’re putting the Change business at risk by misusing

data.”).

           387.   Even setting Change’s revenue aside, UHG expects that Optum will have more than

$63 billion in external revenue in future years and anticipates that Optum’s external-payer business

will “continue to grow.” 8/9/22 PM Trial Tr. 87:20–25 (McMahon). Indeed, UHG considers the




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growth of Optum’s external-payer business to be “an essential element of the future growth of the

company” as a whole. 8/10/22 AM Trial Tr. 72:20–25 (Schumacher).

         388.   Optum’s post-merger incentives not to misuse data go beyond the risk of losing

business. Change’s standard contract with EDI customers prohibits using one payer’s data for

another payer’s benefit. 8/3/22 AM Trial Tr. 47:12–24 (Suther) (“[The Court:] Part of your answer

just now was about not licensing or selling to a particular payer information about its competitors.

In your view, based on your experience, are there contractual prohibitions that would kick in to

prevent that or is that a business practice or would that be? I understand this is a hypothetical

situation. A. I’d say they’re mostly contractual. So, again, we’re very attentive to the trust that

our customers have placed in us. And if we felt that a[n] interested health insurer w[as] trying to,

you know, reverse engineer the business practices of one of [its] competitors, that, in our mind,

would be a violation of our confidentiality obligations under our agreement and wouldn’t permit

it.”).

         389.   To avoid all doubt, UHG has offered to amend Change’s contracts with EDI

customers to guarantee that “UHG will maintain commercially reasonable firewall and information

security policies to protect Customer’s Confidential Information from being disclosed” to UHC.

DX-0766 at .0004. UHG has pledged to honor that guarantee even for EDI customers who do not

formally amend their contracts. Id. at .0002–3.

         390.   Moreover, at trial, multiple UHG witnesses were asked point blank whether UHG

would use rival payer data from Change’s EDI to benefit UHC. Every witness answered—in court,

under oath, and without equivocation—that UHG would not do so. E.g., 8/10/22 PM Trial Tr.

28:2–24 (Witty); 8/4/22 PM Trial Tr. 31:4–7 (Wichmann); 8/5/22 AM Trial Tr. 13:23–14:16

(Yurjevich); 8/8/22 AM Trial Tr. 89:25–90:10 (Higday); 8/9/22 PM Trial Tr. 101:11–17




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(McMahon); 8/10/22 AM Trial Tr. 73:14–74:16 (Schumacher); 8/10/22 PM Trial Tr. 119:22–

120:11 (Gehlbach).

       391.    Given the contracts and UHG witnesses’ sworn representations, UHG would

expose itself to potentially disastrous legal liability if it were to use Change’s EDI data to benefit

UHC. That risk of legal liability is yet another incentive against misusing rival payers’ data post-

merger. See 8/2/22 AM Trial Tr. 123:19–124:17 (de Crescenzo) (“Q. Now, let’s say a customer

has granted secondary-use data rights to Change let’s say in accordance with your standard contract

language. Does that mean that Change can just do whatever it wants with that data? A. Absolutely

not. First of all, as I mentioned, whether it’s personal to our standard contract or not, there [are] a

number of contractual restrictions that our customers have put upon us that, of course, we wouldn’t

violate, never mind the reputational and business risks but the financial liability of doing so against

customer contracts. . . .”); see also 8/3/22 AM Trial Tr. 47:12–24 (Suther).

       392.    Despite the fact that UHG would risk both lost business and legal liability by

misusing rival payers’ data, Plaintiffs’ economic expert, Dr. Gowrisankaran, opined that the costs

of such misuse would be “negligible” because “rivals aren’t going to know whether United uses

this information.” 8/9/22 PM Trial Tr. 54:5–55:19 (Gowrisankaran).

       393.    Dr. Gowrisankaran, who is not an expert in firewalls or data security, did not

investigate whether external payers would be able to detect UHG’s misuse of their data. Nor did

he provide any methodology that could be used in such an investigation.

       394.    Moreover, Dr. Gowrisankaran’s opinion about “negligible” costs is predicated on

the counterfactual assumption that UHG would face no legal ramifications if it misused rival

payers’ data to benefit UHC. See 8/15/22 PM Trial Tr. 28:8–29:11 (Gowrisankaran).




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       395.    Dr. Gowrisankaran’s misunderstanding of UHG’s enterprise incentives runs

deeper. In his expert report and testimony, Dr. Gowrisankaran cites UHG’s CEO, Andrew Witty,

as saying “that UnitedHealth Group needs to think about United at an enterprise level,” 8/9/22 AM

Trial Tr. 90:4–18 (Gowrisankaran); PX947 ¶ 25 & n.43. But that rendering omits important

context. In full, Mr. Witty’s deposition testimony makes clear that maximizing enterprise value

“sometimes . . . would involve [separate business units’] assets being worked together,” and

“sometimes individually,” all subject to “the important caveat of all of the rule sets” that limit

UHG’s conduct. See DX-0852 at 296:1–297:17. All of UHG’s efforts, then—whether “meeting

the needs of the marketplace” or “meeting the needs of physicians and patients”—seek to “mak[e]

the best of” the organization’s assets, subject to meaningful “constraints,” including market

incentives, contractual limitations, firewall policies, and business ethics. See id.

       396.    Given those massive risks, if UHG were considering a strategy built around

misusing other payers’ data, one would expect to see business documents weighing the pros and

cons. No such documents exist.

       397.    On the other side of the scale, Plaintiffs have not presented any economic evidence

quantifying the gains that UHC could purportedly make by using other payers’ claims data to

reverse engineer those payers’ innovations. More specifically, Plaintiffs’ economic expert, Dr.

Gowrisankaran, did not calculate any of the following: (i) the number of innovations that UHC

could reverse engineer from data that UHG currently possesses; (ii) the incremental number of

innovations that UHC could reverse engineer once UHG had access to Change’s EDI data; or

(iii) the value of those incremental innovations—that is, the dollar value of new national-account

or large-group business that UHC could win as a result of the incremental innovations.




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       398.    With no quantifiable proof, Plaintiffs’ theory therefore boils down to speculation

that turns on the inconceivable premise that Optum will irreparably tarnish its reputation as a

trusted business partner, plus risk billions of dollars in lost business and untold sums more in legal

liabilities, all in exchange for a theoretical, unquantified, and likely unquantifiable amount of new

business for UHC. To describe that theory is to discredit it.

       399.    No rival payer offered any corporate testimony that they would innovate less or

compete less aggressively with respect to claims edits or plans offered to large-group or national-

account customers. No employee or former employee of a rival payer offered such testimony

either. In fact, witnesses testified to just the opposite. See, e.g.,




                                                                                         ; 8/1/22 PM

Trial Tr. 14:17–22 (Garbee) (“[Q.] After the United-Change transaction was announced, you don’t

recall Cigna competing less aggressively for employer business? A. No. In innovating, though,

they would be more careful where they put their edits. They would still innovate but be more

careful about where they put it.”); id. at 15:22–16:12 (“Q. And when you were speaking with Mr.

Culley, you had stated you would be more careful about where you put your edits. Can you explain

what you meant by that? A. Just like I said, we had actually, like, add-on routines that we would

run post ClaimsXten that you could put our custom edits and not have it be seen by Change. So




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we might elect to put or [sic] innovative edits in that place instead of running it right in the

software.”); 8/1/22 PM Trial Tr. 94:23–95:2 (Lautzenhiser) (“Q. This transaction certainly won’t

cause your group at Aetna to innovate less, will it? A. It should not. Q. You don’t foresee any

less innovation; is that fair? A. I’m not forecasting any.”); PX1005 at 169:14–16, 169:19–170:6

(Dill) (“Q[:] You are not going to compete less aggressively after UnitedHealthcare acquires

Change Healthcare? . . . [A:] So in my personal opinion, I don’t think we ever compete less for

any reason. Right. We always go at it really hard. That’s our job.”).

       400.    UHG’s data diligence also considered the importance of contractual restrictions on

data use. See, e.g., PX944 at UHG-2R-0003671294 (“Careful consideration must be given to not

only legal, compliance and privacy issues, but also to the public perception and business abrasion

issues that could result from seeking consent from one market participant relative to another (e.g.

public and patient concerns regarding Google / Ascension data activities or conversely, a potential

payer or provider customer of Optum may have concerns if Optum were to approach their

patient / customer).”); see also PX027 at UHG-2R-0006509715 (“Legal language as shared in

Cambridge’s contract template is highly aligned with Optum’s approach to data rights in that both

Optum and Cambridge only de-identify data where given the explicit right to do so by the

customer.”).

       401.    Plaintiffs presented no evidence that UHG intends to alter its longstanding firewall

protections, see supra FOF ¶¶ 103–41; depart from Change’s understanding and application of its

standard contractual language, see supra FOF ¶¶ 228–38; or abandon OptumInsight’s multi-payer

business model, see supra FOF ¶¶ 45–81. In fact, the record showed precisely the opposite. See

also, e.g., 8/10/22 PM Trial Tr. 32:1–35:4 (Witty) (explaining that UHG’s renewed contractual

commitments to Change’s customers are “consistent with what [UHG] believe[s] is the right way




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of managing the information and the relationship” and Mr. Witty “do[esn’t] think we foresee any

change here”); DX-0686; 8/10/22 AM Trial Tr. 81:2–12 (Schumacher) (answering “[n]o” when

asked whether he was “aware of any efforts to change [UHG’s] policies regarding the exchange

of information, competitively-sensitive information, between Optum and UnitedHealthcare” and

whether it is “likely . . . that any of those policies would be changed in the near future”).

       402.    In sum, “access to data wasn’t a part of the core thesis and the real driver of

[UHG’s] interest in Change Healthcare.” 8/4/22 PM Trial Tr. 80:10–20 (Hasslinger); see also

DX-0450 at .0001 (“[W]e had roughly zero value to data in our thesis presented to Dave

[Wichmann] and [John] Rex. I think the deal stands without it and data is not our message.”).

               4.      Contractual commitments to Change’s customers legally constrain UHG’s
                       ability to engage in anticompetitive conduct.

       403.    To avoid any doubt regarding possible use of Change’s data, UHG has made

contractual commitments and offered amendments to Change’s EDI customers that maintain

Change’s firewalls and allow for annual customer review to ensure compliance after the

transaction’s close. DX-0766 at .0002–3; see also DX-0765 at .0001 (similar commitment

informing Change’s data solutions customers that UHG “is committed to continuing Change’s

business of making aggregated or de-identified data, and insights and benchmarking derived from

it, available in the marketplace in the same manner as Change does today”).

       404.    UHG additionally has promised to make any innovation developed through claims

data from Change’s EDI network available to all payers and providers, while continuing to provide

industry-standard EDI services. DX-0766 at .0002–3.

       405.    UHG agreed to make these commitments, and notified Plaintiffs of its intent to do

so, before Plaintiffs filed suit to block this transaction. ECF No. 37) at General Resp. to Pls.’

Allegations ¶ 14; see also PX596 at UHG-LIT-01672120 (attorney for Plaintiffs writing “[w]e



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would also appreciate hearing you describe any additional commitments, such as those Matt

[Reilly, counsel for UHG,] mentioned yesterday, that the parties are willing to make to ensure that

United would not use Change’s EDI clearinghouse to advantage itself relative to rival insurers”).

       406.    The final commitments made to Change’s EDI customers are comprehensive in

scope and detailed in nature, as explained in UHG’s notification letter which states:

       •   Protecting Potentially Sensitive Business Information — For years, UHG has
           maintained robust firewall and data security policies specifically designed to make sure
           customers’ potentially sensitive information is protected and not misused in any way.
           UHG commits to apply these same firewall and data security policies to customer data
           held by Change on behalf of Change’s EDI customers, and to uphold all contractual
           rights of Change’s customers to audit the protection and security of their data.

       •   EDI Clearinghouse Network — We understand that the payer and provider customers
           of Change’s EDI clearinghouse network expect timely and accurate transmission of
           claims, eligibility, and other data. UHG commits to maintaining Change’s exceptional
           service level following the merger.

       •   Innovative Products — We expect the combination of UHG and Change to facilitate
           new or improved products and services. UHG commits to make available to our
           customers any new or improved products or services developed using Change’s EDI
           clearinghouse network data.

DX-0766 at .0002.

       407.    The contractual amendment offered to Change’s EDI customers confirms UHG’s

commitments made in the letter:

       •   Confidential Information Controls. UHG will maintain commercially reasonable
           firewall and information security policies to protect Customer’s Confidential
           Information from being disclosed to UHG’s health insurance, health plan
           administrative services, or health care provider businesses. Upon request, which shall
           be made no more than once annually, UHG agrees to conduct a review of Customer’s
           Confidential Information held by Change or the UHG subsidiary into which Change’s
           medical EDI clearinghouse business is integrated and to provide a report to Customer
           identifying any violations of UHG’s firewall and information security policies relating
           to the disclosure of Customer Confidential Information and the corrective actions
           undertaken to resolve such violations. Nothing herein shall interfere with Customer’s
           existing contractual rights to audit the protection and security of Customer’s
           Confidential Information.




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        •   EDI Clearinghouse Network. UHG agrees to provide medical EDI clearinghouse
            services at levels consistent with Change’s current medical EDI clearinghouse network
            service level and all applicable industry standards and regulations.

        •   New or Improved Products and Services. If the UHG subsidiary into which
            Change’s medical EDI clearinghouse business is integrated or operated develops new
            products and services, or improves upon existing products and services, by using
            Change’s medical EDI clearinghouse transaction data (which will only be done in
            accordance with all applicable laws, regulations, and contracts), and if that subsidiary
            makes such products and services available to a UHG entity outside of a limited pilot
            or development trial, it also will make such products and services available to Customer
            as soon as reasonably practicable and at commercially reasonable rates.

Id. at .0004.

        408.    Each of these binding commitments eliminates Plaintiffs’ theories of competitive

harm: UHG’s commitment to protect Change’s data with firewalls protects against any misuse of

competitively sensitive information received from customers; UHG’s commitment to maintain

industry-standard service levels safeguards customers from any throttling or degradation of quality

from Change’s EDI clearinghouse; and UHG’s commitment to share any innovation stemming

from Change’s EDI clearinghouse data undercuts the notion that UHG will hoard post-transaction

innovations. See DX-0766 at .0002–4.

        409.    As of August 12, 2022, Change had received 3,119 signed amendments reflecting

these commitments, which—based on customers having multiple accounts—represents 2,880 of

Change’s customers. DX-0214S ¶ 4 & Ex. A.

        410.    But regardless of whether Change’s customers sign these amendments, UHG has

agreed to “uphold these commitments for all Change EDI customers after the merger is complete.

As added assurance, UHG is offering to incorporate these provisions into Change’s EDI customer

contracts.” DX-0766 at .0002; see also 8/2/22 AM Trial Tr. 136:13–20 (de Crescenzo) (“Q. All

right. Do customers have to pay anything to get this amendment? A. Absolutely nothing. We

even included a postpaid envelope for them to return the signed letter and amendment. Q. Do they



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have to agree to any other changes in their existing contracts in order to get the benefit of the

amendment? A. Nothing whatsoever.”).

          411.   No plans exist to alter these commitments in the future, with any change

nevertheless requiring renegotiation between UHG and customers. 8/10/22 PM Trial Tr. 34:19–

35:4 (Witty) (“Q. Okay. We will get to the contract amendment in the future, but it would just be,

then, for the length of that contract, the term of that contract? A. So first of all, I don’t think we

foresee any change here, because obviously, what’s laid out here is consistent with what we believe

is the right way of managing the information and the relationship. Secondly, while the contract’s

in place, those would be the terms.         Obviously, if anything changed, it would require a

renegotiation, and therefore, the customer would have the chance to choose whether to re-sign or

not.”).

          412.   In sum, UHG has memorialized its market incentives to not misuse competitively

sensitive information into binding agreements with legal and financial consequences, further

reinforcing the speculative nature of any supposed harm resulting from the hypothetical conduct

alleged by Plaintiffs.

                 5.      Plaintiffs failed to prove harm to competition in their alleged markets.

          413.   Even if UHC were to misuse data to copy rivals’ innovations, withhold innovations,

or otherwise degrade the quality of EDI services offered to non-UHC payers, Plaintiffs offered no

evidence of harm to competition for the sale of commercial health insurance to large-group

employers or national accounts.

          414.   First, Plaintiffs offered no evidence establishing: (i) the specific innovations from

particular rivals UHC would be able to copy in the post-merger world; (ii) in what networks, and

against which rivals, UHC would deploy these copied innovations; (iii) whether the innovations

would enable UHC to win bids for any specific national-account or large-group employer


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customers; (iv) the threshold at which rival payers would stop innovating their commercial health

plans as a result of UHC’s copying; (v) the specific innovations UHC’s rivals would forgo; (vi)

the effect of these would-be innovations on the market for the sale of commercial health insurance

to large-group employers and national accounts; (vii) whether that effect would amount to a

substantial lessening of competition. Each of these

       415.    Second, Plaintiffs failed to offer evidence establishing: (i) the definition of the

innovation market; (ii) the level of competition in this unspecified innovation market; (iii) the

substitutability of the Optum’s Transparent Network and Change’s Real-Time Settlement; (iv) the

ability of the Transparent Network to function if offered exclusively to UHC; or (v) the

Transparent Network’s share as a percentage of insurance profits.

       416.    Third, Plaintiffs failed to offer any evidence that Optum would raise prices for EDI

services or otherwise degrade EDI transactions for rival payers.

       417.    Plaintiffs thus presented no evidence showing that competition for large-group

employers and national accounts would be reduced as a result of the transaction. No evidence

supports Plaintiffs’ suggestion that rival payers would compete less aggressively for large-group

employer or national account customers post-merger.

               6.      The divestiture solves any alleged horizontal overlap in the market for
                       first-pass claims editing.

       418.    Plaintiffs’ sole basis for claiming that the merger is “presumptively” unlawful is

the allegation that the combination of Optum’s and Change’s claims editing products “tend to

create a monopoly in first-pass claims editing solutions.” See Compl. (ECF No. 1) § V.C.

(capitalization omitted).




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       419.    UHG, however, has agreed to divest Change’s claims editing business, ClaimsXten,

to TPG Capital, L.P. (“TPG”)—a private equity firm with extensive experience investing in and

owning and operating healthcare technology companies. See DX-0579; DX-0617A at .0010.

       420.    For ease of reference, “ClaimsXten” as used in this section is a collective name

used to denote the four claims editing products included in the divestiture package, which comprise

Change’s entire primary and secondary claims editing businesses. See supra FOF ¶ 181.

                      a.      Divestiture Timeline

       421.    In January 2022, UHG announced its intent to divest ClaimsXten upon

consummation of UHG’s acquisition of Change. 8/11/22 AM Trial Tr. 61:1–62:10 (Wukitch); see

DX-616A at .0001.

       422.    Change retained investment banking firm Barclays to run the sale process. 8/11/22

PM Trial Tr. 10:19–21 (Raj). Barclays approached twenty potential buyers—fourteen financial

and six strategic—to gauge their interest in ClaimsXten. DX-0622 at .0004.

       423.    Eighteen potential buyers began conducting diligence, with fourteen receiving

management presentations from the ChangeXten leadership team. Id.; 8/11/22 AM Trial Tr.

62:11–63:8 (Wukitch).

       424.    In early February 2022, nine potential buyers—

                                      New Mountain Capital,                                   , and

TPG—submitted preliminary bids. DX-0621 at .0004.

       425.    Six potential buyers—                                                    TPG, and

Advent International/New Mountain Capital jointly—advanced to the second round of diligence.

DX-0622 at .0004–5.




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         426.   All six submitted second-round bids in early March 2022. Id. The bids ranged

from $1.7 billion to $2.2 billion. Id. at .0006. TPG’s bid of $2.2 billion tied for the highest amount

offered for the ClaimsXten business. Id.

         427.   TPG submitted a third and final bid of $2.2 billion in late March 2022. 8/11/22

AM Trial Tr. 161:14–162:9 (Raj); DX-0663 at .0002.

         428.   In April 2022, UHG and TPG entered a definitive purchase agreement, all

conditions of which have been satisfied, except for those that will be satisfied at closing or by

resolution of this case. See DX-0579 at .0064–66; 8/11/22 AM Trial Tr. 163:24–164:2 (Raj) (“Q.

Mr. Raj, is this agreement from April 22 binding on TPG and UHG, as you understand it? A. It

is. The only real contingency that I’m aware of is the outcome of this proceeding, but, otherwise,

it’s binding on us.”). The final purchase price is $2.2 billion. 8/11/22 PM Trial Tr. 55:12–14

(Raj).

                                                                            See DX-0616A at .0006;

PX195 at 1.

                       b.      Divestiture Package

         429.   Change currently sells four claims editing solutions: ClaimCheck, ClaimsXten,

ClaimsXten Select, and ClaimsXten Cloud. 8/11/22 AM Trial Tr. 13:8–17 (Wukitch). The first

three products are all first-pass solutions, which are within the first-pass claims editing solution

market alleged by Plaintiffs. Id. at 13:21–16:1. ClaimsXten Cloud is a second-pass solution. Id.

at 16:2–8. All four products are included in the divestiture package, as is the technology

“architecture around ClaimsXten[,] . . . ClaimsXten Select[,] and ClaimsXten Cloud.” Id. at 13:8–

20, 40:11–16, 40:23–41:1.




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       430.      The divestiture package does not include other payment-accuracy solutions offered

by Change. Id. at 42:8–44:12; DX-0124 at .0002. These solutions fall outside the first-pass claims

editing market alleged by Plaintiffs.

       431.      The decision about which of Change’s products to include in the divestiture

package was made by a team of Change employees. 8/11/22 AM Trial Tr. 38:24–40:3 (Wukitch).

One core member of the divestiture team was Carolyn Wukitch, Senior Vice President and General

Manager, Network and Finance Management, who has decades of experience with claims editing

products at Change and its predecessors and will serve as the CEO of ClaimsXten post-divestiture.

Id. at 6:21–23, 10:18–21, 38:24–40:10. Other departments represented on Change’s internal

divestiture team include corporate development, finance, legal, management, and technology. Id.

at 38:24–40:3.

       432.      The Change divestiture team determined that Change’s claims editing solutions

comprised “the full suite . . . needed to have a successful claims editing business.” Id. at 40:17–

22.

       433.      Over the course of about a year, Ms. Wukitch and the Change divestiture team also

engaged in a “very thoughtful,” “multistep process” for determining which personnel and assets

would become part of the divestiture package now slated for sale to TPG. Id. at 44:19–45:11,

52:12–53:8.

       434.      About 375 individuals will go with ClaimsXten. Id. at 47:12–18; DX-0223. That

includes the entire 70-person clinical-content team—the “clinicians or medical coders who have

responsibility for defining the clinical content.” 8/11/22 AM Trial Tr. 53:13–54:2 (Wukitch). It

also includes the entire 60-person software-and-engineering team and the entire 200-person

customer-success team. Id. at 54:3–22.




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       435.    Some departments within Change support both ClaimsXten and other products. For

those departments, Ms. Wukitch and the Change divestiture team evaluated employees on a

person-by-person basis, accounting for “their experience [and] their success record with claims

editing.” Id. at 45:12–46:1. For example, out of the fifteen sales employees that support Change’s

payment-accuracy products, seven are going with ClaimsXten. Id. Those seven sales employees

“have a proven track record selling ClaimsXten.” Id.

       436.    As noted above, one of the approximately 375 individuals who will go with

ClaimsXten to TPG is Ms. Wukitch herself. Id. at 10:18–21. Ms. Wukitch has been working in

the claims editing space since 1990. Id. at 10:8–10. Today, she runs the ClaimsXten business.

8/2/22 AM Trial Tr. 105:14–25 (de Crescenzo). She will continue to run ClaimsXten as the

business’s CEO post-divestiture, and more than 50% of Ms. Wukitch’s compensation will be based

on ClaimsXten’s performance. Id.; 8/11/22 AM Trial Tr. 10:18–21, 11:10–12:5 (Wukitch).

       437.    At Change, Ms. Wukitch has assembled a leadership team that has “largely . . . been

working with this business for . . . literally decades in many cases.” 8/2/22 AM Trial Tr. 106:15–

24 (de Crescenzo). That team is going with Ms. Wukitch to run the ClaimsXten business as well.

Id.

       438.    Currently, Ms. Wukitch and a team of thirty to forty people, including her

leadership team, meet regularly with TPG and their consultants to plan for the post-divestiture

business, set progress benchmarks, and continue to develop a marketing strategy and sales system.

8/11/22 AM Trial Tr. 79:12–80:12, 81:6–10, 84:6–85:5 (Wukitch).

       439.    For all of its investments, TPG is “very clear” that, on a day-to-day basis,

“management is running the business.” 8/11/22 AM Trial Tr. 150:6–19 (Raj). TPG views its role




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as “put[ting] the right people in those seats and hav[ing] the management team run the companies.”

Id.

       440.    Plaintiffs’ position that TPG “lacks the experience necessary to compete as

effectively as Change” thus lacks support. See Pls.’ Pretrial Br. (ECF No. 87-1) at 67. Post-

divestiture, the team managing ClaimsXten will be the exact one that has been running the market-

leading business for years. To reiterate, Ms. Wukitch, who has been managing ClaimsXten since

2000, will continue to run the business, 8/2/22 AM Trial Tr. 105:14–106:14 (de Crescenzo), and

the rest of ClaimsXten’s leadership team is joining her, id. at 106:15–24. That team has been

together for “many, many years and are trusted by the customers and well known in the market.”

Id.

                        c.    TPG

       441.    TPG is one of the world’s leading private-equity firms with approximately

$109 billion in assets under management. DX-0617A at .0009.

       442.    TPG is a “fundamentally growth-oriented” private-equity fund. 8/11/22 AM Trial

Tr. 148:9–149:5 (Raj) (“[W]e make money from growing the businesses that we invest in, so we

have a growth-oriented philosophy.”).

       443.    TPG accelerates growth in the businesses it acquires through organic investment,

i.e., research and development (“R&D”) spending, and through add-on acquisitions where

appropriate.   Id. at 149:6–23 (“[U]sually it’s the combination of those two, both organic

investments and acquired investments, that end up forming our investment [thesis].”).

       444.    TPG profits from its investments primarily through “return . . . at exit,” such that if

TPG is successful in growing the business, then it can sell the business for more than it paid. Id.

at 150:20–151:7. This aligns TPG’s incentives with the performance of the businesses in which it

is investing. See id.


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       445.    TPG has significant experience with “carve-out investments,” in which TPG buys

a division of a larger company and then operates it as a standalone business. Id. at 151:8–22

(“Historically, [carve-out investments are] one of the deal types that we enjoy doing the most

because it aligns very well with this growth transformation thesis that we have, or investment

philosophy that we have. So, we’ve done a number of carve-outs over the years.”).

       446.    In the past 18 months, TPG and its portfolio companies have completed three carve-

outs of divisions worth $1 billion or more—Boomi, which was carved out of Dell; DirecTV, which

was carved out of AT&T; and CarePort, which was carved out of AllScripts. See DX-0619 at

.0004–5.

       447.    TPG’s other successful carve-outs include Allogene, a biotech company carved out

of Pfizer; McAfee, a cybersecurity company carved out of Intel; and Wind River, a software

company also carved out of Intel. 8/11/22 PM Trial Tr. 13:1–15:3 (Raj); DX-0619 at .0005.

       448.    TPG also has significant experience in the healthcare space. TPG has been one of

the most active healthcare investors in private equity, with more than $24 billion of total equity

deployed since 2003. DX-0617A at .0010. TPG has invested in healthcare providers (through

companies like Kindred Healthcare); medical products (through companies like Confluent

Medical); and services and healthcare IT (through companies like WellSky). Id. TPG has also

invested in the payer services category, of which ClaimsXten is a part. Id.; 8/11/22 PM Trial Tr.

9:25–10:5 (Raj).

       449.    On average, TPG has held its healthcare investments for approximately eight years

before exiting. 8/11/22 PM Trial Tr. 8:16–9:14 (Raj); DX-0617A at .0009.




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       450.    On average, TPG has increased R&D spend in its healthcare companies by             .

DX-0617A at .0009.         TPG has also contributed approximately                 to mergers-and-

acquisitions activity on behalf of those companies. Id.

                      d.       TPG’s Due Diligence

       451.    TPG was first approached about acquiring ClaimsXten in January 2022. 8/11/22

AM Trial Tr. 153:1–5 (Raj).

       452.    TPG spent the next “three or so months” conducting “extensive due diligence.” Id.

at 153:11–154:1. TPG usually has only “four to six weeks to complete [its] diligence and make a

decision.” Id. at 158:23–159:13.

       453.    The record therefore does not support Plaintiffs’ contention that the sale process

was “rushed.” See Pls.’ Pretrial Br. (ECF No. 87-1) at 67.

       454.    There were fifteen TPG employees and three outside consulting firms involved in

the diligence process—“a big team” by TPG’s standards. 8/11/22 AM Trial Tr. 154:2–14,

158:23—159:23 (Raj).

       455.    TPG spent more than $10 million on the outside consultants, which is “on the high

side” for an investment opportunity the size of ClaimsXten: Bain & Company conducted market

research, Deloitte assisted on the carve-out portion, and West Monroe Partners aided in the

technology and product diligence. Id. at 159:14–160:6. That price tag reflected “the importance

that [TPG] placed on” the deal. Id.

       456.    TPG’s diligence efforts focused on four key questions. First, “is this a good market

to invest in”? Id. at 156:11–157:2. Second, “is the company well positioned to continue its

leadership in this market?” Id. Third, is this “a company that can be separated from its parent

without issues?” Id. And fourth “can we accelerate [the company’s] growth?” Id.




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       457.    On the first question—whether the market made sense to invest in—TPG concluded

that the market served by ClaimsXten is “attractive,” “large,” and still “growing.” Id. at 157:3–

13. “Payers in the U.S. continue to look [for] ways to improve their operations,” and “there’s a

need for technology” that will help payers do so. Id.

       458.    On the second question—whether ClaimsXten would continue to lead the market—

TPG concluded that “customers really valued” ClaimsXten and relied on it “day-to-day to conduct

their core business.” Id. at 157:14–25.

       459.    The third question—whether the asset package TPG would acquire in the

divestiture “is sufficient to operate ClaimsXten on a standalone basis”—was a “core aspect of

[TPG’s] due diligence.” Id. at 160:11–14. TPG had “every incentive to analyze that and run that

to ground.” Id. at 160:15–25.

       460.    After doing so, TPG concluded that ClaimsXten is “a highly separable asset.” Id.

at 158:1–8. That conclusion was based in part on conversations with ClaimsXten customers, who

told TPG that ClaimsXten “was sold very independently to the market.” Id. at 160:15–25. In

TPG’s view, there are no assets that TPG needs to stand up ClaimsXten that is not included in the

divestiture package. Id. at 161:10–13 (“Q. Okay. Is there any asset -- physical, human capital,

intellectual property -- that TPG believes it needs to stand up ClaimsXten, but is not included in

the asset package? A. There’s not.”).

       461.    On the fourth question—whether TPG could accelerate ClaimsXten’s growth—

TPG concluded that “the company would . . . be able to grow more quickly under [TPG’s]

ownership than it had been.” Id. at 158:9–22. TPG determined that “customers were willing to

pay more for better products in this space,” and that TPG could help ClaimsXten deliver those




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better products by investing more in “innovative seeds that the [ClaimsXten] team had planted,

but maybe hadn’t invested as thoroughly behind as they could have.” Id.

       462.    The ClaimsXten leadership team perceived the due-diligence efforts of potential

buyers—including TPG—as “very intense” and “thorough.” Id. at 77:12–78:13 (Wukitch). The

ClaimsXten leadership team gave management presentations and hosted numerous follow-up

meetings. Id. In answering potential buyers’ questions, the ClaimsXten leadership team had help

from Change personnel with business, financial, legal, and technical expertise. Id.

       463.    Whatever Plaintiffs’ criticisms of the divestiture process, those criticisms do not

speak to ClaimsXten’s ability to compete post-divestiture.

                       e.      Capital Structure of the Divestiture

       464.    There are no financing conditions on the divestiture. 8/11/22 PM Trial Tr. 16:18–

22 (Raj). Equity is fully committed by TPG and debt is fully committed by a group of lenders. Id.

       465.    TPG will put $1.2 billion of equity into the acquisition, and the remaining $1 billion

will be debt financed. Id. at 16:23–17:4. That capital structure is “typical” for a TPG investment,

“particularly in the software area.” Id. at 17:23–18:4.

       466.    The capital structure for the ClaimsXten deal was based on a “careful analysis” of

the business’s profitability and cash flows, and does not call into question TPG’s ability to provide

capital for R&D and other purposes. Id. at 17:9–22, 18:16–19:11. Given ClaimsXten’s “recurring

revenue” and “high [customer] retention rates,” it is “very difficult to imagine” that ClaimsXten

would struggle with debt payments. Id. at 18:5–15. TPG therefore is “not concerned” about

ClaimsXten covering its debt. Id. at 19:12–16.

       467.    If ClaimsXten did have trouble covering its debt, however, TPG would “be

prepared to . . . invest more equity and retire some of that debt to reduce the debt burden.” Id. at

18:5–15.


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       468.     The Department of Justice has recognized that “funding from private equity and

other investment firms [can be] important to the success of” a divestiture precisely because such

firms may have “flexibility in investment strateg[ies], [be] committed to the divestiture, and [be]

willing to invest more when necessary.” Antitrust Div., U.S. Dep’t of Justice, Merger Remedies

Manual 24–25 (Sept. 2020) (DX-0777 at .0027–28).

                       f.      Relationship between UHG and TPG

       469.     TPG has done three prior deals with UHG. 8/11/22 PM Trial Tr. 4:12–20 (Raj).

All three deals were done at “arm’s length,” and were “heavily and hotly negotiated,” see id. at

5:3–9, and no evidence supports Plaintiffs’ suggestion that TPG’s past deals with UHG will cause

post-divestiture ClaimsXten to compete any less vigorously in the market for first-pass claims

editing solutions, id. at 5:16–22 (“Q. Will the fact that TPG has done deals in the past with

UnitedHealth Group in any way impact the vigor with which ClaimsXten will compete in the

marketplace assuming the transaction goes forward? A. No, absolutely not. We’re going to do

the very best we can with this investment irrespective of any history.”); id. at 5:10–15 (“All of our

portfolio company investments need to stand on their own and be as successful as they can be on

their own.”).

       470.     As part of the divestiture, UHG and TPG have entered a transition services

agreement (“TSA”). DX-0579 at .0108–236; DX-0783. The Department of Justice regularly

agrees to divestitures with TSAs. See United States v. Danfoss A/S, 2021 WL 5707762, at *8

(D.D.C. Oct. 26, 2021) (Nichols, J.); Final Judgment at 14–15, United States v. Gray Television,

Inc., No. 1:21-cv-02041-CJN (D.D.C. Oct. 25, 2021), ECF No. 11; United States v. CVS Health

Corp., 2019 WL 4793060, at *3–4 (D.D.C. Sept. 4, 2019).

       471.     The TSA runs for nine months, with the option of three one-month extensions.

8/11/22 AM Trial Tr. 164:22–165:6 (Raj); DX-0783 at .0003, and the services UHG will provide


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are related to “back-office parts of the business”—e.g., “finance systems, IT systems, HR

systems”—that are “not customer facing or product oriented.” 8/11/22 AM Trial Tr. 166:9–25

(Raj).

         472.   The existence, duration, and scope of the TSA are all “very typical” for carve-out

transactions. Id. at 165:7–9 (duration), 165:18–166:8 (existence), 166:9–25 (scope).

         473.   Every transition service that ClaimsXten needs to run successfully post-divestiture

is included in the TSA. Id. at 165:10–17 (“Q. Okay. And, again, I’m not going to ask you about

the details of this agreement, but are there any transition services that TPG believes it needs to

carve-out ClaimsXten successfully that it is not slated to receive, assuming the transaction goes

forward? A. No. Everything we need is in here. It’s, as you can see, 80 pages of very, very

detailed line-item services that will be provided, and we feel this is sufficient.”).

         474.   The Department of Justice repeatedly has approved divestitures involving transition

service agreements, including divestitures in the healthcare sector. E.g., CVS Health, 407 F. Supp.

3d at 49 (granting motion for entry of final judgment, which required that “CVS must, at

WellCare’s option, enter into an administrative services agreement to provide WellCare with all

of the services required to manage the divestiture assets through the 2019 plan year, which ends

on December 31, 2019, including contracting with pharmacy networks, administering the plans’

formularies, and providing back-office support and claims administration functions”), judgment

entered, 2019 WL 4793060 (D.D.C. Sept. 4, 2019).

                       g.      ClaimsXten’s Competitive Prospects

         475.   ClaimsXten is the “market leader” in first-pass claims editing solutions and has

held this position since it was sold as a standalone product by McKesson prior to the formation of

the joint venture between Change and McKesson Technologies. 8/2/22 PM Trial Tr. 95:11–21

(Turner); 8/11/22 AM Trial Tr. 17:8–12, 31:13–23 (Wukitch).


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       476.    Plaintiffs’ economic expert estimates that ClaimsXten has a market share of 67.3%,

PX820 at Ex. 5, and concedes that (other than UHC) nearly all of the top commercial health

insurers use ClaimsXten for first-pass claims editing, id. at Ex. 7.

       477.    ClaimsXten has a customer-retention rate of “approximately 99 percent.” 8/11/22

AM Trial Tr. 21:22–23 (Wukitch); 8/2/22 PM Trial Tr. 88:4–5 (Turner) (describing the customer-

retention rate as “[w]ell in excess of 95 percent”). And neither the ClaimsXten leadership team

nor TPG have any concerns about ClaimsXten’s ability to “compete vigorously and effectively”

post-divestiture. See 8/11/22 PM Trial Tr. 41:17–20 (Raj); 8/11/22 AM Trial Tr. 86:9–25

(Wukitch) (“I think we’re going to be very successful . . . .”); 8/2/22 PM Trial Tr. 97:8–11 (Turner)

(“Q. Do you have any doubt about whether ClaimsXten will be as competitive and as successful

under TPG’s ownership as it is today? A. None, no doubts.”).

       478.    TPG has concrete plans to fuel further growth at ClaimsXten. Under Change’s

ownership in FY2022, ClaimsXten’s R&D budget was $14 million. 8/11/22 PM Trial Tr. 34:20–

35:4 (Raj); DX-0402 at .0020. TPG plans to increase that budget to $17 million in FY2023,

$26 million in FY2024, $28 million in FY2025, and $30 million in FY2026. 8/11/22 PM Trial Tr.

35:20–37:18 (Raj); DX-0402 at .0020, .0031. Thus, within four years, TPG plans to more than

double ClaimsXten’s most recent annual R&D budget. 8/11/22 PM Trial Tr. 37:19–22 (Raj).

       479.    TPG expects that, with an increased R&D budget, ClaimsXten will be able to

improve its product “and accelerate revenues as a result.” Id. at 40:22–41:16.

       480.    In light of TPG’s plans to increase ClaimsXten’s R&D budget substantially, the

record does not support Plaintiffs’ contention that ClaimsXten’s debt obligations “would limit the

available capital for research and development.” See Pls.’ Pretrial Br. (ECF No. 87-1) at 66–67.




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       481.    Moreover, Plaintiffs’ comparison between ClaimsXten’s anticipated annual debt

payments and annual R&D spending is “an apples-versus-oranges sort of comparison.” 8/11/22

PM Trial Tr. 18:16–19:11 (Raj). The fact that ClaimsXten’s annual debt payments will outstrip

its annual R&D budgets is not “relevant or surprising.” Id.

       482.    TPG’s plans to increase ClaimsXten’s R&D budget also belie Plaintiffs’ contention

that, because TPG is a private-equity firm, it “would not be motivated to make significant

investments in developing new or innovative products that may become commercialized outside

of TPG’s narrow investment horizon.” See Pls.’ Pretrial Br. (ECF No. 87-1) at 65.

       483.    TPG has clear financial incentives to grow ClaimsXten before exiting the

investment. In response to the Court’s question, “[a]m I right that TPG, you personally, and your

investors, benefit through this acquisition more the better that ClaimsXten performs?,” TPG’s co-

managing partner responded, “[a]bsolutely,” going on to say “the better [a] company does between

the time we buy it and the time we’re ready to sell it, the more money someone will pay us for that

asset.” 8/11/22 PM Trial Tr. 90:15–18, 91:8–14 (Raj); see also id. at 91:15–23 (Raj) (“[The Court:]

. . . [N]et-net, the better ClaimsXten does between now and whatever might happen in 2026,

whether it’s a sale, a continued ownership, et cetera, the -- if, at that time, when you assess the

value of the business in 2026, the better that ClaimsXten has performed in the interim, the more

valuable it will be to you as an asset. Correct? A[:] That’s 100 percent right.”). The reverse is

equally true. When asked by the Court, “[i]s there any world in which you, personally, TPG, as

an entity, and the investors do better if ClaimsXten performs poorly,” Mr. Raj responded,

“[a]bsolutely not.” Id. at 90:19–22.

       484.    Moreover, TPG’s average investment window on its healthcare businesses has been

eight years. Id. at 8:16–9:14; 8/11/22 AM Trial Tr. 149:24–150:5 (Raj); DX-0617A at .0009; see




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also 8/15/22 AM Trial Tr. 89:19–90:16 (Murphy) (“Sometimes [private equity firms] hold them

for long periods of time, sometimes they hold them for shorter, but the key is, they’re going to

hold it as long as they can where they think they’re the best owner, where they can do the best to

grow it, and then pass it off to somebody else who can use it even better after they get rid of it.”).

       485.    Plaintiffs have presented no evidence that TPG would fail to support an innovation

that would be commercialized outside of TPG’s investment window. Likewise, Plaintiffs have

presented no evidence that the market would inaccurately appraise the value of any yet-to-be-

commercialized innovation if TPG elected to sell ClaimsXten before the innovation were ready

for market.

       486.    Plaintiffs contend that a TPG-owned ClaimsXten would not be as competitive

because the divestiture would force ClaimsXten “to operate as a standalone business” rather than

as “part of a broad end-to-end suite of payment accuracy products.” See Pls.’ Pretrial Br. (ECF

No. 87-1) at 65.

       487.    No payer in the case testified that they would prefer to buy ClaimsXten as part of a

broader suite of payment-accuracy products. In fact, Plaintiffs never even asked the only live

payer witness about this subject.

       488.    Indeed, no payer witness in the case testified that they had any concerns about the

divestiture at all. Two payer witnesses testified live at trial. One, a former employee of Cigna,

said nothing about the divestiture.




                                                         Another two payer witnesses testified by

deposition. One, an employee of Anthem, said nothing about the divestiture. The other, an




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employee of Cigna, testified that she was not even aware of the divestiture. PX1005 at 167:01–04

(Dill).

          489.   In addition, the ClaimsXten leadership is unaware of any payer that currently uses

ClaimsXten having told Change that they are unlikely to continue using the product post-

divestiture. 8/11/22 AM Trial Tr. 142:1–6 (Wukitch).

          490.   Multiple Change witnesses testified that they were not aware of any payer that has

ever bought ClaimsXten because it is part of a broader suite of products. 8/2/22 PM Trial Tr.

95:22–25 (Turner) (“Q. Are you aware of any instances where Change won primary claims editing

business from a customer because ClaimsXten was a part of an end-to-end suite? A. No.”); 8/11/22

AM Trial Tr. 38:15–18 (Wukitch) (“Q. And are you aware of any instance where a customer

purchased ClaimsXten because ClaimsXten was sold alongside another payment accuracy

solution? A. No.”).

          491.   Further, “[p]robably 90 percent” of ClaimsXten’s current customers began

purchasing the product when it was owned by McKesson and sold as a standalone product. 8/11/22

AM Trial Tr. 17:1–7, 141:20–25 (Wukitch). That includes Aetna, Anthem, and Cigna. Id. at

130:21–132:10, 141:21–25. It was while McKesson was selling ClaimsXten as a standalone

product that it first became the market leader. Id. at 17:8–12.

          492.   Plaintiffs also argue that a TPG-owned ClaimsXten would not be as competitive

because it could not sell “integrated payment accuracy solutions,” including Change’s potential

Real-Time Settlement product. See Pls.’ Pretrial Br. (ECF No. 87-1) at 66.

          493.   No evidence exists showing that ClaimsXten is, or ever has been, a component of

Change’s Real-Time Settlement project.




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       494.    Multiple Change witnesses testified that ClaimsXten is not, and never has been, a

component of Real-Time Settlement. 8/11/22 AM Trial Tr. 34:6–12 (Wukitch) (“Q. Is there any

integration between ClaimsXten and the Real-Time Settlement development project that’s going

on at Change Healthcare? A. No, there is not. Q. Has ClaimsXten ever been integrated into

something called Real-Time Settlement? A. No, it has not been.”); see also 8/2/22 PM Trial Tr.

93:13–24 (Turner).

       495.    More broadly, no evidence shows that Change’s first-pass claims editing solutions

are technologically integrated with any other Change product.

       496.    Multiple Change witnesses testified that Change’s first-pass claims editing

solutions are not technologically integrated with any other Change product. 8/11/22 AM Trial Tr.

18:16–19 (Wukitch) (“Q. Is [ClaimsXten] technically integrated with any other products? A.: No,

it is not. Q: It operates on its own code? A: Yes, it has its own standalone technology code.”); see

also 8/2/22 AM Trial Tr. 101:13–17 (de Crescenzo); 8/2/22 PM Trial Tr. 91:1–7 (Turner).

       497.    Change’s standard second-pass claims editing solution also is not technologically

integrated with any other Change product other than its primary editing products. 8/2/22 PM Trial

Tr. 91:8–11 (Turner).

       498.    Change did a “custom project” for one payer that integrated Change’s second-pass

claims editing solution and its Insight Record Review product. Id.

       499.    Post-divestiture, “the functionality [of the custom work done for that payer] will

remain the same.” 8/11/22 AM Trial Tr. 37:20–38:6 (Wukitch). “The only thing different is the

contract will be with two different companies for those respective products”—the second-pass

claims editing solution, on the one hand, and Insight Record Review, on the other. Id.




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       500.




       501.



       502.    In any event, the sole payer for whom Change has done custom work combining

ClaimsXten and Insight Record Review is “not happy with the results.” 8/11/22 AM Trial Tr.

36:18–22 (Wukitch).

       503.    ClaimsXten has no plans to do similar custom work for any other payers, and no

plans to market the custom work related to Insight Record Review. Id. at 37:10–19.


                                   CONCLUSIONS OF LAW

       1.      Elements and Burden. Section 7 of the Clayton Act prohibits a merger if, “in any

line of commerce or in any activity affecting commerce in any section of the country, the effect of

such acquisition may be substantially to lessen competition.” 15 U.S.C. § 18.

       2.      This language has long been interpreted to prohibit transactions only where harm

to competition is reasonably “likely” or “probable.” United States v. AT&T, Inc., 916 F.3d 1029,

1032 (D.C. Cir. 2019) (citing Brown Shoe Co. v. United States, 370 U.S. 294, 323 & n.39 (1962));

see also United States v. Baker Hughes Inc., 908 F.2d 981, 991 (D.C. Cir. 1990) (Thomas, J.)

(“[T]he ultimate issue” in a Section 7 case is “whether a transaction is likely to lessen competition

substantially.”); United States v. SunGard Data Sys., Inc., 172 F. Supp. 2d 172, 180 (D.D.C. 2001)

(“To establish a Section 7 violation, plaintiff must show that a pending acquisition is reasonably

likely to cause anticompetitive effects.”).




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       3.      To be “likely” or “probable,” there must be a “reasonable probability” of harm to

competition, Brown Shoe, 370 U.S. at 325; AT&T, 916 F.3d at 1032, meaning that such harm is

“sufficiently probable and imminent’ to warrant relief,” FTC v. Arch Coal, Inc., 329 F. Supp. 2d

109, 115 (D.D.C. 2004) (quotations omitted).

       4.      Plaintiffs consistently have tried to water down the Section 7 standard, highlighting

over and over again that they need only show “that the effect of the proposed transaction ‘may

be’” to harm competition. See, e.g., Pls.’ Pretrial Br. (ECF No. 87-1) at 11 (citation omitted); see

also id. at 23, 43, 54, 78; 8/1/22 AM Tr. Tr. 16:22–17:1 (Pls.’ Opening) (“Section 7 prohibits

mergers and acquisitions where the effect may be substantially to lessen competition or tend to

create a monopoly. That is the standard, Judge, that Congress set, and Congress was deliberate in

its wording when it chose the word ‘may’.”).

       5.      But the Supreme Court has made clear that “[t]he use of these words (‘may be’)

means that” the Clayton Act applies, not “to the mere possibility” of harm to competition, “but

only to the reasonable probability of” harm. Brown Shoe, 370 U.S. at 323 n.39 (citation omitted).

Congress’s deliberate choice in Section 7 was to prevent “[m]ergers with a probable

anticompetitive effect”; “no statute was sought for dealing with ephemeral possibilities.” Id. at

323.

       6.      The “mere possibility” of harm to competition therefore is insufficient to establish

a violation of Section 7. AT&T, 916 F.3d at 1032 (citation omitted); see also Brown Shoe, 370

U.S. at 323 (“[N]o statute was sought for dealing with ephemeral possibilities. Mergers with a

probable anticompetitive effect were to be proscribed by this Act.”); Baker Hughes, 908 F.2d at

984 (“Section 7 involves probabilities, not certainties or possibilities.” (second and third emphases

added)).




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       7.      To violate Section 7 of the Clayton Act, the “likely” or “probable” harm to

competition also must be “substantial.” United States v. Gen. Dynamics Corp., 415 U.S. 486, 511

(1974); AT&T, 916 F.3d at 1032 (“[T]he government must show that the proposed merger is likely

to substantially lessen competition, which encompasses a concept of ‘reasonable probability.’”

(citation omitted)).

       8.      A federal court evaluating a merger under Section 7 must consider how a proposed

merger likely will affect competition “in the market for a particular product in a particular

geographic area.” Baker Hughes, 908 F.2d at 982; see also United States v. AT&T Inc., 310 F.

Supp. 3d 161, 191 (D.D.C. 2018) (holding that identification of “the relevant product and

geographic market” are elements of a Section 7 claim), aff’d, 916 F.3d 1029 (D.C. Cir. 2019);

Arch Coal, 329 F. Supp. 2d at 117 (D.D.C. 2004) (“Analysis of the likely competitive effects of a

merger requires determination[] of . . . the transaction’s probable effect on competition in the

relevant product and geographic markets.”).

       9.      Relevant factors include market concentration, the presence or absence of

significant barriers to entry, the sophistication of customers in the relevant market, access to

alternative suppliers for a given product, history of foreclosure in a given market, and the nature

and the terms of sale for the products at issue, among others. See, e.g., Baker Hughes, 908 F.2d at

984–86 (collecting authorities). No single factor is “dispositive,” as “[t]he Supreme Court has

adopted a totality-of-the-circumstances approach” to Section 7. Id. at 984–85.

       10.     “[A]ntitrust theory and speculation cannot trump facts,” and plaintiffs must prove

their case “on the basis of the record evidence relating to the market and its probable future.”

AT&T, 310 F. Supp. 3d at 190 (quoting Arch Coal, 329 F. Supp. 2d at 116–17).




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       11.     Burden-Shifting Framework. The “likely” and “probable” effects of a proposed

merger are evaluated using a well-established burden-shifting framework. See Baker Hughes, 908

F.2d at 982–83.

       12.     Under this framework, plaintiffs must first establish a prima facie case that the

merger is likely to harm competition substantially. See id. (applying the framework to a horizontal

merger claim under Section 7); AT&T, 916 F.3d at 1032 (applying the framework to a vertical

merger claim under Section 7).

       13.     If plaintiffs establish a prima facie case, the burden of production shifts to the

defendants to discredit the evidence supporting the prima facie case or to “present evidence that

the prima facie case ‘inaccurately predicts the relevant transaction’s probable effect on future

competition.’” AT&T, 916 F.3d at 1032 (citations omitted); Baker Hughes, 908 F.2d at 991; Arch

Coal, 329 F. Supp. 2d at 116 (“Defendants can then rebut the presumption by producing evidence

that market-share statistics produce an inaccurate account of the merger’s probable effects on

competition in the relevant market.”).

       14.     This rebuttal evidence either can “affirmatively show[] why a given transaction is

unlikely to substantially lessen competition” or “discredit[] the data underlying the initial

presumption in the [plaintiffs’] favor.” Baker Hughes, 908 F.2d at 991.

       15.     “[A] fairly weak prima facie case” “requires less of a rebuttal showing,” Arch Coal,

329 F. Supp. 2d at 158, but no matter the strength of the plaintiffs’ case, defendants never bear the

burden of “‘clearly’ disprov[ing] anticompetitive effect[s]” from a transaction. Baker Hughes, 908

F.2d at 991 (rejecting the proposition that a defendant must “produce evidence ‘clearly’ disproving

future anticompetitive effects” as a “depart[ure] from settled principles” and too “heavy” a

burden).




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        16.     If sufficient evidence exists that the proposed merger is not likely to harm

competition in a substantial way, “the burden of producing additional evidence of anticompetitive

effects shifts” back to the plaintiffs and “merges with the ultimate burden of persuasion, which

remains with the [plaintiffs] at all times.” AT&T, 916 F.3d at 1032 (quoting Baker Hughes, 908

F.2d at 983).

        17.     In other words, at all stages of the burden-shifting process, the question remains

essentially the same: considering all of the evidence in the record (whether in the plaintiffs’ prima

facie case, defendants’ rebuttal case, or plaintiffs’ last shot), is the proposed merger likely to lessen

competition substantially in the alleged relevant markets? See AT&T, 916 F.3d at 1032; Baker

Hughes, 908 F.2d at 983.

        18.     Regardless of the stage of the burden-shifting process, plaintiffs have “the ultimate

burden of proving a Section 7 violation by a preponderance of the evidence,” with a “failure of

proof in any respect” meaning “the transaction should not be enjoined.” AT&T, 310 F. Supp. 3d

at 189 (emphasis added) (citations omitted); see also Baker Hughes, 908 F.2d at 983 (stating that

“the ultimate burden of persuasion . . . remains with the [plaintiffs] at all times”); Arch Coal, 329

F. Supp. 2d at 116 (“[P]laintiffs have the burden on every element of their Section 7 challenge,

and a failure of proof in any respect will mean the transaction should not be enjoined.”).

        19.     Principles Governing Horizontal Claims. “The basic outline of a [S]ection 7

horizontal acquisition case is familiar.      By showing that a transaction will lead to undue

concentration in the market for a particular product in a particular geographic area,” plaintiffs

“establish[] a presumption that the transaction will substantially lessen competition.” Baker

Hughes, 908 F.2d at 982 (footnote omitted).




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       20.     To evaluate market concentration in the post-transaction world, a federal court

compares a market’s concentration before and after the proposed merger, id. at 982–83; Arch Coal,

329 F. Supp. 2d at 116, 123–24, to determine whether “the proposed ‘merger would produce a

firm controlling an undue percentage share of the relevant market, and would result in a significant

increase in the concentration of firms in that market,’” AT&T, 310 F. Supp. 3d at 192 (citations

omitted).

       21.     An evaluation of market concentration necessarily entails consideration of the

transaction being challenged and the post-transaction participants in the relevant market. See, e.g.,

Mem. Op. at 3, FTC v. Arch Coal, Inc., No. 1:04-cv-00534-JDB (D.D.C. July 7, 2004), ECF No.

67 (“Arch Coal Mem. Op.”); Arch Coal, 329 F. Supp. 2d at 116, 124–25.

       22.     Although “there is a lack of clear precedent providing an analytical framework for

addressing the effectiveness of a divestiture that has been proposed to remedy an otherwise

anticompetitive merger,” FTC v. Sysco Corp., 113 F. Supp. 3d 1, 72 (D.D.C. 2015), it is well

established that a “transaction” being challenged under the Clayton Act can include multiple

agreements related to the disposition of the relevant business, see Arch Coal Mem. Op. at 5. See

also Pl.’s Mot. in Limine to Exclude or Limit Evid. of Defs.’ Arbitration Offer at 6, United States

v. AT&T, Inc., No. 1:17-cv-02511-RJL (D.D.C. Mar. 13, 2018), ECF No. 85 (explaining that

divestiture agreements and amended merger agreements change the “structure” of the relevant

transaction being considered under Section 7).

       23.     Even when a transaction is technically structured “as two separate transactions

rather than one three-way agreement,” that “structural choice” is not “dispositive.” Arch Coal

Mem. Op. at 4. That is because, no matter how the transaction is structured, the real-world result

for purposes of evaluating future market conditions is the same: post-merger and post-divestiture,




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the acquiring entity and the divestiture buyer will be market participants whereas the acquired

business will not. See id.

       24.     In a case involving a divestiture, therefore, the “transaction” being challenged “in

reality” is “the merger agreement including [any] divestiture.” See id. at 5 (“The Court therefore

concludes that the transaction that is the subject of the FTC’s challenge is properly viewed as the

set of two transactions involving the acquisition of Triton by Arch and the immediate divestiture

of the Buckskin mine to Kiewit.”); FTC v. Libbey, Inc., 211 F. Supp. 2d 34, 51 (D.D.C. 2002)

(analyzing the amended merger agreement, not the original merger agreement, in evaluating the

government’s prima facie case).

       25.     The only disputed questions are who bears the burden of addressing the competitive

implications of a divestiture and what are the proper standards for evaluating those implications.

       26.     Under one line of cases, plaintiffs bear the burden of showing that the combined

effect of a transaction and divestiture will be likely to lessen competition substantially. See Arch

Coal Mem. Op. at 6 (“[T]he burden is on the FTC to convince this Court that its judgment is correct

that the Arch-Triton merger including the Kiewit transaction raises questions so serious,

substantial, difficult[,] and doubtful as to make the challenged transactions fair ground for

permanent injunction proceedings . . . .”); Libbey, 211 F. Supp. 2d at 51 (considering amended

merger agreement at the prima facie stage of the burden-shifting analysis).

       27.     Under a different line of cases, defendants bear the “burden to show that a proposed

divestiture will replace the merging firm’s competitive intensity.” FTC v. RAG-Stiftung, 436 F.

Supp. 3d 278, 304 (D.D.C. 2020); Sysco, 113 F. Supp. 3d at 73 (holding that defendants bear the

burden of showing that the premerger level of competition will be maintained).




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       28.     The Court need not resolve this legal question on the record presented here because

Plaintiffs’ case fails regardless of who bears the burden of proof or what the standard for

competition in the post-merger world is. As set forth in UHG’s and Change’s Proposed Findings

of Fact and Conclusions of Law, and UHG’s and Change’s Post-Trial Brief, Plaintiffs almost

entirely ignored the divestiture during their case in chief and failed to counter the substantial

evidence presented that the divestiture will maintain or enhance competition in the market for first-

pass claims editing, not diminish it. See supra FOF ¶¶ 418–503; Defs.’ Post-Trial Br. at 6–13.

       29.     As an analytical matter, however, requiring plaintiffs to bear the burden of

establishing a substantial lessening of competition in a world with a divestiture best comports with:

(i) the text of Section 7; (ii) the burden-shifting framework used to evaluate mergers; and (iii) and

the parties’ respective burdens of proof and production.

       30.     First, requiring defendants to show that a divestiture will “[r]estor[e] competition”

by “replacing the competitive intensity lost as a result of the merger,” see Sysco, 113 F. Supp. 3d

at 72 (emphasis omitted) (quoting Antitrust Div., U.S. Dep’t of Justice, Antitrust Division Policy

Guide to Merger Remedies 5 (Oct. 2004)), imposes a heightened standard wholly divorced from

the text of the Clayton Act.

       31.     The plain text of Section 7 makes clear that the Clayton Act does not prohibit every

merger with a marginal adverse effect on competition. Section 7 prohibits only those mergers that

are likely “substantially to lessen competition.” 15 U.S.C. § 18 (emphasis added).

       32.     Thus, in demanding that divestitures preserve the exact level of intensity or

competition that existed pre-transaction improperly elevates the substantive standard under

Section 7 beyond what the text will bear.




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       33.     Second, requiring defendants to bear the burden of production on divestiture-

related issues improperly shifts the burden of production to defendants absent any showing of

market concentration.

       34.     To be entitled to a presumption of anticompetitive effects in a horizontal merger,

plaintiffs must show a likely concentration in the relevant market in the actual post-merger world,

Baker Hughes, 908 F.2d at 982–83; AT&T, 310 F. Supp. 3d at 192; Arch Coal, 329 F. Supp. 2d at

116, 123–24, not a counterfactual world that arbitrarily excludes a divestiture buyer as a market

participant.   See Arch Coal, 329 F. Supp. 2d at 125 (summarizing “market concentration

measurements . . . based on Arch’s acquisition of the North Rochelle mine and Kiewit’s [the

divestiture buyer’s] acquisition” of the acquired entity’s second mine). In other words, plaintiffs

should not be entitled to a presumption against a merger, and thus improperly shift the burden of

production to defendants, where no post-merger market concentration is likely to exist as the

consequence of a divestiture. See id.

       35.     Third, requiring plaintiffs to bear the burden on divestiture-related issues is most

consistent with the fact that “the ultimate burden of persuasion” in a Section 7 case “remains with

[plaintiffs] at all times. Baker Hughes, 908 F.2d at 983. It is black-letter law in this circuit that

defendants at no point bear the burden of making a “clear showing” that a proposed merger is not

likely to harm competition in a substantial way, as such a standard would “move far toward forcing

a defendant to rebut a probability with a certainty.” See id. at 983, 989, 992.

       36.     In any event, and regardless of where the burden is allocated, courts evaluating a

divestiture’s effect on competition consider, among other factors, “the likelihood of the divestiture;

the experience of the divestiture buyer; the scope of the divestiture[;] the independence of the




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divestiture buyer from the merging seller[;] and the purchase price.” RAG-Stiftung, 436 F. Supp.

3d at 304.

       37.     A federal court has authority to order a divestiture in an action brought pursuant to

the Clayton Act. United States v. CVS Health Corp., 2019 WL 4793060, at *2–4 (D.D.C. Sept. 4,

2019) (ordering a divestiture); see also United States v. Danfoss A/S, 2021 WL 5707762, at *5–9

(D.D.C. Oct. 26, 2021) (Nichols, J.) (same); Final Judgment at 9–15, United States v. Gray

Television, Inc., No. 1:21-cv-02041-CJN (D.D.C. Oct. 25, 2021), ECF No. 11 (same). Pursuant

to 16 C.F.R. § 802.70, a divestiture ordered by a federal court “in an action brought by the Federal

Trade Commission or the Department of Justice” is exempted from the filing requirements of the

Hart-Scott-Rodino Antitrust Improvements Act.

       38.     Principles Governing Vertical Claims. A vertical merger joins firms “standing in

a supplier-customer relationship.” Brown Shoe, 370 U.S. at 323.

       39.     Courts have recognized that “[v]ertical mergers often generate efficiencies and

other procompetitive effects.” AT&T, 310 F. Supp. 3d at 197; see also id. at 193 (noting “the

recognition among academics, courts, and antitrust enforcement authorities alike that ‘many

vertical mergers create vertical integration efficiencies between purchasers and sellers’” (citation

omitted)); Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831, 840 (D.C. Cir. 2006) (Kavanaugh,

J.) (“[V]ertical integration creates efficiencies for consumers.”); Comcast Cable Commc’ns, LLC

v. FCC, 717 F.3d 982, 990 (D.C. Cir. 2013) (Kavanaugh, J., concurring) (“Vertical integration and

vertical contracts in a competitive market encourage product innovation, lower costs for

businesses, and create efficiencies—and thus reduce prices and lead to better goods and services

for consumers.”).




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       40.     Indeed, the Department of Justice itself has recognized that “[v]ertical mergers ‘are

less likely than horizontal mergers to create competitive problems,’” Pl.’s Proposed Conclusions

of Law ¶ 22, United States v. AT&T Inc., No. 1:17-cv-02511-RJL (D.D.C. May 8, 2018), ECF No.

127 (quoting U.S. Dep’t of Just., Non-Horizontal Merger Guidelines § 4 (1984)), largely because

“[v]ertical mergers combine complementary economic functions and eliminate contracting

frictions, and therefore have the capacity to create a range of potentially cognizable efficiencies

that benefit competition and consumers,” U.S. Dep’t of Justice & Fed. Trade Comm’n, Vertical

Merger Guidelines 11 (2020) (DX-0776 at .0013).

       41.     Influential scholars and jurists have made the same point, noting the pervasiveness

and pro-consumer bent of vertical integration. See, e.g., Phillip E. Areeda & Herbert Hovenkamp,

Fundamentals of Antitrust Law § 7.06[A] (4th ed.) (“[V]ertical integration is ubiquitous and

practically infinite in its variety. In the great majority of cases, no anticompetitive consequences

can be attached to it, and injury to competition should never be inferred from the mere fact of

vertical integration.”); Robert H. Bork, The Antitrust Paradox 245 (1978) (“[I]n the absence of a

most unlikely proved predatory power and purpose, antitrust should never object to the verticality

of any merger.”); Douglas H. Ginsburg, Vertical Restraints: De Facto Legality Under the Rule of

Reason, 60 Antitrust L.J. 67, 76 (1991) (“If there is any legitimate role for the regulation of vertical

restraints . . . it is only in such near-monopoly markets.”).

       42.     “[B]ecause vertical mergers produce no immediate change in the relevant market

share,” the “short cut” available in a horizontal case—i.e., a “presumption” of anticompetitive

effects based on “statistics about the change in market concentration”—is unavailable to support

vertical theories of competitive harm. AT&T, 916 F.3d at 1032. In other words, unlike in a

horizontal merger case, there is no presumption of harm in a vertical merger case under Section 7




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of the Clayton Act. See id.; see also AT&T, 310 F. Supp. 3d at 192 (stating there is “no presumption

of harm in play”).

       43.     Plaintiffs instead “must make a ‘fact-specific’ showing that the effect of the

proposed merger ‘is likely to be anticompetitive.’” AT&T, 310 F. Supp. 3d at 192 (citation

omitted); see also Pl.’s Proposed Conclusions of Law ¶ 22, United States v. AT&T Inc., No. 1:17-

cv-02511-RJL (D.D.C. May 8, 2018), ECF No. 127 (“[T]he very point of a trial is to engage in a

fact-intensive inquiry in order to determine whether the particular merger at hand indeed has a

reasonable likelihood of harming competition and consumers.”).

       44.     “Nothing less than a comprehensive inquiry” into the “structure, history[,] and

probable future” of a market is expected, keeping in mind that “the Clayton Act protects

‘competition,’” rather than competitors. AT&T, 310 F. Supp. 3d at 165, 190 (citations omitted);

U.S. Dep’t of Just. & Fed. Trade Comm’n, Vertical Merger Guidelines 2 (2020) (DX-0776 at

.0004) (“The Agencies are concerned with harm to competition, not to competitors.”).

       45.     Plaintiffs in a vertical merger case cannot carry their burden by relying on “antitrust

theory and speculation.” AT&T, 310 F. Supp. 3d at 190 (quoting Arch Coal, 329 F. Supp. 3d at

116–17). Rather, they must marshal specific evidence about “competitive outcomes” that are

probable and likely based on the merged firms’ “abilities and incentives following a vertical

merger, but would not be in the absence of the merger.” U.S. Dep’t of Just. & Fed. Trade Comm’n,

Vertical Merger Guidelines 2 (2020) (DX-0776 at .0004).

       46.     Factors bearing on a merged firm’s ability and incentive to engage in

anticompetitive conduct include: “market share” statistics, which are “the primary index of market

power,” Brown Shoe, 370 U.S. at 322 n.38; Fruehauf Corp. v. FTC, 603 F.2d 345, 352 n.9, 353

(2d Cir. 1979); the “structure, history[,] and probable future” of the relevant upstream and




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downstream markets, Brown Shoe, 370 U.S. at 322 n.38; the “entry of new competition or the

erection of barriers to prospective entrants” in the relevant markets, Brown Shoe, 370 U.S. at 322;

the manner in which the merged firm could maximize its enterprise-wide profits given market

dynamics, AT&T, 916 F.3d at 1043–44; and efficiencies generated by the merger, including the

elimination of double marginalization, Arch Coal, 329 F. Supp. 2d at 124.

       47.     In assessing whether a post-merger entity has the ability or incentives to engage in

anticompetitive conduct, and to handicap its likelihood of doing so, pre-merger conduct and market

history and structure can be highly persuasive. See AT&T, 916 F.3d at 1039 (“The district court

had to determine whether the economic theory applied to the particular market by considering

evidence about the ‘structure, history, and probable future’ of the . . . industry.” (citations

omitted)); AT&T, 310 F. Supp. 3d at 190 (“[O]nly . . . examination of the particular market—its

structure, history and probable future—can provide the appropriate setting for judging the probable

anticompetitive effect of the merger.” (alterations in original) (quoting General Dynamics, 415

U.S. at 498)); AT&T, 310 F. Supp. 3d at 219 (crediting “testimony regarding executives’ prior

experiences in the industry” while “working within a vertically integrated company”); see Arch

Coal, 329 F. Supp. 2d at 158 (considering the absence of any “historical evidence of actual express

or tacit anticompetitive” action in the relevant market); FTC v. Foster, 2007 WL 1793441, at *38

(D.N.M. May 29, 2007) (“[A]ntitrust agencies rely extensively on natural market experiments to

provide relevant evidence to show whether or not a transaction is likely to lessen competition.

‘“Natural experiments,” i.e., evidence [whether] the posited harm has occurred under

circumstances similar to the proposed transaction, are relevant to merger analysis.’” (citation

omitted)).




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          48.   Contrary to this precedent, Plaintiffs advance a good-for-this-case-only, ahistorical

approach to past conduct, cordoning off a host of factors that speak to UHG’s ability and incentive

to engage in anticompetitive conduct post merger as “irrelevant,” among them: the strength of

UHG’s firewalls, the strength of other vertically-integrated healthcare companies’ firewalls, the

Department of Justice’s decision to bless other mergers on the theory that firewalls are an effective

means of preventing the improper transfer of competitively sensitive information, and whether

Optum has ever shared competitive intelligence with UHC about UHC’s rivals. See 8/1/22 AM

Trial Tr. 13:22–14:10 (Pls.’ Opening).

          49.   Plaintiffs’ approach is inconsistent with black-letter antitrust law. See, e.g., AT&T,

916 F.3d at 1039; AT&T, 310 F. Supp. 3d at 190; Arch Coal, 329 F. Supp. 2d at 158; Foster, 2007

WL 1793441, at *38.

          50.   But Plaintiffs’ position also is inconsistent with prior positions taken by the

Department of Justice. In the last vertical merger case tried in this district, the Department of

Justice urged the court to consider whether there had been “[h]istorical coordination” or “other

forms of [prior] cooperation” in the relevant market. Pl.’s Proposed Conclusions of Law ¶ 69,

United States v. AT&T Inc., No. 1:17-cv-02511-RJL (D.D.C. May 8, 2018), ECF No. 127.

Moreover, in the horizontal merger context, the Department of Justice explicitly “look[s] for

historical events, or ‘natural experiments,’ that are informative regarding the competitive effects

of the merger.” See U.S. Dep’t of Just. & Fed. Trade Comm’n, Horizontal Merger Guidelines 3

(2010).

          51.   If anticompetitive conduct that occurred pre-merger is relevant, so too is the

absence of such conduct when a pre-merger firm has the ability and incentive to engage in the

same or similar conduct.




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       52.     Binding future commitments—even those made “shortly after the filing of [a]

suit”—made to address hypothetical competitive concerns related to a transaction also have “real-

world effects” and constrain a merged firm’s ability and incentives to engage in certain conduct.

See AT&T, 310 F. Supp. 3d at 241 n.51 (“I am hard-pressed to conclude that AT & T would (much

less could) retreat from the commitment in light of the apparent reputational costs of doing so—

costs that would imperil future negotiations in a marketplace with repeat players.”); see also

AT&T, 916 F.3d at 1044 (“AT&T’s view that the government’s claims of fundamental economic

errors are ultimately irrelevant in light of Turner Broadcasting’s irrevocable arbitration/no

blackout commitment is not implausible.”).

       53.     Such commitments are not “akin to an admission . . . that the proposed merger

would lead to the anticompetitive harms” alleged, but rather reflect the merging parties’

willingness to “put [their] money where [their] mouth is.” AT&T, 310 F. Supp. 3d at 241 n.51.

       54.     It is a “principle of antitrust law” that “a business with multiple divisions will seek

to maximize its total profits.” AT&T, 916 F.3d at 1043 (citing Copperweld Corp. v. Indep. Tube

Corp., 467 U.S. 752, 771 (1984)). In some circumstances, the optimal strategy for maximizing

corporate-wide profits will be to use one division of the business for the exclusive benefit of a

sister division. But in other circumstances, the optimal strategy will be to have the first division

do business with many customers, including competitors of the sister division. AT&T, 916 F.3d

at 1043 (crediting the district court’s conclusion that Turner Broadcasting’s “spreading its content

among distributors . . . would redound to the merged firm’s financial benefit”). It is not “contrary

to the principle of corporate-wide profit maximization” to evaluate which of those strategies will

work best “in a particular industry.” See id. at 1044. One business unit’s interest in “spreading”

its products and innovations, rather than withholding them, can “redound to the merged firm’s




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financial benefit” and be “the best way to increase company wide profits.” Id. at 1043–44

(citations omitted); see also AT&T, 310 F. Supp. 3d at 245 n.53 (“The combined entity would

stand to gain much from wide distribution of Time Warner content to virtual MVPDs, and stand

to lose much by refusing to do so.”).

       55.      Specifically with regard to the effects of a vertical merger on innovation, courts

have recognized that inquiry to be notoriously difficult because the harms alleged “with respect to

the loss of competitive technologies” are often “so diffuse that they could not possibly be

adequately measured.” Kloth v. Microsoft Corp., 444 F.3d 312, 324 (4th Cir. 2006); Phillip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application ¶ 975g (2022) (noting “truly formidable” proof problems in determining innovation

economies).

       56.      “Innovation is intangible, uncertain, unmeasurable, and often even unobservable,

except in retrospect.” See Richard T. Rapp, The Misapplication of the Innovation Market

Approach to Merger Analysis, 64 Antitrust L.J. 19, 27 (1995). It therefore is difficult, as an

economic matter, to make a fact-specific showing about “the nature of the injury claimed” under

an innovation theory of harm. See Kloth, 444 F.3d at 324.

       57.      Put differently, even though “[a]ll merger analysis must deal with the problem of

attempting to predict future outcomes,” innovation reduction theories pose special problems of

proof because “the likely results of innovation are more speculative,” making it “difficult to

approach th[o]se issues with any confidence.” Dennis A. Yao & Susan S. DeSanti, Innovation

Issues Under the 1992 Merger Guidelines, 61 Antitrust L.J. 505, 508–09 (1993); see also Rapp,

supra, at 45.




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       58.     Courts lack a “principled way” for evaluating innovation-reduction theories

because there are no accepted “means for judging whether innovation is harmed or served by a

merger.” Rapp, supra, at 45; see also Yao & DeSanti, supra, at 508 (“[I]t is typically difficult to

predict and appropriately value how innovation would proceed with or without the merger.”). This

problem is particularly acute in the context of innovations not yet in existence: applying the

antitrust laws to such innovations represents an “avant-garde” and “potentially dangerous”

“application of merger enforcement under Section 7 of the Clayton Act.” See Rapp, supra, at 43–

44.

       59.     Perhaps for these reasons, it does not appear that any federal court has enjoined a

proposed vertical merger on grounds that competitors would likely innovate less in a way that is

likely to substantially lessen competition.

       60.     Weighing the Evidence. Evidence that “it could be possible to act in accordance

with [plainitffs’] theories of harm is a far cry from evidence that the merged company is likely to

do so (much less succeed in generating anticompetitive harms as a result).” AT&T, 310 F. Supp.

3d at 210 (emphases added). Any testimony and documentary evidence, or excerpts thereof, must

be viewed in light of all “other evidence related to the motivation for the challenged merger . . . that

came out at trial.” Id.

       61.     Documents containing “‘informal speculation’ about ‘rationales for the merger” are

of limited relevance to the probabilistic inquiry under Section 7, as are materials “generated by

individuals ‘who had no decision-making role or authority in relation to the merger.’” Id. at 209

(citations omitted). Ordinary-course business documents must be considered in light of their

“context, circumstances, and foundation,” and the fact that certain statements “were contained in




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a preliminary draft and were subsequently removed or changed” is reason to assign them less

weight. Id. at 204, 208.

       62.     In evaluating the testimonial evidence, the absence of third-party and competitor

testimony is significant. It counts as a “strike against” an alleged “theory of competitive harm” if

“the record is barren of any contentions by . . . third-party competitors that they would” behave as

plaintiffs predict they would in the post-merger world. Id. at 214.

       63.     Where competitor or customer testimony is offered, however, it should be met with

“[c]aution” because there is a risk that such testimony may reflect competitors’ “self-interest rather

than genuine concerns about harm to competition.” Id. at 211.

       64.     Third-party testimony that is “speculative” or that “simply accept[s] key

assumptions . . . without any supporting analysis or data” should be discounted and given little to

no weight. Id. at 212; see also Arch Coal, 329 F. Supp. 2d at 146 (“Customers do not, of course,

have the expertise to state what will happen in the SPRB market, and none have attempted to do

so. The Court therefore concludes that the concern of some customers in the SPRB market that

the transactions will lessen competition is not a persuasive indication that coordination among

SPRB producers is more likely to occur.”).

       65.     Competitor and customer testimony that has not been proven to be representative

of relevant competitor and customer views likewise should receive little to no weight. SunGard

Data Sys., 172 F. Supp. 2d at 192 & n.23 (“[T]he record does not indicate whether the customers

cited by plaintiff [in 50 declarations] are representative of the entire universe of shared hotsite

clients . . . . On the contrary, since defendants have submitted an equal or greater number of

conflicting statements, one can only conclude that the statements submitted by both parties prove

very little, if anything at all.”); see also United States v. Engelhard Corp., 126 F.3d 1302, 1306




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(11th Cir. 1997) (“No matter how many customers in each end-use industry the Government may

have interviewed, those results cannot be predictive of the entire market if those customers are not

representative of the market.”).

       66.     Opinions of customers and competitors “must be viewed in light of their actual

behavior.” FTC v. Owens-Illinois, Inc., 681 F. Supp. 27, 38 n.32 (D.D.C.), vacated as moot, 850

F.2d 694 (D.C. Cir. 1988) (per curiam); see Ken Heyer, Predicting the Competitive Effects of

Mergers by Listening to Customers, 74 Antitrust L.J. 87, 123 n.71 (2007) (“[E]vidence consisting

of how consumers actually have behaved under particular conditions in the past can be more

reliable and, hence, more valuable, than consumer statements about how they are likely to behave

if and when faced with such conditions in the future.”).

       67.     Applying these well settled principles to this case, Plaintiffs’ claims fall far short.

Plaintiffs’ horizontal claims fail because the proposed divesture defeats any suggestion of

concentration in the market for first-pass claims editing. Plaintiffs also have failed to offer any

meaningful evidence that ClaimsXten will not continue to be the market-leading first-pass claims

editing solution, as it was as a standalone product at McKesson for nearly a decade.

       68.     Plaintiffs’ vertical theories likewise fail because they depend upon a daisy chain of

speculation that disregards UHG’s unbroken track record of safeguarding rival health insurers’

data and presumes, without support, that, post-merger, UHG will abandon its multi-payer business

strategy; jettison its firewall policies; break its contractual commitments; and risk catastrophic

legal, reputational, and financial harms to attract an uncertain number of new large group

employers and national accounts for its commercial insurance business.

       69.     “Things might change” is not a cognizable theory of antitrust harm. Because

Plaintiffs have failed to establish even a prima facie case, judgment should be entered in UHG’s




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and Change’s favor, Plaintiffs’ request for a permanent injunction should be denied, and the

divestiture of ClaimsXten to TPG should be ordered.




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Dated: August 31, 2022                           Respectfully submitted,

                                                 By: /s/ Craig S. Primis
                                                     Craig S. Primis

Matthew J. Reilly, P.C. (D.C. Bar No. 457884)      Sara Y. Razi (D.C. Bar No. 473647)
Craig S. Primis, P.C. (D.C. Bar No. 454796)        Abram J. Ellis (D.C. Bar No. 497634)
K. Winn Allen, P.C. (D.C. Bar No. 1000590)         Nathaniel Preston Miller (D.C. Bar No.
Richard Cunningham (D.C. Bar. No. 1644119)             1021557)
T.J. McCarrick (D.C. Bar. No. 219283)              SIMPSON, THACHER & BARTLETT
KIRKLAND & ELLIS LLP                               LLP
1301 Pennsylvania Avenue, N.W.                     900 G Street, NW
Washington, DC 20004
                                                   Washington, DC 20001
Telephone: (202) 389-5000
                                                   Telephone: (202) 636-5500
Facsimile: (202) 389-5200
matt.reilly@kirkland.com                           Facsimile: (202) 636-5502
craig.primis@kirkland.com                          sara.razi@stblaw.com
winn.allen@kirkland.com                            aellis@stblaw.com
tj.mccarrick@kirkland.com                          preston.miller@stblaw.com

Alexia R. Brancato (NY0467)                        David I. Gelfand (D.C. Bar No. 416596)
KIRKLAND & ELLIS LLP                               Daniel P. Culley (D.C. Bar No. 988557)
600 Lexington Avenue                               CLEARY GOTTLIEB STEEN &
New York, NY 10022                                 HAMILTON LLP
Telephone: (212) 446-4800                          2112 Pennsylvania Ave, N.W.
Facsimile: (212) 446-4900                          Washington, DC 20037
alexia.brancato@kirkland.com                       Telephone: (202) 974-1500
                                                   Facsimile: (202) 974-1999
                                                   dgelfand@cgsh.com
Charles Loughlin (D.C. Bar. No. 448219)
Justin W. Bernick (D.C. Bar. No. 988245)
                                                   Counsel for Defendant Change Healthcare
HOGAN LOVELLS US LLP
                                                   Inc.
555 Thirteenth Street, NW
Washington, D.C. 20004
Telephone: (202) 637-5600
Facsimile: (202) 637-5910
chuck.loughlin@hoganlovells.com
justin.bernick@hoganlovells.com

Counsel for Defendant UnitedHealth Group
Incorporated




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 31st day of August 2022, a copy of the

foregoing Proposed Findings of Fact and Conclusions of Law of Defendants UnitedHealth Group

Incorporated and Change Healthcare Inc. was electronically transmitted to the Clerk of Court using

the CM/ECF system, which will transmit notification of such filing to all registered participants.




                                                  /s/ Craig S. Primis
                                                  Craig S. Primis, P.C. (D.C. Bar No. 454796)




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